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sure oF LoUisrANA
1\:0. \ ”_ nlvisio fe 53 §__s Doci<ei No.
liQ ` q 5 §§>` THINKSTREAM Ai:‘Qi'isirioN, LLC
vERsUS
FrRsT NBC BAi\iK

FILED:

 

 

DEPU'I`Y CLERK

PETITION FOR DECLARATORY JUD GMENT AND DAIVIAGES
Plaintift`, ?hinl<streeii"n Acquisitioii, LLC {“Thini<streain LLC”), for its ciaim,`}
against defendant Pirst NBC Banl< (‘°First NBC"`), avers as follows: v
1. ;‘,.
Plaintiff, Thinl<stream LLC, is a Louisiana limited liability company with its
registered office in the Parisln ofEast Baton Rouge, State ofLouisiaria.
Z.
Made defendant herein is Pirst NBC Benl<, a Louisiana state-chartered bank With` "
its registered office iii the Parish of Orleans, State ofLouisiana. `=
3.
Venue.lis pi'o_pei' in this Court pursuant to Articles 42 and 763 oftlie' Louisiana
Code of Civil Procedure in that the defendant’s registered office is iii Otleans l’erish and
that Orleans Pai'ish is the place of execution of the Loan Dociiment Purcli'nse Agreement
described hereinbelow.

4.

¢.

DefendentFirst NBC has failed and refused to live up to its obligations under

Written agreements it entered into Witl'i"l"hinl<stream LLC and has breached fiduciary

2766504-l

 

 

 

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duties First NBC assumed pursuant to those agreementsl First NBC’s breaches of
contract and fiduciary duties have damaged Thinl<strearn LLC. ",['hinl<$tream LLC seeks a
judgment declaring that First NBC must comply With the Written agreements and
awarding damages to 'l`hinl<streain LLC for the banl<’s breaches of contract and fiduciary
duties.

5.

beginning in or about 2010, First NBC made a series ofloans to a corporation

known as Thinlcstream lncorporated (“"i`hinl<stream INC”). First NBC also made loans to
Barry L Bellue, Sr., Who was Thinkstreain INC’s President and majority sharehoider.

6.

t Thinl<stream lNC Was in the business of providing software and support services

to law enforcement agenciesl
\

7.

On information and belief, Pirst NBC kept lending more and more money to
Thinl<stream INC and Bellue, even though both he and the corporation Were in default'on
existing loans and Were insolvent On information and beliet`, First NBC1 knowing that
Tliinl<stream INC Was insolvent and in default on the existing loans1 artificially kept the
loans “eurrent” by continuing to advance funds under the loans to pay itself interest as it
became due.

S.

On l\/Iay l l, 2015, Thinl<:stream iNC was placed in involuntary bankruptcy, and a

Chapter il trustee Was appointed to manage its affairs
9.
First NBC’$ loans to Thinl<streani INC and Bellue were all in default, and First

\

NBC wanted to kind a Way to sell off the loans.

 

 

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lO.
Plaintiff, Thinl<strearn LLC, vvas formed by investors Who were interested in
purchasing some or all ot` the assets of Thinl<streain INC.
ll.
ln Decernber 2015, Thinltstream LLC purchased from First NBC the bank’s non»
performing loans to Thinltstream iNC that had by that tunc ballooned to more than $4.9

million

12.
Pursuant to a Loan Docurnent Purchase Agreeinent dated as of Deceinbei' l5, 2015
(“Purchase Agreement”) between First NB¢, as Seller, and 'l'hinl<strearn LLC, as
Purchaser, Thinkstrearn LLC purchased all of the “Loan Docuinents” identified on

Exhibit A to the Purchase Agreement, to wit:

(1) Prornissory Note in the amount of $4,549,332.35 dated March 22,
2013, executed by Tluril<sn'eam INC to tire order of First NBC (the ” 2013
Note");

(2) Con'unercial Security Agreement dated March 22, 2013, executed by
'l`l‘iinl<strea.rn incorporated in favor of First NBC;

(3) Unifornn Commercial Code filings executed by Tl'iinl<st'ream
Incorporated in favor of First NBC,'

{4] Letters of Creclit and Certificates of Deposit provided to First NBC
as collateral for the loan to Tliinl<stream INC,'

(5) Any and all mortgages on real property granted as security foi
indebtedness ccnv eyed to Tl'u'nkstream LLC.

(6) Cornmercial Guaranty dated lanuary 30, 2013, executed by Ba_rry L, l
Beilue, Sr., in favor of First NEC Witl'i respect to all indebtedness of
Tiiinl<st:rearn INC;

(W The Loari Agreement by and between Tl~tiril<stream INC and First '
NBC With respect to Debtor in Possession Finaricing, executed pursuant
to the Order of the United States Banl<ruptcy Court of the I\/iiddle District
of Louisiana in ln re Thiri.l<strearn lncorporated, Case Nurnber 15-10553,
Clnapter I`l, and that Promissory Note in the amount of $750,000.00 dated
Septernber 21, 2015 executed by Tlunl<strearn INC in connection therewith

("Banl<ruptcy Note”).

 

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13.

The 2013 Note, the Banl<ruptcy Note, and these Loan Documents represented the
obligations of Thinl<streain INC to First NBC and the Purchase Agreement conveyed all
of the collateral and guaranties held by First NBC as security for the 2013 Note and the
Bani<ruptcy Note.

l4.

In fact, pursuant to Section 2.1 of the Purchase Agreement, First NBC sold and
Thinltstream LLC purchased not just the Loan Documents but “all of the rights,
guaranties, collateral and security with respect thereto.”

15.

In consideration for the purchase of the 2013 Note, the Banl<.ruptcy Note, the other
Loan Docurnents, and all of the security therefor, `l`hinl<stream LLC paid the “Purchase
Price” by executing and delivering a promissory note payable to First NBC in the amount
of$4,928,603.00, dated as ofDecember l5, 2015 (“'l`hinl<strearn LLC Note”), with a
term of 15 years and payable interest-only for the first 12 months ('i`he ‘l`hinl<stream
LLC Note is sometimes referred to in the Purchase Agrcement as one of the “New Loan

l
Docuinents”).

16.
in negotiations leading to the execution of the Purchase Agreernent, First NBC
represented that it believed that there was sufficient collateral to satisfy the entire loan to
Thinl<stream INC from the foreclosure of the collateral supporting it. Accordingly, First
NBC agreed that the Thinl<stream LLC debt to Fii“st NBC would have two components:
first, a “nonrecourse” amount of$2,923__603.00 that would be paid solely _out the
liquidation of the collateral; and, second, a “recourse“ amount of $2,000,00.0_00 that

would be the only obligation burdening Thinl<stream LI_,C or the guarantors, should there

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be insufficient funds derived from the liquidation ofthe collateral to at least cover the
$2,000,000.00 “recourse“ amount First NBC further agreed that any sums collected as a
result of the foreclosure of collateral securing the loans purchased by Thinl<stream LLC
would be first used to pay down the “reoourse“ amount and any amounts exceeding said
sum would be applied to the “non recourse” amount Accordingly, the Purchase
Agreeinent expressly limits l`hinl{stream LLC’s loan repayment obligations as the
borrower under the 'l`liinlcstream l,LC Note and as the Purohaser ofthe 2013 Note, the
Banl<ruptcy Note, and Loan Docuinents. lt provides that First NBC’s recourse against
Thinl<stream LLC, as Purchaser and borrower, is (empl'iasis added]:

. . . limited to the sum Of $2,000,000.00, and non~recourse to the
Purchaser after payments of principal and interest and fees in the

aggregate of $2;000:000.00 have been made to the Seller [”Recourse

17.

`l`he Tl'iinl<strearn LT_.C Note further provides that (empliasis added):

13. Noru‘ecourse. N otwithstanding anytl:iincr to the contrary7 in this
Note or any of the other New Loan Documents. except as specifically
provided in this Section, neither Maker nor any member or manager of
Mal<er shall be personally liable for the payment of anyr sums due
hereunder Or the performance of any obligations of Maker hereunder,

any guarantor hereof: or under any other New Loan Docurnents except
to the extent of §.§ZIOUOEUGU.OG, and the obligations With respect to this
Note or of any of the other New Loan Documents! or under any
guaranty of the Note= shall be non-recourse to the Malcer and any

glaararttor of the Note after payments of principal and interest and fees
due With respect to the Note and/or New Loan Documents in the

acr, gregate of §2:000[000.00 have been made to the Holder (”Recourse

Arnount").
18.

 

As a condition of the acquisition and as provided in the Purchase Agreement,
Thinltstrearn LLC also delivered to First NBC an additional $590,000.00 cash to be
placed into an escrow account (“Escrow Account”) at First NBC pursuant to a Debt
Sewice Reserve Escrow Agreernent (“Escrow Agreement”) between the parties1 also
dated as ofDecember 15, 2015, Whereby First NBC Was appointed as “Escrow Holder.”

'l`his S§OG,OO0.00 was to be used to pay interest on the Thinl<strearn LLC Note under the

 

 

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New Loan Documents until such time as the Thin.l<stream Note was satisfied from
foreclosure of the collateral securing the Loans purchased by Thiiil<streain LLC, which

foreclosure proceedings were to be initiated by Pirst NBC, as Thinl<strealn LLC’s agent

at the earliest possible tirne.

19.
The Escrow Agreernent provides that:

Escrovv Holder shall make advances of Escrow Funds from time to time to
pay the costs actually incurred by Borrower for Debt Service, all subject to
tire terms and conditions oftlu`s Agreemerrt. Disbursernents of Escrow
Puncls shall be inade, provided and only so long as, (i) there are sufficient
undisbursed funds in the Escrovv Account, and {ii) an Event of Default
(nor any event or condition Wl'i.ich Witl't tlie giving of notice or tl'ie passage
of time, or both, would constitute an Event or Default) shall not have
occurred and be continuing under the Transaction Docuznerrts. As used
herein the term ”Event of Default" shall have the meaning ascribed to it

in the Note.
20.

Tbe Escrow Agreement further provides that:

All funds in the EscroW Account shall bear interest at tl'te rate of 1.5% per
armurn.

21.

During negotiations for the purchase of the 2013 Note, the Banl<ruptcy Note, the
other Loan Docurnents, and all ot` the security therefor, F’irst NBC provided to _
Thinl<stream LLC’s principals a copy of what the bank represented to be its entire “loan
file.” Tlie loan tile contained copies of numerous Letters of Credit and Certiiicates of
Deposit and brokerage accounts

22.

'l`wenty-one {21) Letters of Credit were included in the loan file, with an aggregate

face amount of$2,123,750.

 

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23,

Eighteen (1 S) Certit`icates ofDeposit were included in the loan file, With an
aggregate balance of$BlSl,l 19.33.

24.

First NBC represented that these Letters of Credit and Certiticates ot`Deposit were
valid and collectible and, in fact warranted in the Purchase Agreentent that:

Seller has not amended any of the Loan Docurnents! nor satisfied,

assigned, sold, transferred or canceled any Loan Docurnents, in Whole or

in part, nor released all or any portion of the mortgaged property from the

lien of the Loan Documents, nor executed any instrument of release,

cancellation or satisfaction Witii respect to such Loan Documents.

25,

First NBC sold and assigned these Letters of Credit and Certiiicates of Deposit to
Thinl<stream LLC pursuant to the Purchase Agreernent and they are identified as item
A(-€l) on the exhibit to the Purchase Agreement.

26.

Thinlrstreairi LLC believed in, and relied on, First NBC’s representations about the
validity and collectability of the Letters of Credit and Certii`icates of Deposit. First NBC
never disclosed to Thinl<streain LLC prior to the execution of the Purchase Agreeinent
that some of the Certit`icates ofDeposit Were not even in` its possession or that some of
the Letters of Credit may have expired

27.

Because First NBC was familiar with and pu@ortedly in possession of these
Letters ot` Ci'edit and Ccrtiiicates of Deposit, Thinltstrearn LLC believed that the bank
Was in the best position to enforce and collect thern. Accordingly, Thinl<streain LLC
appointed the bank as its agent to enforce and collect them, with the proceeds to be

applied to pay down the Thinl<strearn LLC Note, applied first to the $2,000,000

Recourse Arnount, and second, to the $2,923_.603.00 “non recourse" amount

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28.
With respect to those Letters of Credit and Certiiicates of Deposit, the Purchase
Agreeinent provides that:

2.4 Agent. 'l"he' Purchaser shall appoint the Seller as its
agent to collect those certain collateral items, identified on Exhibit A ld[,
Which form a part of the Loan Docurnents and to apply all funds obtained
from such collections to reduce the Principal indebtedness With respect to
the Promissory Note. Seller shall give Purchaser _a full accounting of all

such collections and the application to the Proiru'ssory Note of the funds
so collected

29_

Fuithermore in addition to the foregoing collateral, the loan tile contained
statements of brokerage accounts at Morgan Stanley in the names ofBarry L. Bellue, Sr.,
and Bat'ry Lee Bellue, Jr., With a value of approximately $227,000.00, which Wcre
purportedly pledged to secure the obligations to First NBC. Additionally, Barry L.
Bellue, Sr., provided I~`irst NBC, as additional collateral for the 'l"hini<stream INC loan
purchased by Thinl<streain LLC, a mortgage on two real estate lots owned by Barry L_
Bellue, Sr., in the Zee Zee Gardens area ofBaton Rouge, Louisiana. Upon information
and belief, First NBC has collected the proceeds ofsales oftva lots that Bellue owned in
the Zee Z,ee Gardens subdivision in Batcn Rouge, but First NBC has failed and reh.ised to
provide "l`hinl<streain LLC any details about the application of those pi'oceeds, Which may
have exceeded 3500,000.00, to any ofthe loans at issue_

30.
In suin, First NBC represented to 'fhinkstreain LLC that the total collateral

securing the purchased obligations was at least:

Letters ofCredit _ $2,123,750.00
Certificates ofDeposit _ 319,119.00
Zee Zee Crarden Lots SOU,OOU.OO
Brol<erage Accounts 227=000.00

TOTAL: $3,659,869.00

 

 

 

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Bl.

Thinlcstream LLC was willing to purchase the Note, the Banl<_ruptcy Note and the
Loan Docurnents based on these representations, but only because the Purchase
Agreernent provided that recourse against Thinl<strearn i,LC and the guarantors was
limited to SZ,OOO,GO0.00 (the “Recourse Amount.") and the collateral to be liquidated
exceeded the Recourse Arnount, which by agreement of the parties was the sum total ol"
the obligations which could have been owed by Thinl<stream LLC to Pirst NBC.

l 32.
'l`he Purchase Agreeinent clear§ly provides that:
2.5 Collaterall Collections. 'l`he net proceeds of the

Foreclosure or collection of lthe other collateral items under the Loan

Docurnents shall be applied by the Purchaser to reduce the outstanding

principal balance of the Note lwhen received as more fully set forth in the

Note, all such proceeds to bel credited first to any outstanding balance of
the ReCOurse Amount. |

33.
Also included in the “Loan chcuinents” that First NlBC sold to 'l“hin[<stream LLC
under the Purchase Agreement was a§Corrunercial Guaranty dated january 30, 2013,
executed by Bellue in favor of First ly|W'BC ("Bellue Guaranty"). Bellue personally

guaranteed the repayment of all inde:btedness of the bankrupt Thinl<strearn INC,

including the 2013 Note and the Banliruptcy Note.

34,
la addition to the 2013 Note and the Banl<ruptcy Note of the bankrupt
Thinl<streain INC, l~`irst NBC also held certain promissory notes owed to the bank by
Bellue individually (“Beliue Notes”). Fi1'st l\lBC did not sell the Bellue notes to
Thinl<Stream LLC_: it retained those notes and represented to Thinl<stream LLC that the

bank was in the process of foreclosing on collateral, including Bellue’s personal

 

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residence and other valuable real estate, which secured the repayment of the Bellue

Notes.
3 5.
Because First NBC and l`binl<strearn LLC recognized that certain assets ofBellue
were subject both to the claims of Pl`hinl<stream under the Bellue Guaranty and the claims
of First NBC under the Bellue Note, they included a special provision in the Purchase

Agreernent to address that:

'l`he parties acknowledge that certain collateral for die Loan
Documents is ”comrnon collateral” (”Corrunon Coilateral”) in that it may
also secure, by virtue of cross collateralization provisionsf the
indebtedness of Barry L. Bellue, Sr_, to Seller as evidenced by that
promissory note dated january 27, 2015, in the original amount of
52,238,632_27 (”Bellue l\Tote”)\ The parties agree that Seiler will not _
exercise its rights to collect upon this Cornrnon Collateral until it has
exhausted all of its rights and remedies With respect to the collateral
directly securing only the Bellue l\lote ("Bellue Collateral"), and shall _
apply the proceeds of the Bellue Collateral to reduce the indebtedness
evidenced by the Bellue l\lote, prior to exercising any of its rights and
remedies With respect to the Cornrnon Col.lateral. A'r such time as the
indebtedness evidenced by the Bellue Note is reduced to zero, any
remaining or additional proceeds obtained With respect to collecting
upon the Coirunon Collateral shall be applied to reduce the Indebtedness
of Purchaser under the Prom.issory l\lote described herein and credited to
the_reduction of the Recourse Arnount.

36.
Despite the plain wording ofthe Purchase Agreement and the Escrow Agreement,
First NBC has failed to pay debt service on the l_`hinkstream LLC Note from the Escrow

Account in accordance to the Escrow Agreement.
37.
Despite the plain wording of the Escrow Agreement, First NBC has failed to pay
any interest on the funds in the Escrow Account.
33.
Despite the plain wording of the Purchase li\.greernent1 Pirst NBC has failed to

collect upon the “Letters of Crcdit and Certificates ofDeposit,” the brokerage accounts,

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or the other collateral, or to apply the-proceeds of collection to reduce the Recourse
Arnount or the principal balance of the Thinl<streain LLC Note.
39.

As Thinl<streain LLC’s agent3 First NBC owes fiduciary duties of care, good faith,

fair dealing and loyalty to `l`hinl<streain LI_,C.
40.

Despite its fiduciary duties as agent to collect the Lctters of Credit, Ccrtii"'icates of
Deposit, and the other collateral securing the notes purchased by Thinl<strcarn LLC, First
NBC has failed to do so, and has failed and refused to provide any accounting to
Thinl<stream LLC of its collections and the application ofpayrnents.

41.

Despite the plain wording of the Purchase Agreement, First NBC has failed to
account to 'I`hinl<strearn LLC for the banlc’s collections with respect to the “Bellue
Collateral” and the “Conunon Collateral” or to reduce the balance of the Thinl<streain
LLC Note with respect to any such collections

42.

For example First NBC has ad:ni lted that it has taken control of securities
brokerage accounts in the names oi"Bellu-e and his son, but has breached its promise to
provide Thinl<streani LLC the details of c value of the securities or cash in the accounts__
the liquidation of the securities in the ac unts, or the application of the liquidation
proceeds to any of the loans at issue l d

i 43.

First NBC has also collected the'proceeds of sales cit two lots that Bellue owned in

the Zce Zee Gardens subdivision in Baton Rougc, but First NBC has failed and refused to

provide `l`hinl<streani LLC any details about the application of those proceeds, Which rnay

have exceeded 5500,000.00, to any ofthe loans at issue

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44.

Pirst NB C has represented that it reached a settlement With Belluc and other
creditors whereby First NBC realized or stoodto realize a sizable'portion of a collection
ofSQO0,000.00 of proceeds ofthc sale ofBellue’s personal residence, but First NBC has
breached its promise to provide any details of the application of these proceeds to any of
the loans at issue

45.

Fii'st NBC holds a second deed of trust on land owned by Bellue in Mississippi.
Rather than take any steps to foreclose on the Mississippi land, Which is subject to a hrst
deed oftnist securing a loan that is far less than the value of the land, First NBC has
allowed Bellue to continue owning the property while his loans are in default

46.

As a result of the failures and breaches of contract by First NBC, Thinl<strearn
LLC is unable to determine whether the interest the bank is charging to Thinl<strearn LLC
is based on the correct balance due with respect to the Thinlcstrearn lsLC Note and unable
to determine whether the Recourse Amount has been reached or exceeded

47.
Thinl<strearn LLC is not delinquent in its payments on the Thinl<stream LLC Note.
48.

Nevertheless, First NBC has sent to Thinl<stream LLC a series of erroneous
delinquency notices on the 'l'hinl<streain LLC Note, despite that facts that the Escrow
Account contains sufficient funds to pay in full the amount of interest that is properly due
monthly on the note and that First NBC is obligated to usc funds in the Escrovv Account

to rnalte correct interest payments

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49.
The erroneous delinquency notices from First NBC also reveal that First NBC is
attempting to erroneously charge interest on the entire principal amount of the $4.9

million Thini<stream LLC Note.

5 O.

Thinl<stream LLC anticipated and believed that the money in the Escrow Account
would be sufficient to service the Thinl<stream LLC Note for many months, such that
Thinl<streaiii LLC would not be forced to use its limited working capital to make interest
payments

51.
First NBC has breached its fiduciary duties to Thinl<stream as set forth in Section

2.4 of the Agreement and as “Escrow Holder" under the Escrow Agreement.

DECLARATORY J`UD GMENT
52.

An active controversy exists between Thinl<stream LLC and First NBC regarding
the construction, interpretation, and application of the terms of the Purchase Agreement,
the Thiril<stream LLC Note, the Escrow Agreement, and the related documents and the
rights, duties and obligations ofthe parties thereto.

53.

Thinl<stream is entitled to a judgment declaring that:

(a} The terms of the Purchase if\.greement1 the Thini<strearn LLC Note, and the
Escrow Agreernent are clear and unambiguous and that:

(b) First NBC’s aggregate recourse to Thini<stream LLC, or guarantors, under

the 'l`hinltstream LLC Note is iimited to the Recourse Aniount of SZ,DOG=OOG.CFO;

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(c) That all payments made with respect to the Thinl<streain LLC Note,
whether of interest, principal, or collection upon collateral, must be credited first toward
reduction oi` the Recourse Amount;

(d) That payments due to First NBC during the first l2 months ofthe
Thinlcstream LLC Note are interest-only and are to be deducted by First NBC from the
Escrow Account.

(e) That First NBC is Thinl<strearn LLC’s agent with respect to the collection
oi"the Letters of Credit, Certiticates of Deposit and other collateral securing the notes
purchased by 'l'hinl<stream LLC and that l~`lrst NBC has fiduciary duties to enforce and
collect the l_,etters of Credit, Certiticates ofDeposit and other collateral in a timely
manner.

03 That First NBC must immediately provide an accounting to 'i`hinl<stream
LLC of the collection and application of the Letters of Credit, Certificates ot`Deposit and
other collateral securing the notes purchased by Thini<strearn LLC.

(g) That First NBC must immediately provide an accounting to 'l"hinl<strearn
-Ll_,C ofthe collection and application of the “Bellue Collateral“ and the “Comn'ion
Collateral.”

(h) That First NBC must apply the payments it has received with respect to the
collateral liquidation to reduce the balance of the Thinl<stream LLC Note and thus the
Recourse Amount;

(i) 'l`hat until such time as First NBC accounts for all collateral collections and
applies them to reduce the balance of the Note and the Recourse Amount, no reliable
calculation can be made ofthe actual interest due with respect to the 'i`hinl<stream LLC
Note and that, therefore, Thinl<streain LLC is relieved of any responsibility to pay interest

or principal until a reliable calculation is possible; and

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(i) First NBC was and is obligated to pay interest on the amount of funds that d

should have been maintained in the Escrow Account at the rate of l.5% per annum.
DAMAGES

54.

As a result ofFirst NBC’s breach of contract and of its fiduciary duties,
'l`l'linl<stream LLC has been assessed and is paying interest on an inflated principal
balance under the 'l`hinl<strealn LLC Note.

55.

As a result ofFirst NBC`s breach of contract and of its fiduciary duties,
Thin.l<stream I_,LC has been forced to maintain substantial funds in the Escrow Account
that could be available for other business purposes

56.

Because First NBC has not provided an accounting of its collections of collateral
and the application of the proceeds, FI`hinl<stream LLC is being forced to maintain
substantial funds in the Escrovv Account and to pay interest when, in fact the Recourse
An'iount may already have been met or exceeded

57.

On information and belief, First NBC has failed to perform its duties and
obligations to foreclose upon the Letters of Credit, Certificates ofDeposit and the other
collateral securing the notes purchased by Thin_l<su'eam LLC, and has damaged
Thiril<streani LLC by its failure to collect and credit these sums to reduce the balance of

the 'l`hinl<stream LLC Note and the Recourse Amount.

15

 

 

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5 S.

Both the Purchase Agreennent and the Escrow Agreeinent provide that the
prevailing party in any action or proceeding relating to either Wili be entitled to recover
its reasonable attorneysr fees and other costs from the non-prevailing parties in
addition to any other relief to Whi`ch such prevailing party may be entitled, and First
NBC is liable to Thinl<strearn for all reasonable attorneysr fees and costs incurred by
Thinl<.sn‘earri in connection With this action.

59.

in the Purchase Agreen'tent, First NBC agreed to irtderrnu.fy' Tltinl<stream LLC
against all loss resulting from the material inaccuracy Of any of Pirst NBC’s
representations and warranties and agreed that Thinl<strearn LLC is entitled to collect
reasonable attorneys fees and expenses in the event that itl prevails in any legal
proceeding brought to enforce the agreement

WHEREFORE, Plaintiff Thinltstreain Acquisition, I_,LC, prays that defendant First
NBC Banl< be served with this Petition and commanded to answer same, and that after all
due proceedings are had herein that there be judgment in favor of Thinltstrearn
Acquisition, LLC and against First NBC Banlc declaring that:

{a) 'fhe tenns of the Agreeinent, the 'l“hinl<streain LLC Note, and the Escrow
Agreement are clear and unanibiguous;

(b) The aggregate recourse of First NBC Banlc to 'ihini<stream LLC, and
guarantors: under the Thi-nl<strearn LLC Note is limited to the Recourse Arnount of
$2,000,000.00;

(c) That all payments made with respect to the Thinl<streain LLC Note,
whether of interest, principal, or collection upon collateral, are to be credited toward

reduction of the Reconrse Ainount;

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/

{d) That payments due to First NBC during the first 12 months ofthe
Thinltstrearn LLC Note are interest-only and are to be deducted by First NBC from die
Escrow Accounl.

(e] That First NBC is 'l`hinl<stream LLC’s agent with respect to the collection
of the Letters of Credit and Certificates ofDeposit and other collateral securing the notes
purchased`by Thinl=;stream LLC, and has failed to perform its obligations as agent in a
timely manner, thus causing 'l`hinl<stream LLC damages resulting from such delay.

{D That First NBC must immediately provide an accounting to rl`hinl<stream
LLC of the collection and application cf the Letters of Credit, Certiiicates of Deposit and
other collateral securing the notes purchased by 'l`hinltstrcam LLC.

(g) That First NB C must immediately provide an accounting to Thinl<strezun
LLC ofthe collection and application ofthe ‘°Bellue Collateral" and the “Comrnon
Collateral."’

(h) l`hat First NBC must apply the payments it has received With respect to die
collateral liquidation to reduce the balance `ofthe 'l`hinl<strean'i LLC l\='cte and thus the
Recourse Amount;

(i) That until such time as First NBC accounts for all collaterai collections and-
applies them to reduce the balance ofthe lhinl<streani LLC Not_e and the Recourse
Amount, no reliable calculation can he made ofthe actual interest due with respect to the
Note and that, therefore, Thinl<stream LLC is relieved of any responsibility to pay interest
or principal until a reliable calculation is possible; and

(j) Pirst NBC must pay interest on the Escrow Account of l.5% per annum.

'l'hinl<streain Acciuisition, LLC, further prays that after all due proceedings are had
herein that there be.iudgrnent in favor ofThinl<streain Acquisition: LLC_. and against First

NBC for all damages alleged herein and as shall be shown at trial, for all of plaintiffs

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reasonable attorneys’ fees, costs and expenses, for all other general and equitable relief,

and for all costs of these proceedings

Respect_[,'ll.1 submitted:

Robert S. Rooth (La. Bar. NO. 11454) T.A.
Peter I. Rotolo (l_.a. Bar No.21343)

Arny L. Mclntire (La. Bar No. 35241)
CI-IAFFE McCALL, L.L.P.

2300 Energy Centre, l 100 Poydras Street
New Orleans, Louisiana 70163-23 00
Tclephone: {504) 585-7000

Telefax: (_504) 544-6088

E-mail: rooth§c_r»;chaft`e.com

Attorneysfor Th£nksi‘ream Acqur'si'ri'on, LLC

PLEASE SERVE THE
.CITATION, PETITION AND THE ATTACHED
REOUES'I`S FOR PRODUC`TION OF DOCUMENTS

AND REQUESTS FOR ADM_ISSIONS UPON:

First NBC Banl<

Through its Agent for Service ofProcess: ~
Marsha S. Crowle '
Chief Compliance Officer

210 Baronne Street

New Orleans, LA 70112

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CIVIL DISTRICT COUR'I` FOR THE PARISH OF ORLEANS
STA'I“E OF LOUISIANA .
.NO. DIVISI`ON “ ” DOCKET l\lO.
THINKSTREAM ACQUISITION, LLC
VERSUS

FIRST NBC BANK

FILED:

 

DEPUTY CLERK

TH_INKSTREAM ACQUISITION, LLC."S REQUES'.|.`S FOR A_DMISSIONS

PROI’OUNDED TO FIRST NBC BANK

TO: First N'BC Bank

'l`hrough its Agent for Service of Process:

Marsha S. Cr`owle

Chief Conipliance Ofiicer

210 Baronne Street

New Orleans, I_.A 70112

'l'hinl<strearn Acquisition, LLC (hereinafter “"i`hinl<stream LLC“) propounds tire
following requests for admissions to be answered by First NBC Banl< (hereinafter LLFirst NBC“).
First NBC is to answer these admissions requests separately, fuliy, in writing and under oath, in
accordance with the Louisiana Code of Civil Procedure and in accordance with the following
definitions and instructions, Which are incorporated into' each of the admissions requests as
though set forth entirely in each. 7 'l`hese admissions requests are made continuingJ and
supplemental answers are required promptly

DEFINITIONS AND INSTRUCTIONS

As used herein:

l. “FIRST NBC" means and refers to First NBC Bank along with its ofticers, directorsl
members, employees, representatives and agents

2. “Purchase Agree`ment" means and refers to that Lo an Document Purchase Agreernent dated

as oi`December 15, 2015, by and between First NBC, as Seller, and 'l`hinl<strearn LLC, as

Purcitaser.

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3. “Loan Docun'ients” means and refers to the “Loan Documents” identified in the Purchase
Agreernent, to wit:

'(1) Prornissory Note in the amount of $4,549?332.35 dated March 22,
2013, executed by 'l`liinl';stream lNC to the order ofFirst NBC (the “ 2013
Note”);_

(2) Commercial Security Agreement dated March 22, 2013, executed
by Thinl<stream incorporated (“'l`hini<stream INC”) in favor of First NBC;

(3) Uniforrn Cornrnercial Code filings executed by Thinkstream 1'NC
in favor of First NBC;

{4) l_,etters of Credit and Certii`icates of Deposit provided to First NBC
as collateral for the loan to 'l`hinl<strearn INC (f‘Letters of Credit and
Certiiicates of Deposit”); '

(5] Any and all mortgages on real property granted as security for
indebtedness conveyed herein

{6) Comrnercia] Guaranty dated lanuary 30, 2013, executed by Barry
I_,. Bellue, Sr., in favor of First NBC With respect to all indebtedness of
'l'hinl<strearn INC (“Bellue Guaranty“);

(7) 'l`he Loan Agreement by and between ‘l`hinl<strearn INC and First
NBC with respect to Debtor in Possession Fina.ncing, executed pursuant
to the Order of the United States Bankruptcy Court of the Middle District
of Louisiana in In re Thinkstrearn hicorporated, Case Number 15~10553,
Chapter 11, and that Proniissory Note in the amount of 3750,000.00 dated
Septernber 21, 2015 executed by Thinl<streain INC in connection
therewith (“Bankruptcy Note”}_

4. “Collateral" means any and all collateral held by FNBC at any time to secure the payment
of the 2013 Note and the Bankruptcy Note referred to in the description of “Loan Docurnents”

herein.

5 . “Cornrnon Collateral” means and refers to any and all collateral held by First NBC at any

time to secure the payment of the Bellue Note and the Beliue Guaranty.

6. c‘liiellue Note” means and refers to the indebtedness of Barry L. Bellue, Sr., to First NBC as
evidenced by that promissory note dated flannery 27, 2015, in the original amount of

$2,238,632.27.

7. “Bellue Gnaranty” means and refers to that Commercial Guaranty dated ianuary 30, 2013,

executed by Barry L. Bellue, Sr., in favor'of First NBC with respect to all indebtedness of

Thinltstrearn INC.

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8. “Bellue Collateral" means and refers to any and all collateral held by First NBC at any time

to secure the payment ofthe Beliue Note.

9. “Letters of Credit” means those letters of credit conveyed pursuant to the Purchase
Agreement, including 21 letters of credit purportedly given to secure the 2913 Note and the

Banl<ruptcy Note.

10. “Certiticates of Deposit" means those certificates of deposit conveyed pursuant to the
Purcbase Agreernent, including those 18 certificates of deposit purportedly pledged to secure the

2013 l\lote and the Barrl<ruptcy Note.

1 1, “Brol<erage Accounts” means die brokerage accounts at Morgan Stanley in the names of
Barry L. Bellue, Sr., and Ba_rr'y Lee Bellue, Jr., with a Value of approximately $227,000.00,
which were purportedly pledged to secure the obligations of Tliinltstreanr INC and/or Barry L.

Bellue, Sr., to First NBC.

12. “Z.ee Z,ee Gardens Lots" means those two real estate lots owned by Ba.n~y l'_.. Bellue, Sr., in
the Zee Zee Gardens area of Baton Rouge, Lonisiana, which Were purportedly mortgaged to

secure the 2013 Note and the Ban.l<ruptcy Note.

13. “Thinl<stream LI_,C l\lote” means and refers to a promissory note executed by 'I`hinl<stream

LLC, payable to First NBC in the amount cf S4,928,603.0t3, dated as ofDecernber 15, 2015.

14. “Recourse Amount” means and refers to the amount of $2,000,000.00 as set forth in the

Purcl'rase Agreement and in the Tl'rinl<stream LLC Note.

15. “Non-Recourse Amount” means and refers to the amount in excess of $2,000,000.00 in the

Thinltstream LLC Note as set forth in the Purchase Agreernent.

\

16. “Escrow Account" means and refers to that account at First NBC established at pursuant to
a Debt Service Reserve Escrcw Agreernent (“Escrow Agreement“) between the parties, also

dated as ofDecernber 15, 2015.

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i7. “Documents” means and refers to writing in any form, any physical expression of
information, and/or any means of storage of information and “Docurnents" includes, without
limitation, any loan document, correspondence1 memorandrun, agreement letter, hand or
typewritten note, e-mail or electronic inail, te>'tt message, invoice, receipt, computer printout,
computer tape, computer disl<ette, audiotape, audio recording, microiiim, videotape, tape
recording, photograph, inter-company and intra'company communication or any other item cfa
similar nature “Docu.ments” specifically includes drafts and/or copies of any of the foregoing

iterns.

lS. “Relating to" shall mean concerning, containing, regarding, discussing, pertaining to,
reilecting, relevant to, commenting upon, having some connection to, including, embodying or
evidencing, and should be construed in the broadest sense ofthe term. An analogous meaning

shall apply to the terms “relate,” “related,” “relating,” and other derivations of these words.

19. “And” and “or” shall be construed conjunctively and disjunctiver so as to require the

broadest possible response to any particular interrogatory
ZO. Words shall be construed in the singular or plural fotm.

21. The term “person” means any natural person_. individual, corporation, firm, joint venture,
partnership proprietorship, association, organization5 or any other business or legal entity or

group of natural persons

REOUESTS FOR ADMISSIONS

Adrnit or deny the following

l. Pirst NBC executed the Purchase Agreement.

2. 'l`he person who executed the Pur‘chase Agreernent on behalf of First NBC was
authorized to execute it.

3. 'l`he person who delivered the Purchase Agreement to 'l`hinl<strearn LLC on behalf of
First NBC was authorized to deliver it to Thinl<stream LLC.

4. Thinl<strearn l'NC Was in default of its obligations to repay the 2013 Note and the
Banl<ruptcy Note on the date on which First NBC sold the 20I3 Note and the Banl<ruptcy Note to
Thinl<strearn LLC.

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5.
6.

7.

First NBC is the holder of the 'l`hinl<strearn LLC Note.
First NBC executed the Escrow Agreement.

'l`he person who executed the Escrow Agreement on behalf of First NBC was authorized

to execute it.

8.

`l`he person who delivered the Escrow Agreernent to Thinl<stream LLC on behalf of First

NBC was authorized to deliver it to Tliinl<sn'eam LI.C.

9. First NBC was represented by counsel in connection with the negotiation cf the Purchase
Agreement.

lf}. The 2013 Note and the Banl<ruptcy Note are secured by the Letters of Credit.

ll. 'l`he 20l3 Note and the Banlcruptcy Note are secured by the Certiticates of Deposit.

12. The 2013 Note and the Ba.nlcruptcy Note are secured hy the Brolcerage Aocounts.

l3. The 2013 Note and the Banl<ruptcy Note are secured by the Zee Zee Gardens Lots_

14. The Bellue Note is not secured by the Letters of Credit.

15. Tlie Bellue Note is not secured by the Ccrtiicates ofDeposit.

16. ’l`lie Bellue Note is not secured by the Brolcerage Accounts.

17. 'l`he Bellue Note is not secured by the Zee Zee Gardens Lots.

13. First NBC agreed to act as agent for Thinl<strearn LLC to collect upon the Letters of
Credit, Certiticates of Deposit, and all other Collaterai securing the 2013 Note and the
Banlo'uptcy Note.

19. First NBC agreed to apply all collected amounts to the 'lhinl<s'a'eam LLC l\"ote, pursuant

to the terms cf the Purchase Agreement.

20.

First NBC acted as agent for 'l`hinl<stream LLC to collect upon the Letters of Credit,

Certificatcs of Depcsit and other Collatcral pursuant to the terms of the Purchase Agreement.

Zl.

First NBC promised to render an accounting to Thinkstream LLC with respect to the

collections First NBC has made with respect to the Letters of Credit, Certiiicates of Deposit and
the other Collateral.

22.

First NBC has not rendered an accounting to Thinl<streain LLC with respect to the

collections First NBC has made with respect to the Letters of Credit, Cert‘it`icates of Deposit or
the other Collatcral.

23.

First NBC promised to render an accounting to Thinl<streani LLC with respect to the

collections First NBC has made with respect to the Brol<erage Accounts.

24,

First NBC has not rendered an accounting to Thinl<stream LLC with respect to the

collections First NBC has made with respect to the Brokerage Accounts.

25.

First NBC promised to render an accounting to Thinl<stream LLC with respect to the

collections First NBC has made with respect to the Zee Zee Gardens Lots.

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26. First NBC has not rendered an accounting to Thinl<stream LLC with respect to the
collections First NBC has made with respect to the Zee Zee Gardens Lots.

27. First NBC promised to render an accounting to Thin_ltstream LLC with respect to the
collections First NBC has made with respect to the personal residence of Barry Bellue, Sr., at
2601 East lakeshore Drive, Baton Rouge, LA.

28. First NBC has not rendered an accounting to Thinkstream LLC with respect to the
collections First NBC has made with respect to the personal residence of Barry Belluc, Sr., at
2601 East lakeshore Drive, Baton Rouge, LA.

29. First NBC allowed one or more of the Letters of Credit to expire
30. First NBC has not collected the balances cf the Certil'icates cf Deposit.

31. First NBC has not applied the proceeds cf collection on the Zce Zee Gardcns Lots to
reduce the balance of the 'i`hinl<stream LLC Note and the Recourse Aniount.

32. First NBC has not applied the proceeds of collection on the Brolterage Accounts to
reduce the balance ofthe 'l`hinl<stream LLC l‘~lote and the Recourse Amount.

33. First NBC has not applied the proceeds of collection on the Letters of Credit to reduce the
balance of the Thinl<stream LLC Note and the Recourse Amount.

34. First NBC has not applied the proceeds of collection on the Certiticates of Deposit to
reduce the balance of the 'l`hinl<stream LLC Note and the Recourse Amount.

35. First NBC has not applied the proceeds of collection on the personal residence of Barry
Bellue, Sr., at 2601 East lakeshore Drive, Baton Rouge, LA to reduce the balance of the
Tliinl<streain LLC Note and die Recourse Amount.

36. First NBC has not accounted to Thinl<stream LLC for the collections it has made with
respect to the Letters of Credit or the Certificates ofDeposit.

37. First NBC has failed in its agency and fiduciary duties to collect upon and account to
'l`hinkstrearn LLC for the Letters of Credit and Certii"icates of Deposit and all other Collateral
securing the 2013 Note and the Banl<ruptcy Note.

38. As the escrow holder of the Escrow Account First NBC owes a fiduciary duty to
'l`hinlcstreani LLC to manage the Escrow Account properly

39. As the 'escrow holder of the l:`,scrow Account Pirst NBC owes a fiduciary duty to
Thiliksu'eam LLC to account to Thinl<streani LLC for all additions to and disbursements from the
Escrcw Account.

40. First NBC has failed to use funds in the Escrow Account to properly make interest
payments as they become due to pay the Thinl<stream LLC Note.

4£. First NBC has not accounted to Thinl<stream LI_,C for the disbursements from the
Escrow Account.

42. First NBC has not accounted to Thinltstream LLC for interest accruing on the balance in
the Escrow Account.

43. First NBC has not credited interest on the balance in the Escrow Account.

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44. First NBC has failed in its agency and fiduciary duties to pay interest on the Thinltstrearn
LLC Note from the Escrow Acccu.nt.

45, First NBC’s recourse against Thinl<strcain LLC and the guarantors of the Thinl<streani
LLC Note is limited to $Z,OO0,000.00 (the “Recourse Aniount”).

461 ”i'he maximum amount that could be owed by Thinl<strearn LLC and guarantors under the
Thinlrstrearn LLC Note, after applying the proceeds of collection efforts of the Collateral
securing the 2013 Note and the Bani<ruptcy Note and the Cornrnon Collateral, is $2,090,000.00.

47. `l`he “Non~Recourse" portion of the Th.inl<strearn LLC Note is not an obligation of
Thinlrstream LLC and is to be satisfied only from proceeds generated from collections related to
the foreclosure of the Collateral securing the 2013 Notc and the Banlo'uptcy Note and the
Conunon Coilateral in excess of $2,000,000,00. -

48. All payments and amounts received by First NBC, from collections on collateral,
deductions from the Escrow Account, or otherwise, are to be credited to reduce the Recourse
Amount.

49. All payments and amounts received by First NBC, from collections on collateral,
deductions from the Escrow Account, or otherwise, are to be credited to reduce the outstanding
balance of the Thinkstrean:i LI,C Note.

50, First NBC has failed to credit all payments and amounts received by it from collections
on collateral, deductions front the Escrow Account, or otherwise7 to reduce the Recourse
Amount.

Sl. First NBC has failed to credit all payments and amounts received by it front collections,
deductions front the Escrow Account, or otherwise, to reduce the outstanding balance of the
`i`hinl<strearn LLC Note.

52. Third<strearn LLC is not delinquent in its payment obligations under the Thinl<streani
LLC Note.

53. First NBC has received payments and proceeds from the collection upon the Coilateral
and the Conirnon Collateral sufficient to reduce the Recourse Arnount to zero.

54. Pirst NBC has foreclosed upon or otherwise collected upon the Zee Zee Gardens Lots,
but has finled to credit the collection proceeds to reduce the Recourse A.tnount.

55. First NBC has foreclosed upon or otherwise collected upon the Zee Zee Gardens Lots,
but has failcd'to credit the collection proceeds to reduce the outstanding balance of the

'I`hinl<stream LLC Note.

56. First NBC has foreclosed upon or otherwise collected upon the Brol<erage Accounts, but
has failed to credit these proceeds to reduce the Recourse Arnount.

57. First NBC has foreclosed upon or otherwise collected upon the Brol<erage Accounts, but
has failed to credit these proceeds to reduce the outstanding balance oi" the Thinl<stream LLC

Note.

53. First NBC has foreclosed or otherwise collected sums from the sale of the personal
residence of Barry L. Beliue, Sr., in Baton Rouge, Louisiana, but has failed to credit these
proceeds to reduce the Recoursc Arriount or the Bellue Note.

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CaS€ 2217-CV-O4872-BWA-|\/|BN DOCUm€nt 1-6 Fi”|§d` 05/11/17 Page 27 Of 164

59. First NBC has foreclosed or otherwise coilected sums from the sale of the personal
residence of Barry_ I_,. Bellue Sr.. in Baton Rouge Louisiana1 but has failed to ciedit these
proceeds to reduce the outstanding balance of the Thinl<streani LLC Note_

60. Imrnediately prior to the time of the execution of the Pl.trchase Agreernent Fiist NBC’ s
risk rating, loan class1f`cat1on and/or internal valuation of the 2013 Note, ,Wg_ie “substandard“ 01

lower.

61. immediately prior to the tirne of the execution of the Purcliase Agreement, First NBC`s
risl< rating, loan classification andfor internal valuation of the Banl<ruptcy Note weie
“substandard“ 01 lowei

62. lmrnediately prior to the time of the execution of the Pi_ircliase Agreeinent, First NBC’s
risk rating: loan classification5 and/or internal Valuatiori of the Bellue Note, were “stibstandai'd”
or lower.

63. First NBC has failed to account to Tl’iinl<strcam LLC for its efforts to foreclose or collect
upon the Collateral and the Cornmon Coliateral.

64. 'l'iiinlcstrearn LLC’s obligations to First NBC under the Purchase Agreement and
'l`liini<streain LLC Note have been fully satisfied

65. First NBC owes 'l`hinl€strearn LLC the obligation to replace any and all funds taken by
First NBC from the Escrow Aeeount and return said account to a balance of $500,000.06 plus

interest
Respe £subrnitte /
fm /L;?/ M'Z _,.

RobertS.Rootli(La.Bar.No.11454)TA
Peter J. Rotolo (La. Bar No.21848)

Arny L. Mclntire (La. Bar No. 3524 i)
CHAFFE McCALL, L.L.P.

2300 Energy Centre, llOO Poydras Street
New Ot'leans1 Louisiana 70163-2300
"l`elephone: (504) 535-7000 ,

'l`elefax: (504) 544-6088

E~mailr ta>.ra@saM

Artorneysfor' T!tfn/crn'eatn Acqufsi£ion, LLC

PLEASE SERVE:

First NBC Banl<

Through its Agent for Service of Process:
Marsha S. Crowle

Chief Compliance Ot`ficer

210 Bai'onne Street

New Orleans, LA 70112

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CaS€ 2217-CV-O4872-BWA¢J\_/|BN DOCUm€nt 1-6 Filedr__QB/ll/l7 Page 28 Of 164

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. DIVISION “ ” DOCKET l\`O.
THINKSTREAM >ACQUISITION, LLC
‘~ VERSUS
FIRST NBC BANK

FILED:

 

DEPUTY CLERK

THINKSTREAM ACQUISITION, LLC.’S REQUESTS FOR PRODUCTION

OF DOCUMENTS AND ELECTRONICALLY STORED Il\'FORMATION
PROPOUNDED TO FIRST NBC BANK

TO: Fii'stNBC Banlt

Tlirough its Agent for Service of Pi'ocess:

Marsha S. Ci'owle

Chief Cornpliance Officer

210 Bai‘onne Street

New Orleans, LA 701 12

'l`hinkstream Acquisition, LLC (hereinafter “Tliinkstreani LLC”) propounds the
following requests for documents and Eiectronically Stored lnfon'nation to be answered by First
NBC Bank (hereinafter “First NBC”). First NBC is to answer these document requests
separately, fu.lly, in writing and under oatli, in accordance with the Louisiana Code of Civil
Procedure and in accordance With the following definitions and instructions, which are
incorporated into each of the document requests as though set forth entirely in eacli. These
document requests are made oontinuing, and supplemental answers are required promptly. You
are requested to produce all Electronicaily Stored Infoimation responsive to this Request in its
native format with all associated Metadata intact

Unless otherwise specified in a particular numbered iten:i of this Request, the temporal
scope of this Request is the period fi'orn lanuary l, 2015 to date.

wollman

As used herein.'

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CaSe 2:17-cV-O4872-BWA:_|\/|BN Document 1-6 Fi|exc_ijB/ll/l? Page 29 01°164

1. “First NBC” means and refers to First NBC Banl< along with its ofticers, directoi‘s,
members, employees, representatives and agentsl
2. “Purchase Agreenient” means and refers to that l,oan Docu.ment Purchase Agreement dated

as of Decerriber 15, 2015, by and between First NBC, as Seller, and Thinltstreani LLC, as

Purchaser.

3. “Thinl<streani INC” means and refers to Thinl<stream Incorpoi'ated, a Delaware
corporation

4. “Loan Docuinents” means and refers to the “Loan Docurnents” identified in the Purchase

Agreeirient, to Wit:

(l) Pi'on'iissory Note in the amount of $4,549,332.35 dated Marcl'i 22,
2013, executed by l`i~iinltstreani INC to the order of Fi'rst NBC (the “2013
l\lote”);

(2) Coinmercial Securit'y Agreen'ient dated March 22, 2013, executed
by 'l'l'iinl<stream INC in favor of First NBC;

(3] Unifoi‘rn Coinrnercial Code filings executed by Thinl<strearn l.'NC
in favor of First NBC;

(4) Letters of Credit and Certificates of Deposi`t provided to Pirst NBC
as collateral for the loan to 'l"lii`nl<strea.m l'NC (“Letters ofCredit and
Certificates of Deposit”);

(5) Any and all mortgages on real property granted as security for
indebtedness conveyed herein.

(6] Commei'ci'al Guaranty dated lanuary 30, 2013, executed by Barry
L. Bellue, Sr., in favor of l"irst NBC with respect to all indebtedness of
"l`liinltstrearri INC (“Bellue Guaranty”);

{7) The Loan Agreerrient by and between 'l`hlnl<streani INC and First
NBC with respect to Debtor iii Possession Financing, executed pursuant to
the Order of the United States Bani<ruptcy Court of the Middle District of
l_,ouisiana in ln re Tltini<stream lncoi'porated, Case Nun'iber 15~10553,
Chapter l 1, and that Promissory Note in the amount of$750,000.00 dated
Septen'iber 21, 2015 executed by Thinltstream l'l\lC in connection

' therewith (“Banl<ruptcy Note").

4. “Collateral” means any and all collateral held by First NBC at any time to secure the
payment of the 2013 Note and the Banl<ruptcy Note refeired to in the description of “Loan

Docurnents" lierein.

5. “Coinrnon Collateral” means and refers to any and all collateral held by First NBC at any

time to secure the payment of the Beilue Note and the Bellue Gua_ranty.

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6. “B ellue Note°’ means and refers to the indebtedness of Barry L. Bellue, Sr., to First NBC as
evidenced by that promissory note dated January 27, 2015, in the original amount of

$2,238,632.27.

7. “Bellue Gnaranty"’ means and refers to that Co:nrnercial Gnaranty dated January 30, 2013,
executed by Barry L. Bellue, Sr., in favor of First NBC Wit_h respect to all indebtedness of

"l`l'iinl<stream l'NC.

8. “Bellue Coliatera]” means and refers to any and all collateral held by First NBC at any time

to secure the payment of tl'xe Beliue Note.

9. “Cornrnunication’7 means any transmittal of information of any l<ind, whether in the form of

a document, letter, e-rnail, note, message, or other form.

lO. “Thinkstream LLC Note"' means and refers to a promissory note executed by Thinltstream

LLC, payable to First NBC in the amount of $4,928,603.00, dated as ofDecernber 15, 2015.

l l. “Escrow Account“ means and refers to that account at First NBC established at pursuant to
a Debt Service Reserve Escrow Agreement (“Escrow Agreenient") between the parties, also

dated as ofDecember 15, 2015.

12. “Documents” means and refers to documents or Electronically Stored lnforrnation of any
type or description: or any means Of storage of information, including without liinitation, writing
in any form, any physical expression of infonnation, and/or any means of storage of inforniation,
and “Documents" includes, without limitation, any loan document, correspondence,
communication, memorandum, agreement2 letter, band or typewritten note, e;inail or electronic
mail, text message, iityoice, receipt, computer printout, computer tape, computer disl<ette,
audiotape, audio recording, microfilm, videotape, tape recording, photo graph, inter-company and
intra~cornpany communication or any other item of a similar nature “Docu.inents” specifically

includes drafts and/or copies of any of the foregoing items

13. “Relating to” shall mean conceming, containing, regarding discussing pertaining to,

reflecting1 relevant to, commenting upon1 having Some connection to, including, embodying or

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evidencing and should be construed in the broadest sense of the tenn. An analogous meaning

shall apply to the terms “relate,” “related,” “relating,” and other derivations of these words.

14. “And” and “or” shall be construed conjunctively and disjunctively so as to require die

broadest possible response to any particular interrogatoryl
15. -Words shall be construed in the singular or plurai forrn.

l6. The term “person"' means any natural person, individual, corporation, finn, joint venture,
partnership, proprietorship, association, organization, or any other business or legal entity or

group of natural persons

17. “Metadata” includes information embedded in an electronic document or file describing
inter alia, its creation, revision history, tracking and management that is generally not visible or

retrievable when an electronic document is printed or converted to an image rile.

18. “Electronic” means relating to technology having electrical1 di giral, magnetic, wireless,

optical, electromagnetic, or similar capabilities

19. “Blectronically stored information” means information that is stored in an electronic

medium and is retrievable in perceivable form.

I_E§Ell§_l`_l_§].li§

A. 'I`his Request seeks all responsive documents and information that are in your
possession= custody, or control`and all documents and information that are in the possession,
custody, or control of your agents, employees attorneys or other representatives This Request
shall be deemed to be continuing so that any additional information and documents responsive to
this Renuest which you acquire or which become known to you up to and inciuding the time of
trial Shali be furnished to the requesting party promptly after such information or documents are

acquired by or become known to you.

B if any information called for by this Request is withheld on the grounds of a claim

or objection based on the attorney-client privilege the attorney worlt~product doctrine, or any

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Case 2:17-cV-O4872-BWA;,|_\/|BN Document 1-6 Filed__OB/ll/l? Page 32 of 164

other privilege or basis, state in your response, as to each document or category of information
you refuse to produce or disclose:
l. the nature of the privilege or work product doctrine you claim is applicable and a
description of the facts and the basis of applicability of the particular privilege or

objection to each such document or category of information;

2. if a document is involved, the date, the author, its recipient(s) and all persons who

received copies of it: including the general subject matter of the document and the

identity of each person who has seen the document; and

3. if a communication is involved, the names of the persons involved in the

communication, the general subject matter of the communicaticn, and an explanation of

the circumstances of the communication

C. With respect to each document otherwise responsive to this Request which has
been lost or destroyed since its preparation `or receipt, identify the document, state the item
number of the Request to which it would otherwise be responsive, and give the full particulars or
circumstances of the loss or destruction cf the document

D. Organize'or label all documents you produce by reference to the number of the
particular item of this Request to which they are responsive

E. lt a document is responsive to this Request and is within your controi, but is not in
your possession or custody= identify the person who has possession or custody of the document
If any such document vvas, but is no longer, in your possession'or subject to your control, state
what disposition was made of it, by whom, and the dates or approximate dates on which such

disposition was made, and why.

REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1

Please produce any and all Documents relating in any way to First NBC’$ decision to sell the

Loan Docurnents to Thinl<stream LLC.

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REOUEST FOR PRODUCTION NO. 2
Please produce any and all Documents relating in any way to the negotiations for the sale of the

Loan Documents, including any drafts of, or comments on drafts of, the Purchase Agreernent.

REOUEST FOR PRODUCTION i\"O. 3

Please produce any and all Docurnents relating in \any way to the collateral that Pirst NBC held
as collateral security for the repayment of the ZGl3 Note or the Bankruptoy Note, including any
and all Docnnients relating in any way to the value of each item of Collateral at the time of the
execution of the 2013 Note and the Ban.l<ruptcy Note, the value of each item of Collateral at the
time of the execution of the Purchase Agreement, or the value of each item of Coliateral at due
present

REOUEST FOR PRODUCTION NO. 4

Please produce any and all Documents relating in any Way to First NBC’s efforts to foreclose
upon or otherwise collect upon each item of Collateral= including those “Letterfs of Credit and
Certificates of Deposit” referred to in the description of “Loan Docurnents" herein

REOUEST FOR PRODUCTION NO. 5

Please produce any and all Docurnents relating in any way to the current status or value of the
“Letters of Credit and Certiticates of Deposit” referred to in the description of “Loan

Docurnents” herein.

REQUEST FOR PRODUC'].`ION NO. 6

Please produce any and all Doouments relating in any Way to First NBC’s efforts to foreclose
upon or otherwise collect upon two real estate lots owned by Bar'ry L` Bellue, Sr., in the Zee Zee
Gardens area ofBaton Rouge, Louisiana.

R_EQUEST FOR PRODUC'I`ION NO. 7

Please produce any and all Docuinents relating in any Way to First NBC’S efforts to foreclose
upon or otherwise collect upon any brokerage accounts at Morgan Stanley in the names of Barry
I_. Bellue, Sr., and Barry Lee Bellue, Jr\, with a value of approximately $227,0-00-.00, Which were

purportedly pledged to secure the obligations ofThinl<strea.m INC to First NBC.

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Case 2:17-cV-O4872-BWA_-|\/|BN Document 1-6 Fi|e”d_lOB/ll/l? Page 34 of 164

REOUEST FOR PRODUCTION NO. 8
Please produce any and all Docurnents relating in any way to First NBC’s efforts to foreclose
upon or otherwise collect upon the personal residence of Barry L. Bellue, Sr., in Baton Rouge,

Louisia_na.

REQUEST FOR PRODUCTION NO. 9

Please produce any and all Docuinents relating in any way any of the collateral that l'~'irst NBC
held as collateral security for the repayment of the Bellue Note or the Common Collateral,
including any a.nd all Documents relating in any way to the value of each item of collateral for
the Bellue Note and Common Collateral at the time of the Beliue Note’s executicn, the value of
each item of the Bellue Collateral and the Cornrnon Collateral at the time of the execution of the
Purchase Agreement, or the value of each item oi` the Bellue Collateral and the Common

Collateral at the present

REQUEST FOR PRODUCTION NO. 10

Please produce any and all Documents relating in any way to First NBC’s efforts foreclose upon

or otherwise collect upon the Bellue Collaterai or the Cotnmon Collateral.

R.EQUES'J.` FOR PRODUCTION NO. 11

Please produce any and all Documents relating in any way to the current status of value of the

Bellue Coilateral or the Cornrnon Coilateral.

REQUEST FOR I’RODUC'I`lON NO. 12

Please produce any and all Docurnents relating in any way to the application of payments that
were used to pay principal, interest or bank charges on the 'l`hinltstrearn LLC Note and the
outstanding balance of principal and interest due with respect to the `l`hinltstream LLC Note from
Decernber 15, 2015, to the present, on a monthly basis

REOUEST FOR PRODUCTION NO, 13

Please produce any and all Docurnents relating in any way to any deductions from or additions to

the Escrow Account, including the purpose of those deductions and the source of those additions,

from December 15, 2015, to the present, on a monthly basis

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REQUEST FOR PRODUCTION NO. 14

Please produce any and all Docurnents relating in any Way to First NBC"S risk rating, loan
classification and/or internal valuation of the loans represented by the 2013 Note, the
Banl<ruptcy Note, or the Bellue Note, at any tirne prior to the time of the execution of the
Purchase Agreernent.

REQUEST FOR PRODUCTION NO. 15

Please produce any and all Docurnents relating in any way to _the payment and delinquency status
of the Bellue Note or the I`hinl<strearn LLC Note,

REQUEST FOR PRODUCTION NO. 16

Please produce any and all Docun'ients relating in any way to First NBC’s mortgage on the 1,636
Acres of Donegal Road, Woodvilie, MS (“Mississippi Property”) owned by Barry L Bellue, Sr.,
including all appraisals oi`the Mississippi Propcrty or the mineral rights therein

REQUEST ron rnonuc'rlon No. 17

Please produce any and all Documents relating in any way to the “Letters of Credit and
Certificates of Deposit” including all communications with the depositary banks nor deposit
account holders of the Certii`icates of Deposit and all communications with the issuing banks or
applicants of the Letters of Credit.

R.EOUEST FOR PRODUCTION NO. 18

Please produce any and all Doctunents relating in any way to any account into which First NBC
has placed the proceeds of the foreclosure or collection upon any of the Bellue Collateral, the

Collateral or the Cornmon Coilateral, including the names of each account holder and all account

statements

RE§ ]UEST FOR PRODUCTION NO. 19

Please produce any and all Docuntcnts relating in any way to any disbursements of any proceeds _
of collections on any of the Eellue Collateral, the Collateral, or the Cornrnon Collateral.
REOUEST FOR PRODUCTION NO. 20

Please produce any and ali Docuinents relating in any way to any meetings of any loan

committee, audit committee or other committee that refer to the 20l3 Note, the Banl<ruptcy Note,

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CaSe 2:17-cV-O4872-BWA:l\/|BN Document 1-6 FiledwO_B/ll/l? Page 36 of 164

the Bellue Nore, the Thinl<strearn LLC Note:, or the Purchase Agreement, including all minures
thereof

REOUEST FOR PRODUCTION NO. 21

Please produce any and all correspondence between First NBC and Barry L. Bellue, Sr., relating
in any way to: 'l`binl<strearn l'NC, Tbinl<strearn Ll'_,C, the bankruptcy of 'l`binkstream INC, the
'l`hinlistream LLC Note, TSB '\/'entures, LLC, the 2013 Note, or the Banl<ruptcy Note.
REOUEST FOR PRODUCTION NO. 22

Please produce any and all correspondence between First NBC and any and all attorneys
representing Thinkstrearn l'NC and/or Barry l'_,. Bellue, Sr.

REOUEST FOR PRODUCTION NO. 23

Please produce any and all correspondence between First NBC and Barry L. Bellue, Sr.
REOUEST FOR PRODUCTION NO. 24

Please produce any and all correspondence and corrununlcatlons between and among First NBC
personnel related tod Barry L_ Belluc, Tln'n.lcstream INC, Thinl<$tream LLC, and/or TSB
Ventures, LLC.

REOUEST FOR PRODUCTIGN NO. 25

Please produce any and all Docoments related in any way to interest payments received by First
NBC related to the 20l3 Note.

REQUEST FOR PRODUCTION NO. 26

Please produce any and all Documents related in any Way to any loans made by First NBC to

Tbinkstrearn l'NC and to Barry L. Bellue, Sr.

Re%:::r:nntted:

W

Robert S. Rooth (La. Bar. No. 11454) T.A.
Peter J. Rotolo {La. Bar N0.21848)

Arny L. Mcln’lire (La. Bar No. 35241)
CHA_FFE MCCALL, L.L.P.

23 00 Energy Centre, 1100 Poydras Street
New Orleans, Louisiana 70163-2300
Telepl'lone: {504) 585-7000

'l`elefax: (504) 544»6088

E-mall: rooth@cba'ffe.com

Afromeysfor Thinfcs'rreczm Acqm`sifz'on, LLC

 

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CaS€ 2217-CV-O4872-BWA-|\/|BN DOCUm€nt 1-6 V_T|zi|ed 05/11/17 Page 37 Of |164

PLEASE SERVE:

First NBC Banl<

Tbrougl1 its Agent for Service ofProeess:
Marsha S. Crowle

Chief Compliance Ofllcer

210 Baronne Street

New Orleans, ]'_,A 70112

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sure or LoUIsIANA W~, § e, rs 3 l 8
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No. 2016-9532 DIVISIQI§I_`.‘§A”
THINKSTREAM ACQUISITION, LLC
VERSUS

FH{ST NBC BANK

 

 

 

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LWOPPOSED EXPARTE FIRST MOTION FOR EXTENSION OF THVIE TO FILE
RESPONSIVE PLEADINGS ¢LND RESPONSES TO DISCOVERY

 

NO‘W INTO COURT, through undersigned coansel, come Defendant, First NBC Bank
(hereinafter referred to as “Defendant” cr ‘°.FirstNBC”): who respectfully represent tbat:
nl_
Plaintiff filed their Petit'lon for Darnages_. Req_uests for Production of Documents, and
Requests for Adrnissions on or about Septernbcr 22, 2016A
..g~
game were served on FirstNBC on or about Septernber 27, 2016.
_3_
Consequently, responsive pleadings to Plajntiffs’ l:'etition for Damages are either due or the
time for responding is quickly approaching
_4_
Additionally, responses to the Requests for Productlon of Doetunents and Requests for
Admissions are due on or about Octo`ber 2?, 2016.
-5»
Undersigned counsel requires more time to investigate and research the claims made by the
Plaintiffs in order to properly respond thereto
_5_

No previous erremz`om ofrz`me re plead have been requested by FFFSINBC fn !ln‘s marren

 

   

 

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_7..

Defendants request an extension of time to ile responsive pleadings to Plaintiff's Petition
for Darnag,es , Req_uests for Pro duction ofDocurnents, and Requests for Admissions until Novernber
1 1, 2016.

_3-

Counsel]%r Plainnjj"has agreed to an extension ofz'ime remit Novernl)er ll, 2016 to]ile
responsive pleadings to Plafnnjj"'s ?eo'tr'onfcr Damages, Reqne.rrsjbr Prodi.:ctfon ofDocumer/trs,
and Reqnesfsfor Adntissions. See Emaii string attached hereto as Exbibit “`1~”

.9-

Tlie granting of the extension oftirne as requested will not retard the progress ofttn's matter.

WHEREFGRE, the Dcfendant, First N.BC, prays that this Honorable Court grant an
extension of time until Novernber 11, 2016 to tile responsive pleadings to Pla.intift’s Petition for
Da.mages, Requests for Production otDocuments, and Requests for Admissions.

Respectb.iliy Subrnitted;

AAROPL&\ GIANNA, PL C_
l ll ` Cl l

\ ‘.`i l _.- n

\-. l ./ /l }/,47
MLLIM AAR`£FN, nrc onset #2267) T.A.
De\VAYNE L. VVILLI.A~W.[S {LSBA #2'7685}
ANNA RAINER {LSBA #31531)

201 Sa_int Cl:tarles Avenue, Suite 3800

New Orleans, LA 7017`0

Telephone: (504) 569-1300

Connsel]‘br Dej@mfnrn‘, F:'rsr _?\fBC Bcrnlc

CERTIFICATE OF SERVICE
l HEREBY CERTIFY that a copy oft]:le above and foregoing pleading has been served
upon all counsel of record via electronic service and/or fagg this Erday of October . 2016.

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 F_>age 40 of 164

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c 121 ‘
CIVIL DIS'IRICT COURT FOR THCE PAI-USH OF OREEANS"'

,.~ c> `S-' l%
STATE OFLOUISLANA »..-_‘? T_`_`;`,¢". ij `

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novel

No. 2016~9532 DI\?IS“_lQ:N~`§;Av,; -.
THINKSTREAM ACQUISITION, LLC
VER.SUS

F]_RST NBC BANK

 

 

FILED DEPUTY CLERK

QBD_EB
Considering tire foregoing Unopposed Ex Parce Pirst Motion for Extension of Time;
IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Defendent, First
NBC Banl< be granted additional time to Novern’oer 11, 2016 to tile responsive pleadings to
Plaintiff’S Petition for Darnages_. Requests for Production of Doonrnents, and Requests for
Ad.missions. in the above-captioned matter.

New Orleans_. Louisiana, this clay of , 2016.

 

JUDGE

Service will be perfected via certified mail.

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 41 of 164

 

DeWayne Williams _ § F“ '\'§"*z
- l¢- t “~§»- W ""
From: Rooth, Robert <rooth@cnafr'e_com> as § d _`,`§ §§
Sent: Wedoesday, October 12, 2016 12:58 PM _ ¢~“-r t 3 `1”“ "
'l'o: DeWayne Wa`|liems 1013 ‘"`“\ z
Cc: Wlllfam Aaron; Anna Rainer: Dun`oar, Anthon)r, Rotoio, Peter…§ ,-._; w
Subject: RE: Thinl<stream Acquisltion, LLC v; Flrst NBC Banl< - CDC No‘.`=20-15"~9532;'Oor F'cle |\lo.

72008 lCMNO-Cl'ta.ffe[)NIS.FIDJ.SBSYl]

DeWayne, Tnat’s agreeable to my olient. Please go ahead and nle a motion with the court Stating we have no
opposition to the extension

Bob Rooth '
' 1100 Poydras Street Suite 2300

err-terre §
§ New Orlea rs, LA 701'63

MCCEll-.» § e; 504.535?226 § f; 5045446033

L` `_». a's`.':_c L"E¢` years D_E service 5

Robert S. Rooth l Partner

W"

  

ehatfe.corn lllnl<edin ] entail

 

 

From: DeWayne Wllliams [mallto;dwflliams@aaronf'irrn.cornj
Sent'. Wednesday, October 12, 2016 12:05- PlVE

Te: Rooth, Robert

Cc: Wl'lllam Aaron; DeWayne Williems; Anne Relner
Subject: Thinl<§tream Acqulsin`on, LLC v. Fl`rst l\lBC Bank - CDC No. 2015~9532; Our File No. 72008

Mr. Rootl'l:

Blll Aaron forwarded your voice mail to me as t Was In the process of drafting the Motion for Extension of'I“lme. l
apologize for the formality ot this transmission Ijust Wa nth to be sure We were all on the same page. Service of the
Petition and Discovery (Prodnctlon and Adrnlssions) took place on September 27, 2015¢ Thatwou|d make Respons:`ve
Pleadings to the Petitlon due today (15 days] and Responses to the Discovery (Production and Adml'ss?ons) due on
October 27, 2016 (30 days via l_a.C.C.P. art. 1462 and 1467}.

We have an agreement to an extension of 15 days on the outstanding discovery and an agreement to make the
responsive pleadings due on the same tlme. That would make everything due on Novernber 11, 2015. P|ease confirm

Again, l apologize for the t"orma|lt\/. l simply did not Went there to be any miscommunlcation.
Thanks,
De\l\layne

`DeWayne l_. Wililems
Shareholder/Director
Aa ron & G'ranna, PLC
201 St. Charles Ave.
Suite 3800

New Orlea ns, LA?Ol'/'U

ne

 

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T@l: (504) 569-1802
Fax: {504)559~1301

 

OFFlCES lN NEVV ORLEANS, LOUIS|ANA

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C[\ lL DISTR§CT COURT FO.R THE PARISH OF ORLEAZL¢SS

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STATE {}F l.-OUISIANA
~“`, ,?H_Er Hli Ol"-. 511
NO' 2016“9532 l,!.:l$> ` DI\?'ISION &:Ass
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TH_INKSTREAM ACQUISITION LLC_U,
‘v ERSUS

FIRS‘I` NBC BANK

 

 

.F l LED DEPUTY CLERK

ANSWER AND AFFIR.`\/IATIVE I)EITENSES TO
PETET`[ON FOR DECLARA.TORY JUDGMENT AND DAMAGES

NOW INT() COURT, through undersigned counsle comes purported Det`endant, FirstNBC
Bank_. lhereinat`tcr referred to as "Dc'l"endant” or “PNB C`"`): who respectfully responds to the Pctition
l`or Declaratory .lucl gmcnt and Damages, (hcreinaftcr_ inferred to as the “Petition"’}, filed lay Plainti'il_.
Thinl<stream Acqnisition, LLC, (ltercinaftcr referred to as “Plaintift"}, in the following particulars

_1-

'l'hc allegations contained within paragraph l ofl>laintlff’s Pctition, insofar as it purports to
establish the status and registered office ofPlaintiff. are admitted Insofai as it purports to establish
any other allegations same arc denied

_;_

The llegations contained within paragraph 7 olPl aintift" s Pe`rition_._ insofar as it porports to
establish the status and registered ol'r`i ce of FNBC, arc admitted Inso:t`ar as it purports to establish
any other allegations Same arc denied

-3_
Tlrc allegations contained within paragraph 3 oi`Plaintifi"‘S Pctition, insofar as it purports to
establish ycnuc, arc admitted All other allegations are denied
..4_
The allegations contained within paragraph 4 of Plaintift`s Petition are denied
_5.
'l`he allegations contained Within paragraph 5 ot`Plaintift"s Pctition are denied
_5-

The allegations contained within paragraph 6 of Plaintitl"s Petition are denied

 

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_7_
'l'he allegations contained within paragraph 7 of Piaintitt"s Petition are denied
_3_
"l`he allegations contained within paragraph 3 ot`Plaintift`s Petition are denied for lack of
sufficient information to justify a belief therein at this tinne.
-9-
"l`he allegations contained within paragraph 9 of Piaintifi"s Petition are denied
1 0.

't`he allegations contained within paragraph 10 of Plaintit`t"s Petition are denied for lack of

sutt`rcient information to justify a belief therein at this time
11.

The allegations contained Witliin paragraph ll ot` Piaintift"s Petition are denied for lale ot"

strl"'r"icient into nnation to jnstify‘a belief therein at this tinie.
]2.

The allegations contained within paragraph l2 ot`Plaintit`t"s Petition are denied insofar as the
paragraph purports to establish the contents of a purported Loan_ Doeurnent Pn_rch_ase Agreernent_.
Said Agreement speaks t`or itself and is the best evidence of any agreement between the parties
Additionally, all other allegations are denied

13.

'l`he allegations contained Within paragraph 13 ot`Piaintiff’s Petition are denied insofar as the
paragraph purports to establish the substance ot`any agreement between the parties Said Agre ement
Speal<s tot itseii` and is the best evidence oi" any agreement between the parties Additionally_ all
other aliegations are denied

14.

The allegations contained within paragraph 14 ofPlaintift" s.?etition are denied insofar as the
paragraph purportsto establish the substance otanjv" agreement between the parties Said Agreernent
speaks 'l"or itself and is the best evidence of any agreement between the parties i+"~.d.ditionall;r7 all
other allegations are denied

15.
The allegations contained within paragraph i§ ofPlaintiit"s.Petition are denied insofar as the

paragraph purports to establish the snbstani:e ofany agreement between the parties Sai.d r-\§;reement

Case 2:17-__cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 45 of 164

speaks t`or itself and is the best evidence ofany agreement between the parties Ar:'lditionallyn all other
allegations are denied
1 6.

Tbe allegations contained within paragraph 16 ofPlaintift‘ s Petiti on are denied ins ofar as the
paragraph purports to establish the substance of any agreement between the parties S-eid Agreement
speaks for itsel f and is the best evidence ot"any agreement between the parties Additionally, all other
allegations are denied.

17.

The allegations contained within paragraph 17 ofPlaintiff’s Petition are denied insofar as the
paragraph purports to establish the substance ofany agreement between the parties Said Agreement
speaks for itselt` and is the best evidence_of anyl agreement between the parties Additionally, all
other allegations are denied

18.

Tbe allegations contained within paragraph l 8 of Plaintifi"' s Petition are denied insofar as the
paragraph purports to establish the substance ot`any agreement between the parties Said Agreement
speaks t`cr itself and is the best evidence of any a_t,n'eenient between the parties Acl<:litic)nall;,rc all
other allegations are denied

19.

The allegations contained within paragraph l 9 of Plaintift" s Petition aredenied insofar as the
paragraph purports to establish the substance ofany agreement between the parties S aid Agreem'ent
speaks for itself and is the best evidence of any agreement between the parties

29-

"l`he allegations contained within paragraph 20 of `Plaintiff"`s P`etition are denied insofar as the
paragraph pmpolts to establish the substance ofany agreement between the parties Said Ag;reement
speaks i"or itselt`and is the best evidence of any agreement between the paities.

21.

Tbe allegations contained in paragraph 2l cf Plaintit`t"s Petition are denied
22.

'l`he allegations contained in paragraph 22 of Plaintifi” S Petition are denied
23.

Tlie allegations contained in paragraph 23 of P!aintil’f`s Peti-tion are deniedl

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24.

'l`he allegations contained within paragraph 24 ofP laintiffs Pet:ition are denied insofajt as the
paragraph portions to establish the substance ot`a.ny agreement between the parties Said Agreement
speaks 't`oi' itsell" and is the best evidence of any agreement between the parties Additionelly, all
othez' allegations are denied

?.S.

'l`lte allegations contained within paragraph 25 ofPlaintii`t"sPetition ate denied insofar as the
paragraph purports to establish the substance ot`an}/ agreement between the patties. Said Ag_reernent
speaks for itself and is the best evidence ot` any agreement between the parties Additionally._ all
other allegations ate` denied

26.

Tlte allegations contained within narag;tap.h 26 of Plaintifi"s Petition are denied
27.

Tlie allegations contained within paragraph 27`of Plaintii`f’s Petition ate denied
23.

Tbe allegations contained within paragraph 23 oi"Plai ntifi:` s Petiti on ate denied inso far as the
paragraph purports to establish the substance ofan_i.' agreement between the parties Said Agreetnent
speaks l"or itself and is the best evidence of any agreement between the parties Additionall_v, ali
other allegations are denied

39.

Tlte allegations contained within paragraph 29 ofPlaintii"f°s Petition are denied
30.

The allegations contained within paragraph 30 of Plaintifi`$ Petition are denied
31..

The allegations contained within paragraph 3l ofP.laintifl"S Petition are denied
32.

'l`he allegations contained within paragraph 32 ofPlaintift"s Petition are denied insofar as the
paragraph ptirpoits to establish the substance ofany agt‘eernent between the parties Saicl Ag,t‘eetnent
speaks for itself and is the best evidence of any agreement between the parties Additionally_. all

Oti'tei‘ allegations are denied

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33.

The allegations contained within paragraph 33 ot`Pl-aintifi"$ Petition are denied insofar as the
paragraph purports to establish the Snbstanoe ofany agreement between the paities\ Said Agreernent
speaks t`or itself and is the best evidence of any agreement between the patties. Additionally, all
other allegations are denied

34.
The allegations contained within paragraph 34 of Plaintiff"s Petition are denied
55.

”l`he allegations contained within paragraph 35 oi"]’iaintifi"s Petition are denied insofar as the
paragraph purports to establish the substance ot"any agreement between the pai‘ties. Said Agreement
Spealts t`or itself and is the best evidence of anyr agreement between the partiee. Additionally, all
other allegations are denied

36.

‘l"he allegations contained within paragraph 36 of Plaintit`f"s Petition are denied
37_

Tlie allegations contained Within paragiaph 37 ot` Plainti;t`i"s Petition are denied
38.

The allegations contained within paragraph 38 of Plaintit`f“s Fetition are denied
39.

'l`lie allegations contained within paragraph 39 of Plaintitt’s Petition are denied
40.

'l'he.allegations contained within paragraph 40 of ?laintii`t’s Petiti'on are denied
41.

'l`he allegations contained Within paragraph ill ofPla:lntifi"S Petition are denied
42.

The allegations contained Within paragraph 42 of Plaintit`t"s Petition are denied
_ 43.

Tlie allegations contained within paragraph 43 of Plaintift" s' Petition are denied
n 44.

The allegations contained within paragraph 44 ot`Plaintifi"s Petition are denied

CaS_e 2:17-CV-O4872-BWA-I\/|BN Document 1-6 Filed 05/11/17 Page 48 of 164

45.
The allegations contained within paragraph 45 of Plaintiff"s Petition are denied
46.
T he allegations contained within paragraph 46 of Plaintifi"e Petition are denied.
47.
'l`he aliegations contained Within paragraph 47 of Plainti.t`i:’.s Petition are denied
43-
'l`he allegations contained within paragraph 43 of Plaintiff" s Petiti on are deniedl
49.
The.allegations contained within paragraph 49 ofPlaintii`i"s Petition are denied
5{].
The allegations contained within paragraph 50 of Plaintifi"s Petition are denied for lack of
SoHi<:ient information to justify a belief therein
51.
”l`he allegations contained within paragraph 51 of Plaintii`i`s Petition are denied
52.
'l'he allegations contained Within paragraph 52 ot`PlaintiH"s Petition ate denied
53.
The allegations contained within paragraph 53 oi`PIainti.l"f’s Petition ate denied
54.
The allegations contained within paragraph 54 of Plaintif.i”s Petition are denied
5 5.
The allegations contained Within paragraph 5':'> of Plaintifi’s Petiti-on are denied
§6.
The allegations contained within paragraph 56 of Plai.ntiff‘$ Petition are denied
57.
The allegations contained within paragraph 57 of Plai`nti.l:f" s Petit`ion are denied
53.
The allegations contained within paragraph 5 8 oi`Plaintifi` s Petition are denied insofar as the
paragraph purports to establish the substance ofany agreementbewveen the parties Said Agreement

Speal<s for itself and is the best evidence of any agreement between the parties. Additionally, all

_ Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 49 of 164

other allegations are denied1
59.

Tlie allegations contained within paragraph 59 ofPlaintift" s Petiticii are denied insofar as tlic
paragraph purpoirs to establish the substance ofany agreement between.th.e parties Said Agrcem cat
speaks t`or itself and is the best evidence of any agreement between the parties. Adciitiooally_ all
Otlicr allegations arc deiiicd.

AFFIRMATIVE DEFENSES
AND NOW. in further response to Plaintifi"'$ Petitioo, FNBC asserts the following
Ai`iiimativc Defenscs:
FIRST AFFIRMATIVE DEFENSE
Plaintit`i"' s Petition fails to State a cause of action on Wliich relief may be granted
SECOND AFFIRMATI‘HE DEFENSE

Some or all oi" the claims asserted in 'Plaintiti"s Petitioii are barred by applicable statutes of

limitation, prescriptive and peremptive periods and contractual time limitation provisions
THIRD AFFIRMATIVE DEFENSE

Some or all cf the claims asserted in Plaintift"s Petition are hatred under the doctrines of

Waiver, ratit`icatioii_ and estoppel
FOUR'TH AFFIRMATIVE D."EFENSE
Somc or all oftl'.ie claims asserted in. Plairitifi" s Pctition are barred by the principle of unclean
haitcls.
FIFT[-l AFFIRMATIVE DEFENSE
F_N BC at all times complied With the applicable laws, regulations:'aiid stariclarc:`lsh
SIX'I`H AF`FIRMATIVE DEFENSE

Tlie riglits, obligations and duties of PNBC' are exclusively defined by the applicable

Agrecrncnts executed by the parties and in the custom and practice as implied
SEVENTH AFFIRMA'I`IVE DEFENSE

Somc or all cfthe claims asserted by Plaintiff are barred, iii Whole or in part, because all

actions oi"l~`l\"BC were ptivile`ged exercises of fire legal and/or contractual rights of FNBC.
EIGI-ITH AFFI]§MATIVE DEFENSE
FN_BC did not breach any duties owed to Plairitifi`, including any duties imposed on FNBC

iri the Agreements or by lawn

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NINTH. AF_FIRMATIVE DEFENS E
FNBC at all times acted with due oare, diligence in good faith, and without malice
TENTH AFFIILMATIVE DEFENSE
S`ome of or all ol`the claims asserted against Plai.i:tiff are preempted or oth eroise precluded
by statute i'egulatiori, or any applicable agreements
ELEVENTH AFFIRI°¢L¢.TIVE DEFENSE
Plaintifi"lias sustained rio damages'pro:timately caused by FNBC.
TWELFTH AFFIRMATIVE DEEENSE`
No act or omission of FNBC was a cause-in-fact of any ofPlaintiff“s alleged damages
THIRTEENTH AFFIRMAIIVE DEFENSE
Plaintiff has failed to mitigate its alleged damages
FOURTEENTH AFFIRMATIVE DEFE-NSE
Tlie damages alleged by Plaintiff are the result of its own fault and/or the fault of others
whose conduct FNBC is riot responsible
FIFTE.ENTH AFFIRMATIVE DEFENSE
Some or all of the claims asserted by Plaimii*l` are barred in whole or in part by the doctrine
of Unjust Em-ichment.
SIXTEENTH AFFIRI‘»¢IATIVE DEFENSE
'l`l'ie claims and-alleged defaults asserted by Plaintii`f are barred by tlie doctrines of accord,
satisi"action, and/or have been eurecl. l
SEVENTEENTH AFFIRMATI`VE DEFENSE
To the extent tliat P`NBC"S conduct breached anyl supposed duties to Plaio.tit`li`, which is
specifically denicd, said conduct was the result of i-`NBC’s diltlllment of its duties and obligations
EIGHTEENTH AFFIRMATIVE DEFENSE
FNBC cannot be held liable for any misrepresentations or omissions of any other person or
party
NINETEENTH AF.FIRMATIVE DEFENSE
Plainti f;l` has failed to state a claim for breach-of fiduciarydu'ty under applicable law FNBC,

at all times acted iii good i`aitlt, and complied With and fulfilled the terms and conditions set forth

in the Agreements.

 

Case 2_:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 51 of 164

'["vVENTI.ETI-I A.FF]RM':ATIVE BEFENS.E
Piaintit`t` has |:`ailed` to state a claim for or basis t`or recovery of attorneys fees
TWENTY»FIRST AFFIRMATIVE DEFENSE
T-he claims asserted by Plaintiff should be dismissed orr alternatively1 their damages (the
existence oi" which damages is denied) should be reduced due to failure ot` conditions precedent
TWEN'[Y-`SECOND AFFIRMATIVE BEFENSE
Any damages awarded to Plaintif£ the existence of which is denied, are limited by any
limitation of liability clauses contained in the Agreern`ents.
TWENTY~THIRD AFFIRMATIVE DEFENSE
On information and belief the Plaintiff identified has not been authorized to initiate this
litigation by its members
TWENTY-FOURTH AFFIRMATIVE DEFENSE
On information and belief a majority in interest ofthe members of Plaintii`f did not vote to
commence this litigation7 and the members have not.granted audiority to counsel for Plaintiff to tile
this litigation
'I`WENTY~FIFTH AFFIRMATIVE DEFENSE
Plaintii"f's action for declaratory judgment fails for lack of a case or controversy because
FNBC did not breach any agreements
RESERVATION 01? RIGH'I‘S
FNBC reserves the right to assert additional affirmative defenses established via discovery
`WHEREFORE, the FNBC prays that this Answcr be deemed good and sufficient and after
due proceedings be had, there be judgment herein in irs favor and against Plaintiff,"disniissing
Plaintit`t`s demand with prejudice at Plaintifi"s cost and for such other relief -as maybe permitted
Respectfully Subinitted:

AARON & GIANNA, PLC
/~\

%/U>/<»/-»

/Wrer:faivii). AARON, JR. assert #2267) TA.
De\VAYNE L. WILLIAMS {LSBA #27685)
ANNA RMNER (LSBA #31531)

201 Saint Charles Avenue, Suite 3 8th
New Orleans, LA ?Ol?l}
Telephone: (504_) 569-1300

Coiinsefj?)r Defena"an!, Fi'rstNBC Bnnlc

Case 2:17-cv-O4872-BWA-MBN Document 1-6 Filed 05/11/17 Page 52 of 164

CERTI`FICATE OF SERVICE
i `l-IEREBY CERTIFY that a copy of the above and foregoing pleading has been served

upon all counsel of record via eiectronic service and/or fax, this lam day ot` November ,

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t/

2016.

Case 2:17-c\/-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 53 of 164

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CIVIL DISTRICT COURT FOR TI~IE I’ARISH OF ORLEANS
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-l$” DOCKET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED :

 

DEPUTY CLERK

M{)TION TO COMPEL RESPONSES TO DISCOVERY

Plaintiff, Thinl<stream Acquisition, LLC, respeot§.llly moves this Honorable Cotrrt for an
order compelling defendant, First NBC Banlc, to respond fully, Without objection, to plaintiffs
discovery requests Defendant has failed to respond despite plaintist request for a response
See Civil Rule 10.1 Certiticate.

Accord_ingly, plaintiff, Thinl<stream Acquisition, LLC, requests that the Court grant this .
motion and compel defendant, first NBC Bank, to respond to the requests for production,
without objectionl Plaintiff further prays that in the event defendant files responses before the
hearing date for this motion, and in the event that those responses are incomplete or insufficient
the Coiirt allow plaintiff to supplement its Motion to Cornpel and hear this motion on the date
originally` seit_'by the Court. Plaintiff, Thinkstrearn Acquisition, LLC, also requests that the Court
award the costs and fees associated with this motion. A Supporting memorandum is attached

cspcct llysnb dep

 

Robert S.th(La.fh)RoomBar. No. 11454)'1` A.
Anthony P. Du.nbar (La. Bar NO. 16765)
Peter J Rotolo (La Bar No. 21348)

` Arny L. Mcintire (La. Bar No. 35241)
CHAFFE i\/icCALL, L.L.P.

v 23 00 Energy Centre, 1100 Poydras Street
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Telephone: (504) 5 85»7000
Telefax: (504) 544-6088
E-rnail: rooth@chaffe.corn
Arrorneysfor Thinksrreom Acqnisirion, LLC

 

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 54 of 164

CERTIFICATE OF SERVICE
l do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefax and/or U.S. mail postage prepaid and properly addressed

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and/or electronic transmission this clay of Decernber, 2016.
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x /QJA /
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CDC No. 16-9532 A-l$

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CaS€ 2217-CV-O4872-BWA-|\/|BN DOCUment 1-,6 Filed 05/11/17 Page 55 Of 164

CIVIL DISTRICT COURT FOR THE PARISH OF ORliEA.NS
STATE OF L()UISIANA
NO. 16-9532, DIVISION “A-15 ” DOCKET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED:

 

DEPUTY CLERK

RULE 10.1 CERTIFICATE OF CONFERENCE

 

Counsel for movant, Thinlcstrearn Acquisition, LLC, and counsel for defendant First
NBC Bank, conducted a telephone conference on Decernber 5, 2016, wherein there was a
substantive discussion of every item presented to the Court in this motion and, despite their best
efforts, counsel for the parties Were unable to resoive the matters presented Additionally
counsel for movant, Thinl<stream Acquisition, LLC, attempted to reach counsel for defendant
First NBC Banl<, by telephone a second time to discuss these matters on _Decernber 7, 2016, but

defendant’s counsel was unavailable

,
Certii'ied this /{' day of Decernber, 2016.

©w@_

assert s. troth (La_ en Ne. 11454) r.A`..
Anthony P. Dunbar {La. BarNo. 16765)

'.`_. ‘ Peter J. Rotolo (La. Bar No.21848)

‘ Amy L. Mctnare (La. ear No. 35241)

CHAFFE McCALL, L.L.P.
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'I`elephone'. (504) 585-7000
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E-mailr willsme

Attorneysfor Thinksrrenm Acquisz'tion, LI.C

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CaS€ 2217.-CV-O4872-BWA-|\/|BN DOCUment 1-6 Filed 05/11/17 Page 56 Of 164

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stats on LoUrsrA'NA
No. 16~9532 nmstoN “A.rs =’ nocKsT No.
THINKSTREAM AcQtnsrrroN, LLc
vsnsns

FIRST NBC BANK
FILED:

 

DEPU'IY CLERK
RULE TO SHGVV CAUSE

Considering the motion to compel of Plaintift`, Th.in]cstream Acquisition, LLC, i

IT IS HEREBY ORDERED that Defendant, Pirst NBC Banlc, show cause onithe
ja

..F -?Ol CI °°
day of g )Ot/t(_);j;f;/,_Yi't$, at a.m. Why PlaintiEs motion to compel

Should not be granted DEC j 2 2015

New Orleans, Lou_isiana1 this day of , 2016.

tends "t'ittany Gatrrter Ctzase
dodge - Division “A”

 

JUDGE

PLEASE SERVE:

asst NBC saint l id - t n "'_'W:
'l`hrough its attorney ofreoord,
Williarn D. Aaron, .Tr.

     

_ 1 .:t state
DeWayne L. Wllliarns pamsthnn£A,
Anna Rainer STAE C‘F LA'
201 St_ Charles Avenue
Suite 3800

New Orleans, LA 70170

 

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DlSMiSSlNG THE ltl[.`rl'iON lNTO THE RECGFED.

JLJiJGE T`lFFAN¥ G. CHASE. Di'\/lSIOl‘*i ,’-\
2321 107-l

Case 2:17-c\/.-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 57 of 164

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CIVIL DIS'FRICT COUR'I` FOR TP[E PARISH OF ORLE`ANS
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-IS” DOCIG]T NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED:

 

DEPUTY CLERK

MEMORANDUM IN SUPPORT OF MOTION TO COMPEL

On Scptember 22, 2016, Plaintiff 'l'hinkstrearn Acquisition LLC filed its Petition against
Defendant First NBC, and served therewith Requests for Admissions, Interrogatories, and
Requests for Production of Documents. The defendant requested a thirty-day delay to respond,
which plaintiff consented to, and accordingly defendant filed its Answer and Responses to the
Requests for Ad.rnissions and lnten'ogatories on Novernber 14, 2016. ln many of its responses
the defendant stated that particular documents were the best evidence of their contents, but the
defendant failed to supply any documents or to mal-te any response Whatsoever to the requests for
production lt has now been more than two months Since the responses Were due, and the
plaintiff is suffering economic hardship and damages as a result of its inability to move this suit
forward Undersigned counsel has contacted ot attempted to contact defendant’$ counsel by
telephone and email, but despite these exchanges the responses have not been received

Accordingly, Plaintiff moves the Court for an Order compelling Defendant to fully
respond to the Requests for Production, without objection

Plaintiff further prays that in the event defendant files responses before the hearing date
for this motion, and in the event that those responses are incomplete or insufficient the Court
allow plaintiff to supplement this Motion to Cornpei and hear this motion on the date originally

set by the Court.

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CaS€ 2217-CV<O4872-BWA-|\/|BN DOCUment 1-6 Filed 05/11/17 Page 58 Of 164

Respectdllly submitted

Robert S. R_ooth (L’Ya. Bar. No.'ll-’¥:Sil) T.A.
Anthony P. Dunba.r (_La. Bar No. 16765)
Peter J. Rotolo (La. Bar No_21848)

Amy L. Mclntire (La. Bar No. 35241)
CHAFFE McCALL, L.L.P.

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Telefax: (504) 544-6033

E-rnail: rootli@chaffe.coin
Az‘z‘orneysfor Uiz'nksz‘ream Acqu:isiz‘z'on, LLC

CERTIIFICATE OF SERVICE
l do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by ema_il, telefa_x and/or U.S. mail postage prepaid and properly addressed

h .
and/or electronic transmission this ?/ day Of mber, ZOlé.p 0

to

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed@/d;%?\ jRa@N`-'\>SCB if 164

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CIer oisrnicr count ron THE PARISH or 0RLEANS _;-
sTATE or LoUrsIANA
No. 16~9532 DIvIsIoN ‘=A_is” ' sooner No.
THH\*KSTREAM ACQUISITION, LLC
vERsUs
enter NBC BANK

FILED:

 

DEPUTY CLER_K

MOTION TO COMPEL RESPONSES TO DISCOVERY

Plaintiff, Thinl<strearn Acquisition, LLC, respectfully moves this Honorabie Collrt for an
order compelling d¢”-:fenc:lantz First NBC Banl<, to respond fully, without objection to plaintiffs
discovery requests Defendant has failed to respond despite piaintiff’s request fora response
See Civil Ruie 10.1 Certiiicate,

Accordingly, plaintiff 'l`hinl<stream Acquisition, LLC, requests that the Cou.rt grant this
motion and compel defendant, First NBC Bank, to respond to the requests for production,
Without obj ection. Plaintiff further prays that in the event defendant tiles responses before the
hearing date for this motion, and in the event that those responses are incomplete or insufficient
the Court allow plaintiff to supplement its Motion to Compel and hear this motion on the date
originally set by the Court. Plaintiff, 'Il'iinlcstrearn Acquisition, LLC, also requests that the Court

award the costs and fees associated With this motion A supporting memorandum is attached

speer rllY sub \itt;k:) @

Robert 8 Rootli li(La. Bar No.11454) T. A.
Anthony P. Dunbar (La. Bar No 16765)
Feter J Rotolo {La. Bar No. 21848)

Amy L. Mclntire (La. Bar No. 35241}
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”l`elefa:<; (504} 544-6088

E~rnail: rooth@chaffe.com

Attorneysfor Thr'nkso'eam .degnz'sirion, LLC

 

2821 107-1

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 60 of 164

CERTIFICATE OF SERVICE-
l do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefax and/or U.S. mail postage prepaid and properly addressed

_ //‘
and/or electronic transmission this § g day of Decernber, 2016. @
l\_//|,/' (/ /

CDC No. 16-953?. A-l:'

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 61 of 164

':" “ T`W`~

CIVIL DISTRICT COURT FOR TI~[E PARISH OF ORLEANS -
STATE OF LOUISIANA
NO. 16»9532 DIVISION “A-]S ” DOCKJ§JT NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED:

 

DEPUTY CLERK

RULE 10.1 CERTIFICATE OF CONFER_ENCE
, Counsel for movant, Thinicstrearn Acqnisition, LLC, and counsel for defendant Pirst
NBC Banlc, conducted a telephone conference on December 5, 2016, wherein there was a
substantive discussion of every item presented to the Court in this motion and, despite their best
efforts, counsel for the parties Were unable to resolve the matters presented Additionally
counsel for movant, ‘l"hinkstream Acquisition, LLC, attempted to reach counsel for defendant
First NBC Banl<, by telephone a second time to discuss these matters on Decernber 7, 2016, but

defendant’s counsel Was unavailable

Cet'tiied this § '/q day of December, 2016.

flaw @

assert s. arsch (La. aaa NO. 11454) T.A.
Authony P. Dunbar {La. Bar No. 16765}
Paar J. amato (La. nar N0.2134s)

Arny L. Molntire (La. BarNo. 35241)
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B-mail: rooth@chaffe.com .
Atz‘orney.s' for Thin!cstrenm Acquz'sitr`on, LLC

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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-lS ” DOCKET NO.
THINI{STREAM ACQUISITION, LLC
VERSUS
FIRST NBC BA§I{

FILED:

 

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RULE TO SHOW CAUSE

 

Considering the motion to compel of Plaintiff, Thinkst:rearn Acquisitiori, LLC,
IT IS HEREBY ORDERED that Defendant, First NBC Banl»<, show cause on the
th c>?e'/ <>’ _
day of n ,_,i.‘B-lé at a.m_ Why Pla.intiff’s motion to compel
should not be granted o

,2016.

(:-3@@.) Wtarty Gaut:i’er Chase
susan - preston “a

New Orleans, Louisiana., this day of DEC 12 2035

 

JUDGE

PLEASE SERVE:

First NBC Bank
Through its attorney ofrecord,
Wllliarn D. Aaron, Fr.

 

DeWayne L. Williams nw MUT-|.J,\ REMQUED men rita ooo<at isra=: tea
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201 St. Charles Avenue ATTORKE\/ ;.v. mg ,r utmost coNT\NLJINGF

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New Orlea_ns, LA 70l70
JUDGE T|FFANY G. Cl"i,»c\SEx D|ViSiON A

 

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 63 of 164

 

CIVIL DIS'].`RICT COURT FOR THE PARISH OF ORLEANS “
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-l§” DOCKET NO.
THINKSTREA_M ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED:

 

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M]iMORANDDM IN SUPPORT ()F MOTION TO COMPEL

On September 22, 2016, Pla_intiff Thin.l<stream Acquisition LLC filed its Petition against
Defendant First NBC, and served therewith Reqnests for Adrnissions, lnterrogatories, and
Requests for Production of Documents. 'i'he defendant requested a thirty-day delay to respond,
Which plaintiff consented to, and accordingly defendant filed its Answer and Responses to the
Requests for Adrnissions and lnterrogatories on November 14, 2016. In many of its responses
the defendant stated that particular documents Were the best evidence of their ccntents, but the
defendant failed to supply any documents or to make any response whatsoever to the requests for
production lt has now been more than two months since the responses Were due, and the
plaintiff is suffering economic hardship and damages as a result of its inability to move this suit
forward Undersigned counsel has contacted or attempted to contact defendant’s counsel by
telephone and email, but despite these exchanges the responses have not been received

Accordingly, Plaintiff moves the Coznt for an Order compelling Defendant to fully
respond to the Requests for Producti on, without objection

Plaintiff further prays that in the event defendant files responses before the hearing date
for this motion, and in the event that those responses are incomplete or insufficient the Court
allow plaintiff to supplement this l\/iotion to Cornpel and hear this motion on the date originally

set by the Court.

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Respectfu.lly subrnitted,
/
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arisen s. noon cia sea NO.'11454J r.A.
Anthony P. Dunbar (La. Bar No. 16765)
Peter J. Rotolo (La Bar No.21848)

Arny L. Mclntire (La. Bar No. 35241)
CHA.F`FE MCCALL, L.L.P.

2300 Energy Centre, 1100 Poydras Street -
New Orleans, Louisiana 70163-2300
’I`elephone: (504) 585-7000

Tclefax: (504} 544-6088

E*mail= LCLQLIL@BEFM
Attorneysjbr Ihinkstream Acquz`sin’on, LLC

CERTIFICATE OF SERVICE

l do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefa>c and/or U.S. mail postage prepaid and properly addressed

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and/or electronic transmission this when 2016. 0
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MEMORANDUM IN OPPOSITION TO MOTION TO COMPEL

'].'his memorandum is being submitted on behalf ofDefendant, First NBC Banlc (hereinafter
referred to as “Defendant°’ or "`First NBC”}, in opposition to the Motioit to Compel filed by
”l`hinl<stream Acquisition, LLC, {hereinafter referred to as “Thinl;stream”]_ A copy of this
memorandum has been served on counsel for Plai.ntiff in compliance With Lcuisiana Code of Civ'il
Prccedure Art-icle 1313.

LAW AND ARGUl\/lENT

This opposition memorandum is being filed out of an abundance of caution, as Defendant
expects to have responded to the outstanding discovery responses priorto`the hearing on.thi`s matter
Notablyn the delay in responding is due to the fact that many of the requests relate to possible
production of iinancial documents of other bank customers who are not parties to this lawsuit
Speciftcally, certain productions call for possible production of documents relating to the financial
situation of Barry L. Bellue, Sr.

binder certain regulations, a bank may be precluded horn disclosing sensitive financial
information entrusted to it by customers Specifically, La.R.S. 6:333 (B) establishes the following

§ 6:333, Disclosure of financial record.$;_ reimbursement of costs.

...no bank or its affiliate shall disclose any financial records to any person other than the
customerto Whom the financial records pertain, unless such financial records are disclosed:
(l) hi response to a disclosure demand in accordance with the provisions cf Subscction C
of this Secticn.

(2) Pui'suant `to a Wi‘it‘ten request or authorization for disclosure or waiver which meets the
requirements of Suhsectloo E of this Section.

(3) As ctheiwise permitted or allowed by this Section.

Subsection C ofthe Secticn reads, in pertinent part, as follows:

A bank may disclose financial records pursuant to a disclosure demand if each of the
following conditions are metz `

Page l of 3

..Cas*e 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 66 of 164

{l] ”l`he disclosure demand is served on the hanl<’s president one of the banl<’s registered
agents for service ofprocess, or, if applicable7 on the bault’s counsel of record unless such
service on such individuals is expressly waived by the bank_
{2) Prior to the return date, the person requesting the issuance of the disclosure demand
furnishes the bank xvith an affidavit certifying both of the following
(a) 'l`hat such disclosure demand, or a certified copy thereof has also been
personally-served upon each customer named in the disclosure demand to whom the
financial records being sought pertain or upon such customer’s counsel of record
in accordance nith-Subsection D ofthis Section.
(b} That such service was made at least fifteen business days prior to the return
date.
(3) 'l'l.ie bank has not received vvritten notice that a customer to whom the financial records
pertain has taken legal action to enjoin or otherwise restrain the release of the iinancial
records

I~`ina`lly, subsection E of the section reads, in pertinent part, as follows:

A custom er, or an. attorney at law representing such customer, may audiorlze disclosure of
the customer’s financial records by providing the bank with a signed and dated statement
which authorizes such disclosure, specifies the person to whom such financial records may
be disclosed, and reasonably identities the financial records which are authorized to be
disclosed Any such statement signed by an attorney at law.stating or certifying that h_e
represents a customer may, at the hanlc’s discretion, be relied upon and shall constitute
proper authority for disclosure pursuant to this Sec:tion.

As Barry`B ellue, Sr. is not a party to this lawsuit, and FNBC has not received any documents
that Would be in compliance With La.R.S. 6:333, FNBC is simply trying to be as careful as possible
not to violate the statute Nevertheless, F'NBC is attempting to gather documents that would he responsive
to the discovery requests and not`be in violation of La.R.S. 6:333.

CONCLUS`ION

FNBC maintains that Plaintiff"s l\/iotion to. Cornpel should be denied insofar.as it seele to

have FNBC violate La.R_S. 6`:333 without proper documentation

Res/p, tfull}r submittcd:

 

 

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unsworn ron€onsi{-r;ssit saasnr.a.
Dau/AYNEL. Wu,LIAi\/ts assn #27635)
201 St. Charles Avenue
Suite 3300
New Orleans, LA 70170
Telephone: _(504) 569~1300
Pacsiniile: (504) 569-1301

ATTORNEYS F OR DEFENI)ANT

Page 2 of 3

 

 

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CERTIFICATE OF SERVICE

 

l H'.E]REBY CERTIFY that a copy of fhc above and foregoing pleading has been served

upon 311 emma oha-cord via cenmed U.S. Mail, this /1\?15 d

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provisions ofArticle 1354 et. seq. of the LA Code of`Ci'-'ii Procedure and La. R S. 6. 333.

NOTICE: A`R'I'ICLE 1354 APPEARS IN FU`LL ON BACK OF SERVICE COPY

Any and documents listed on Ai'tachmeni "A" ("Thinkstream Acc§uisition, |.L.C‘s Requesi
for Productl'on of Documents and E|ectronica|iy Stored lnformation Propoundecf to Firsi
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PL,A<:E 7 DA':E AND_ mm

Chaffe NEcCaIl, L.L.P., 1100 Poydras Si_, Suit¢=.~ 23001 New Orieans. LA 70153 T\:'|arch 13, 2017 at QZOO 3.m.

 

 

DALE N. ATKINS, CLERK
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ATTORNEY'S 7
NAME & BAR m)MBER Rober*c S. Rooth (#1‘|454)
AD£JRESS 1100 Poydras' Sr., ama 2300
& .
'I'E]'£P’HONE NUIVIBE?. New Or!eans, LA 70153

 

(504) 555-70013

 

Fi]e original and two copies with Cle::k
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STATE OF LOU[SIANA
No. /é ~ CY .13` § }\ 1)1\/15101~111 ,, fix DOCKET NO_

TI'IINKSTREAM§ACQUIS]TIGN, LLC

 

VERSUS

F`IRST NBC BANK

FII_.ED!

 

DEPUTY CLERK

'I`IIINKS'TRF.AM ACOUIS!TION. I_.LC.’S REOUES']"S FOR PROI}UCTION
OF DOCUMEN`FS AND E".LECTRONICALL.Y STURED INFORMATIOI\'
PROPOUNI)ED T(J P`iRST NHC BANK

'i`O: i’irst NBC iiank

'l`hrough its Agcnt i`or Scrvice oi` Proccss:

Marsha S. Crowle

Chicl`Compliancc Ol`lieei'

210 Bnronne Strect

New Orieztns. i.A ?Gi 12

'i`hini<stream Acqnisition. Ll.C {hereinai`tcr "`I`hinkstrca.m T.iiC`") propounds the
following requests l'or documents and ij]eetronieaily Storeci information to be answered by First
NISC thnl< (hcrcinal`ter "l~`irst NBC"). First NBC is to answer these document requests
scpnreteiy_ fnliy. in \.~.rricin§=1 and under oath, in accordance with ihc Louisiana Code of Civil
Proec:durc and in accordance with thc l`oiiowing definitions and i:tst:~nctions, which are
incorporated into each of the doettme'm requests as though set forth entirely in each. These
document requests are made continuing and supplemcmal answers nrc required promptlyl Yon
are requested to produce all l€ieer_ronieally Stored information responsive to this chut-:st in its
native format with ali associated Metadaia intact

linlcss otherwise specified in a particular numbered item of` this Request, the temporal

scope oi`this chtiest is thc period from Jantiary‘ i. 2015 to datc.

DFLFINITIONS

 

AS used herein:

§ii£i?.i'l WERiFiE@

ATTACHNIENT “A”

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o o

l. “l?;`r.\.‘t NBC" means and rcl‘e_rs to l"ir.wt Nli{_` Bzmk along with its ol`t`teers. direet<)rs.

members employees, representatives and agents

go

"Pureimse .»'\greemertt" means and rel'ers to that l,oam Docttment Pt.n'ehttse Agt'eement dated

as ol` Deeclnber 15\ 2015` by and between l~`irst NBC.`. ns Sellet', and 'l`ltinksn‘eam I.LC, as

Ptn'elwser.

3. "'l`hinl<strenm lNC" means amd refers to Thinkstream Ineorporatect. a Delaware
corporation

4. "l.oan lloettments" means and refers to the LL[.ottn Doeuments"` identified in lite Purel'tase

Agreement. to Wit:

(l ) Promissory Note in the amount 05$4.549`332.35 dated Mareh 22,
2013, executed by 'I'ltinltstream lNC‘ to the order of First NBC (the "20}3
Note");

(2) (.`ommereial Seenritj,-' Agreernent dated l\/lnreh 21 2013. executed
by 'l'ltinl\'stream lNC in t`a\.'or ol'First NHC;

{3) Unil'orrn Contn‘.ereittl Code filings exeetttecl by 'l`hinl<Stt'ettm lNC
in favor ol`l"irsl NBC;

fill l..etters ol`Credit and Cet'til"teates ol`Deposit provided to First NBC
as collateral for the loan to Thinl<stream lN£`_ ("l.etters ot`C`redit and
Certil`ze;ttes ol` Deposit"):

t$] /\r'.y and all mortgages on real property granted as security l`or
indebtedness conveyed herein

io) Commereitt| Gtteranty dated lamtu 30, 2013, executed lay l%ttrry
I.. l§elltle` Sr.. in lever el`l-`§rst NBC With respect to all indebtedness of
'l`hinltstretnn INC ("Bel]tte Gnm'artty"):
l'/') ‘l`he Lottn A§__tl'eement by and between 'i'ltinkstrcam INC and l~'irst
NBC with respect to l)ebtor in Possession E-`inztneing. executed pursuant to
the Order o[`tl'te Unitecl Stales Bankrttptcy Co tnt of the Mi<idle Dtstrict oi`
l,-ettisizmn in ln re Thinlqstream lneorperatett. Case Nttmber 15-l0553.
C`httptet' l l. and that Promissnrj/ Note in the amount oi$750.090.00 dated
Sentetnher 21_. 2015 executed by 'l'l'tinlcstt'ettm lNC` in connection
therewith ("Battltrnpte_v Nore"].

4. "Collatteral" means any and all collateral held by 1`:irst NBC at any time to secure the

' payment ol"tl'tc 2013 Note and the Beutl<reptey Note referred to itt the description ol`“Loan

Deetlmertt.=;" lierei:t.

5. "Comnten Collttleml" means ttncl rel`ers to amy and all collateral held by l-'irst NP.C at any

time to secure the payment ol`the l%elit\e Note a_nti the lieilt.te Cruarztrtt_v‘

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. Qase 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 75 of 164

t’i. "`Bcllue Note" means and refers to the indebtedness ol"Barry .`t._ Bellue, Sr.. to l~`irst NBC as
evidenced by that promissory note dated laundry 2'1'. 2015, in the original amount of

$2.238.632,27.

7. "‘Bellue Gttaranty"` means and refers to that Commcreietl Guttranty dated January 30, 2013`
executed by Bany' L. Bellue, Sr._ in favor ol`l"it'st NBC with respect to all indebtedness of

'l`hinl<strettnt l.-\"C.‘.

S. "l%ellue Collztteral" means c.nd rel`ers to any and all eollatet"ui held by l-`irst NBC at any time

to secure the payment ofthe Bcllue Notc.

9. “Comntunication" means any transmittal ol`inl`ormattion ot`ttrty kind, Whether in the l`orm el`

a doeument, lettcr, e-rnttil, note, message or other t`orm.

lO. "'l`hinl<streztnt Ll.C Notc" means and reich to a promissory note executed by 'l`hinltstrez'tnt

l.l.C. payable to First t\liBC in the amount ol`$~“l.928.603.00, dated as ol`Decembcr 15. 20l5.

l l. "l£scrow /teeount" means and rei`ers to that account r-.t lTirst NlSC established at pursuant to
a Debt Serviee Rescrve F.serow Agreemcnt (“Eserotv Ag,rcetrtent") between the parti@S, RlSO

dated as ol`Decentber `15. 2015.

t?.. "Documents" means and refers to documents or Eleetronically Stored lnt`ormation ot" any
type or dcscription, or any means of`storzt_cge ol'int`ormation. including without limitation. writing
in any l"ormt any physical expression oi` information and/or any means ol`stot"¢tgc ot` information
and "Doeurr.ents" includes1 without limi'.attion, any loan document` correspondence
communication memorandum agreement` lettcrt hand or typewritten notc. e-rncil or eletronic
mail` text message invoice. rcceiot, computer printottt_ computer tape, computer diskettc,
uttdiotape, audio reeording, microfilm. videotape tape recording photogropll. inter-company and
intro-company communication or amy other item ol`a similar nature "Docttmcnts" specifically

includes drafts enid/or copies ol`any ot`thc foregoing itents.

l_`:. "Relating to" shell mean concerning containing1 regarding discussing pertaining to,

t'el`lt:eting7 relevant to, commenting upon. having some connection tot including embodying or

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b1

 

l Case 2:17-cV-O4872-BWA-MBN Document 1-6 Filed 05/11/17 Page 76_0i 164

evidencing and should be construed i`n the broadest sense ol`the terttt. .»’\n analogous meaning

shall appiy to the terms “rclate." “related." "relating," and other derivations oi` these words

l-$. "And" and “or"" shall be construed conjunctively and disjunctiveiy so as to require the

broadest possible response to any part-ictti:.tr interrogatory
l5. Words shall be construed inthe singular or plural l`orm_

l 6. 'l`he term "pcrson" means any natural pcrson. individttalt corporation, tirth joint venture
partnership. proprietorshio_ association organi?ation. or any other business or legal entity or `

group oi`nalttrt-tl persons

- n - - ~ v ~ * t v v v
`. 7. “Metadara includes information embedded in an electronic document or tile <:lest:rtbmgn
inter alia, its creation1 revision history. trucking and management that is generally not visible or

retrieva'olc when an eiectrortic document is printed or converted to an image tile.

l S. “Elcctronie"' means relating to technology having electrical. digital. magnetic Wircless,

optieai, electromagnetio or similar capabilities

t%?. "l`;icetronieully stored itti`ormation" means inl`onnution that is stored in an electronic

medium and is retrievath in pereeivabie form.

ENSTRUCTIONS

A. 'i`his Request seeks all responsive documents end information ‘-.hot are in your
pt.isst-:ssion1 eustody. or control and all documents and information that are in the possession1
custody, or control ol`your agents, employees attorneys or other representatives 'l'his Request
shall be deemed to he continuing so that atty additional information and documents responsive to
this Requcst which you acquire or which become known to you up to and including the time ot`
trial shall be furnished to the requesting party promptly aii;er such information or documents are
acquired by or become known to you.

B tr“an_v information called l'or by this i{eoucst is'withheld on the grounds ot`a claim

or objection based on the attorney»elient privilegel the attorney worl<~prodttct doetri net or any

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CaSeVZ:17-CV-O4872-BWA-I\/|BN Document 1-6 Filed 05/11/17 Page 77 of 164

other privilege or basis state in your response as to catch document or category ot'ini`ormation
you refuse to produce or disclosc:
l. the nature o£`the privilege or work product doctrine you claim is applicable and at
description ol`thc Faets kind the basis ot`opplieabiiity oi"the particular privilege or

objection to each such document or cuLegor_v ot`iul`ormation;

2. ii`a document is involvcd. the dute, the author, its rccipicut(s) and all persons Who
received copies o!'it, including the general subject muller of`the document and the
identity ol`euch person \vho hits seen the doeu mentz tuiu`

3. if`a communication is involved1 the names oi`thc persons involved `m the
COmmuHication. the general subject matter oi`ti'ie communication and an explanation oi`

the eireumstunces ol`the co.“.u‘.iunieution.

C. With respect to each document otherwise responsive to this Request which has
been lester destroyed since its preparation or receipt idcut£ l`y the document state the item
number ol`thc Request to which it would otherwise be responsive and give the l`ull particulars or
circumstances ol` the loss or destruction oi`tlie cloeument.

il Ot'g:uii‘Ae or label all documents you produce by reference to the number ol` the

particular item oi` this Requcst to which they arc responsive

l-l. It` u document is responsive to this chucst and is within your control\ but is not in
your possession or custody, identify the person who has possession or custody ol` the document
li` any such document Was` but is no longer, in your possession or subject to your conuol, state
what disposition weis made o:n it. by whom. and the dates or approximate dates on which such

disposition was mutie. and Why.

I{EO UESTS FOR PR.ODUCTION OF DOCUMENTS
REOUEST F()R l’RODUCTlON N(), l
i’leuse produce amy end ali lJoeumeuts refuting in any way to ["irst NBC`s decision to sell Ll‘.e

l,oau Doeumcnt$ to "l`hinlcstrcam LI,C.

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RF.`OUEST FOR PRODUCTION l\"(). 2
l‘lease produce any and all Documents relating in amy way to the negotiations t`or the sale oi`the

l.oan Doeurnents. including any drafts ol`, or comments on drafts ol`, the l’urchasc Agrecrnent.

REOUES'E` FOR PRODUCTION :\'O. 3
l’leasc produce any and all Decumcnts relating in any way to the collateral thet FirS: N'BC hcid
as collateral security l`er the repayment oi`thc 2913 l\'ot'c or the Banlcruptcy Note, including any
end all Documcnts relating in any way to the value oi` each item oi`Collateral at the tirnc oi"the
execution oi`thc 20l3 Notc and thc l%anltruptcy .\iotc. the valuc'ol` each item o[`Collatcral at thc
time o[` the execution oi` thc Purchasc Agrccrncnt_. or thc value el`each item of`Collatentl at the
present
RF.QL'EST FOR PRODUCTION NO. 4
Please produce any end all Documents relating in any way to l"irst NBC`s cl"t'orts to foreclose
upon or otherwise collect upon catch item ol` Collotcrul. including those "l_.ettcrs of` Credit and
Cer_tii`icates oi`Dcposit`-' rci`crrcd to in the description of “l.oan Documcnts" herein,

` nsour.sr ron r>Roi)uC'rioN 'No. 5
Please produce any and all i)oeumcnts relating in any way to the current status or value ei`thc
"l,etters oi` Credit and Ccrtiticatcs ot` Dcposit" rcl"crrcd to in the description oi` "Lean
TJoeumcnts"` hcrein.
RE.OUES"I` FOR PRUDUCTION i`-\‘O. 6 '
l"tcasc produce any and all Documcnts relating in any way to First NiBC's cll'orts to foreclose
upon or otherwise l<:ollcct upon two real estate lots owned by Barry i,. licllue. Sr., in the Zce Zec
Gardcn$ arco of linton Rt>u§c. louisiana
REOUEST FOR PRODUCTION N(). 7
Please produce any and all Docurncnts relating in any way to First NBC`s efforts to foreclose
upon or otherwise coliect upon any brokerage accounts at Morgan Stanlcy in the names ei`Barry
l,. Bellue, Sr., rend Barry [.ce Bcliuc, lr.. with a value ol` approximately 5227.000.00, which were

purportedly pledged to secure the obligations oi"l`hinl<.strcam INC to l"irst NBC.

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RE()UF.ST FOR PRO“DUC'FION NO. 8

Plc:ase produce any and all Doeutncnts relating in any way to liirst l\‘-BC’$ cl`l`orts to foreclose

upon or otherwise collect upon the personal residence ot` l%an~y I.. l%eiluc. Sr.r in Baton Rougc.

l .ouisiana.

RHOUEST }"OR PRODUC'TI(}N NO. 9

Pleasc produce any and all Doeurnents relating in any way any ol` the collateral that l-`irst NBC

held as collateral security for the repayment ot` the Bellue Note or the Cernrnon Collatcral`

including any and all‘l)oeurnents relating in any way to the value oi" each item of collateral for

the l%ellue :\lo'.e and Corrunon Collateral at the time ot"tltc Bellue Notc`s cxecution, the value of

each item ot` the Bellue Collateral end the Cornrnon Collateral at the time oi`thc execution ol` the

l’urehasc Agreernent,' or- ther .v.aluc o[` each itern ol` the Bellue Collatcral and the Corntnon

C`<Jllateral at the present1

REOUF.ST F`OR P]~’t(.i.DUCTlGN N(). l{]

l’lcasc produce any and all Documents relating in any way to l"irst NBC`s cil`orts foreclose upon

or~_othewi'se colleet'up_o`n the l§e'l‘iue Collzttcral or the Comtnon Collatet‘al.

REOUF,ST FOR PR()l)UCTlON NO. ii

Plcase produce any and all Docurnents relating in any Way to the current status ol`Value ol‘ the

liel]ue C_ollateral or the Common Collatcrai.

Ri€()-UF.ST FOR PR()~DUCT|ON NO. 12

Please produce any and all Docurncnts relating in any way to the application ol` payments that
’erc used to pay principal, interest or bank charges on the 'Thinkstt'eain l,l.C Note and the

outstanding balance ol` principal and interch_'t due With respect to the 'l`hinlcstream LI,C l‘\’ote ?rorn

Dcccmher l5, 20\15. to the present._on a monthly basist.

REOUI€ST FOR PRODUC'I`ION NG. 13 '

l’leasc produce any and all Docuntents relating in any Way to any deductions from or additions to

the.ljl;re-row Ateeount. inelt_tding‘th<_:_purpose ot" those deductions and the source ol`thosc additions.

[`rom Dcc.cml':cr l5, 20!51 to the prescnt, on a monthly basis.

 

 

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l§EOUEST` F'G'R I’RO‘DL'C'T`ION t'\'O. N

Please produce any ian-d all Docu:ttertts relating in any way to First NB(."s risk rarin_a. loan
classilicati'cn. and/or internal V'¢'.lu€trion ul` thc lcarts represented by the 20l3 Notc. thc
B_al‘tkruptcy Nt)tc_ cr the Bcllue Nott:. ut any time prior to the time ol'_` the execution oi` the
l’tu'cltasc Ag,i'cemcn{. .

RHOUES'I` I-"()l-`{ PRO`DUC'T]ON NO. 15

l’lcasc produce any and all Dc>cuments relating in any way tn the payment and delinquency status
ul`the Belluc Nntc cr the 'l`ltinl<strenm l,l.[' thc.

l{EOUES'E` FOR i’ll()l)UC'TlOl\' NO. 16

I“leasc produce any and all ‘D<)curncnts relating in atty way to l-`irst NBC’s mortgage tth the l,636
Acres ol" linnet_tal R~:>ad. Wt)t)dt'ille. MS ("`Mississippi lll‘opcrty") nwncd by Ban'},-' l.. Bcllue, Sr..
including all appraisals nl`tltc Mississippi l’rnpcrty t)r the mineral rights therein

REQUES"I` F(}R PROI}UCTION N(). 17

Plcasc produce any and all l)ncumcnts relating in any way to the "l.ctters ot` Credit and
Ct:rtil`icates t>l` l)eposit" including all communications with tltc depositary banks cr deposit
itecottnthcldcrs nl`.tl‘tc (.`urtilicntcs ol` l'Jcpt)sit and all cnmntur.icatiutts with tltc issuing banks car
applicants oi`tltc I,cttt:rs el`Creclit.

REQUES'I` F`OR PROI)UCTI(JN NO. 18

Plcasc prnducc any and all l)ecurncnts relating in any Way fn amy account into wlriclt l-`irst NBC
has placed the proceeds nl`thc foreclosure cr collection upon any ul` thc ESclluc Cellatcral, t'ltc
Collateral or thc Cornmun Celiatel"al. including tl'tc names nl`eaeh account holder and all account
statements

REOUI<`.ST FOR PRODUC'I`ION NO. 19

l’lcase produce any and all Dnct.mtcnts relating itt any way tn any disbursements t)l`any proceeds
c)l`ccllcctic)tts nn any of`tlte §§elltte C<tllatei~al_ the Ccllateral. or the Commen Collatcral.
REOUEST FE)R I’ROI)UCTION NO. 20

Plcusc produce any and all l}ocumcnts relating in any way tu any mcctirtgs ul` any lcan

cemmittcc, audit committee or otltcr committee that rcl`cr te the EOl 3 the_. the Battltruptcy Nntc,

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tlte Bcllue i\lotc` the 'i`ltinkstrenm l.'..l.C Nntc‘ or the l"`ureltasc /\greemcntt including all minutes
tltereel`.

RZ€OUEST FOR PR{)I)UC'I`[O[\' NO. 21

l-”lcase produce any and ali correspondence between l~`irst NBC and Barry l.. Belluc. Sr., relating
in any way to: 'l`ltinkstrcam [?~$C1 'l`ltinl\'streatn l,l,(.`t tite bankruptcy ei` 'i`ltinkstrearn lNC, the
'i`l'tinl<stream l.I,C Notc, 'i`SB Ventt,tres. l.LC. the ?.Ull`) Netc, er the Banl<rttptcy Notct
REOUEST FOR PRODUCTION NO. 22

l’leasc produce any and all correspondence between l~`irst NBC and any and all attorneys
representing 'l'ltinlcstream lNC,` and,’or liarry i-. lBellttc. Sr.

JMUEST F()R PROI)UCTION i‘\l(). 23

i’leasc produce any and all correspondence between First NBC and Barry I.. Bellnc` Sr.
REQUEST F()R }’R()I)UC'I`JON NO, 24

Please produce any and all correspondence and communications between and among First NBC
personnel related to: Bttrry l. Bell ll ..e, 'lhtnl<streatn lNC l`ltinl<strearn l i- C andfer I`SB
Ventures. I.I.C`.

}{F,OU!~LST l~`()§~‘. }’HODUCTION N(J. 25

l’lcase produce any and all Dectnnents related in any way to interest payments received by l-`irst
.\ll%C related to tlte 2013 Nete.

REOU`EST ]'-`()R ]’RODUCTIOI\` N(). 26

l’lease produce any and all Ducuntents related in any way to any loans made by F`trst NBC to

'l`ltinltstrcarn INC and te l%an'y l.. Bcllue_. Sr.

Rcsp cetl v Sttlenttttt.tl
jane »/‘§ M

lieber/t S. Reotl'tt l.a. i%ar. N_e. `tl454) ‘l'.A.
lletcr l. Rotolo (l.a. l%ar No.21848]

Amy lr. l\/lclnt:irc (l_,a. Bat' Nu. 35241}
(.`liAl"l`~`E ivlcCAl.l,, l..l_..l’.

2300 L",.ncrgy C.`.entrc, l 100 I’Oydras Strcct
New Orleans._ l.onisinntt 70163-2300
1l`v:l~::t'tltone: (504) 585-7UOD

'l`clel`£t>t: {J'llél») 544-flagg

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l-'irsl NBC B'¢mi< .

'l`ln'nug`n its f\gent i`or Sel'vice nf`]’roce$s:
Marsha S. Ci'n\\=le

Chicl` Cnmplianee C)l`l`reer

2 tO Ba:r\)nne Street

:`\iew O:'leans_ i,A 701 12

277-126'\-l ` 10

 

 

Case 2:17-c\/_-O4872-BWA-_|\/|_BN , _Document 1-6 Filed 05/11/17 Page 83 of 164

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No. 2016-9532 ` _ 'DIVISION“A-ls” DOCKE'E_I_~_TQ
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THmKsTREAM AcQ_UISrrIoN,LLC "

VERSUS
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_ 1 Ft»;-nl-_=ter E:Erlj 1131 .'Zi-ll.'“;i
'I`O: Defcndant, Fu'st NBC Bank
Through Its Counsel of Reeord 5 we limits er ' 213 '113 - 1'_1'$.15£=2
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Aaron & Giarma, PLC . __ . . , _
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201 St. Charlcs_Ave., Su_ite 3800 gal§§§_§___& mrs §§ §:§_]:u:l

New Orlea.ns, LA 70170 mm rla __ §ME §§ §§ mg

 

PLEASE TAKE NOTICE, that pmsuentFtliL"F[th§£iiiPs*i§déii€’od§i of Civil Proeedure,
client # adam $F_-U.r_ir:f
pleintift`, Thinlcsu'eam Acquisiticn, LLC, through undersigned ccunsel, will take the deposition
of Barry L. Bellue, Sr., for purposes cf productip”fl`of'r"e'cor'ds*uniy”on~the~l%lh ~dzy-e-f-`-Mes=eh»;_-~
_ L E;n.'~.irgel:i Fald 531
2017 beginning at 9: 00 a..m and thereafter from {'t§=§.§v; g"" tljl§`:'t?aking of §‘Icl§e§;§)os¥l old'jme..}li!:" in l

l -.».ri 1 .ep»=n banco so nn
be adjourned at the offices of Chaffe MeCall, L.L.P., 2300 Energy Centre, 1100 Poydras Strect,
Ncw Orlear).s, Louisiana 70163, at Which time and place you are hereby ncti_iied to appear and
take part i.u such manner as you shall see fit and proper.

Plainu'§ lies caused 21 subpoena duces tecum to be issued for documents in the possession
or control chany L. Bellue, Sr. in accordance with La. R.S. 6:333 and 13:37'33 to produce the
documents listed on the attached Exhibit A - “Thinl<strcam Acquisition, LLC’s Requcst for
Prod:.lction of Documents and Elcetconically Stored hifcrmation Propounded to First N`BC

. //
New Oricaus, Louisiana, this g Hy of F ebruary, 2017

Bauk,”

2854161-1

 

 

 

C_ase 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 84 of 164

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© §

Respectfully submitted:

%Lr%j%lzé~
Roben s. R'oorh (Laf ear. No. 11454) T.A_
Anthony P. Dunber (Le.. Bar No. 16765)
Pctcr .T. Rotolo (La_ Bar Nc.21848)
Aruy L. Mclntire (La. Bar No. 35241)
CHAFFE McCALL, L.L.P.
2300 Euergy Centre, 1100 Poydras Street
Ncw O:lca.n.s, Louisia.na 70163-23 00
Telephone: (504) 585-7000

'Telefax: {504) 544~6033

E-mail: rooth@ chaffc.com
Arrorneysjor llzin!cn‘ream Acquisirion LLC

 

C`ERTIFICATE OF SERVICE

1 do hereby certify on this g%day cf Februe_ry, 2017, a copy of the foregoing Was
served upon counsel of record to this proceeding, by e-rnail_ing or mailing the same by Un:ited
States mail, properly addresscd, end first class postage prepaid

2854161~1

Qetse ;:17-cV-O4872-BWA-MBN Document 1-6 Filed 05/11/17 Page 85 of 164
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i"":ll...'§‘_i):lil =~_1_;

CIVlL DlSTRICT COUR”l" FOR THE PARISH OF ORLEANS

STATE OF LOUIS]ANA

No. /6 - Q§`Z ;\ olvlslon“ " l\g. DOCKET no.»

' THINKSTREAM ACQUISITION, LLC
VERSUS

FIRST NBC BANK

FILED:

 

 

DEPUTY CLERK

TI'{INKSTRF.AM ACQUISITION, LLC.'S REQUESTS FOR PRODUCTI ON
OF DOCUMI§NTS AND ELECTRON!CAI_.LY STORF.D INFORMATIOI\`

]’ROPOUNDFID TO FIRST NBC BANK

 

`l'O: i"irsl NBC finnlt

'l`ltrouglt its Agcnt l`or Scrvice o["Proecss:

Marshe. S. Crowle

Chicl` Complisnce Oliicer

2l10 Baronne Strcct

New Orleans. l.A 70l 12

'l`liinl<stresm _f\.equisition. LLC [ltcreinn§`ter "'l`hirtl<streztm l,I.C") propounds the
l"ollowing_i requests _l`or documents and lileetronicelly Stored lnl"onrtzttion to be answered by Fitst
NBC.`. littnk (ltorcinul`ler "I~`irst NBC"). l"irst NBC is to answer these document requests
separately lully` in writing and under cattle1 in accordance with the Louisiztntt Ccde ot` Civil
Proecdure and in accordance w_it-‘b the following delinitions and instructions which erc
incorporated into each ol` the document requests its though set l`ortl~t entirely in eaeb. Tbese
document requests are made continuing and supplemental answers are required promptly You
arc requested to produce till l~'llectronicully Stored information responsive to this chuest in its
native format with all associated l\/letaclztta intact

Unless otherwise specified in a particular numbered item ol` this Requcst. the temporal

scope ol"ihi.s chuest is tl'n: period l`rom laundry i, 20l5 to date.

t)sFINtTtoNs

 

AS used lterein: _

_ coercion n

 

 

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m /'_\
L~/ ie)

l. “liirst Nl§(_"` means and refers to l"irst Nl%(,` Bttnl< along Wr`th its ot`l'teers. director-.4.
tncmhers. etnployces, representatives and agents.

2. "Purehasc Agrecincnt"` means and refers to that t,oan Doeurnent l’urchase /*tt_=,reetncnt dated
H ' (
as ol` l`)eeetnlut:t' 151 F.UlSt by and between l"irst NBC_ as Sellet'? and 'l`liinltstrettrn LLC, as

l-"urehuser.
3. "'l`hinl-tstream Tt\'C"` means and rcl'ers to Thinl<.siream lneorperat€<i, 21 DCIBW'¢W€

corporation

~l. "l,ottn Docutnents" means and rel`ers to the "l,t)ttn ljoeuments" identified in the Purel'tase
At_rree:nent. to wit'.

[t) l’rotnissotj,l Note in the amount ol’34.549,332.}5 dated March 22_.
ZDJ_')" exceule:l by 'l'liinkstream JNC re the order ot`Firs: NBC (the "QOl 3
Note");

l?.) Cotntnereial See'.tt'it_v /\gt'eement dated ..‘\/lureh 22` 20l 3\ executed
by Thinl<streatn lNC itt favor ot'liirs_t N lng

t."t) Un`tfonn Cornntercial Code tilin_us executed by 'l`hinl<streant INC
in l`a\'or o l` ]"irst NBC;

tel l.etters of Credit and Ct-:rtil`tcates oi`DepoSit provided to t`~it$t NBC
as collateral for the loan to 'l`ht’nkstrcatn lNC` t"l.etters ot`C`redit and
C‘ertillentes olDeposit"];

t§ l /\ny and all mortgages on real property granted as securityl t'ur
indebtedness conveyed herein.

t6} Cornmercial Gutn'a.nty dated January 30, 2tJl 3, executed lay littrry
l.. i%etlue. Sr.. in l`zt'vor ol`l"irst NBC with respect to all indebtedness ol`
'l`hink:ttreant lNC [“Bellue Cit‘.at'anty"):

t?) 'l`he Loan At_.tt'eetnent by and bett-\-‘eett '[`hinkstrcazn INC and Fit'st
l\‘iiC with respect to lJcl')tor in Possession l"lnaneing_ executed pursuant to
the Order ol`the United Statee lianltruntey t`.`ourt ol' the l\.’iiddle Distriet ol`
louisiana in in re `l'hinl\‘stream incorporated Case Nurrther l5-l0553`
_Chttpter l l, and that l='rninissory Note in the amount 01`$750.000.00 dated
Set)tetn[:ter Zl , EOIS executed by'l`hinlcstreztnt lNC‘ in connection
therewith t“Bankruptc_\,= Note").

4. “Collateral"' means any and all collateral held by l`-"trst NBC at any time to secure the
' payment oFthe 2013 Note and the Ban|<mpt<:y Note referred to in the description ol"`t.oan

l`)ocurnents" herein.

5. "Cotntnon Collttterttl" means and refers to any and all collateral held by l~`it'st NBC at any

titne to secure the payment ol`the l%eiltte Note and the llellue Gttaranty.

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lCetso 2:17-cv-O4872-BWA-|\/|BN Docurnent 1-6 Filed 05/11/17 Page 87 of 164
' g m . .
¢»/ ' @

6. "Bclit.tc Notc" means and refers to thc lncicbt¢-.‘dn<.uss ol"Barry L. Bcllu<:, Sr.` to l~`irst NBC as
evidenced by that promissory note dated Jztnnnry 27, 2015, in the original amount of

$2.238.632.27.

'F. "`Bt:lluc `:Ltztranty" means and refers to that Conn~ncrcial Guaranty dated .lanuary 30, 20l3.
executed by Har.'y l.. Bellttc, Sr., in t`avor n:" l"lrst NBC with respect to` all indebtedness oi`

'l`ltinkstrenm lNC.

E. “l~`sclluc Collntcrztl" means and refers to any '=tnd all collateral licch by l"irsi NESC at any time

to secure thc payment ofth Beliuc Nott:.

9. "Con'nntmicntion" means any transmittal nl'infbrrnation ot`any kind, whether in thc i'orm ol`

a doonmcnt, lottor, c-tnail._ note1 message or other forni. `

lO. "'l`ltinkstrr.arn l.l.C Notc:" means and refers to a promissory nolo executh by 'l`hlnkatrearn

I,LC. payable to Flrst NBC in t'l'tc amount ol`$4.928.6@3.00, clath ns ol` Doccmber 154 2015.

l l . "i£s<:row f\c:cottnt" means and refch to that account at liirst NBC established at pursuant to
a Dobt Scrvi<:c Rose:rve F.Sc:t'ow Agrcc:nt:nt (“Escrow Agreen~tont") betwcon thc nartit:s, also

dated as ol`Deccinbor lS. 20i5.

lZ, "'Docttmcnts" means and refers to documents or Eloctronically Storecl Ini`ormation oi`any
type or <:lt'-:F.Criotion1 or any means ol'storztgc ot'int`nnnation. including without iimitation, writing
in any l`orm, any physical expression ol`ini`ornnttion, andfor any means ol`stor;tge oi`inl`Onnettion.
and "Docum<:nts" inclutios` without limitation, any loan tiocnrncnt, corrospondcnoe,
communication memorandum agrecmcnt, lcttcr. hand or typc_writtr.n notc, c~mail or electronic
rn'atil1 text messagt:, in\#oicc. t'ooeipt, computer printoot, computer tapc:, computer disketi:c,
ntltliotapt:‘ audio recording microl`tlrn. yidentap'c.`tapo rccorcling. photograph inter-company and
lntro~cornpany cornmnnication or any ot`ncr item ol`a similar naturc:. "Documcnts" specifically

includes drafts and/or copies ol`any ol`the l`orc:going itcrns.

13. "Relating to" shull mean concerning cont'¢z.ininyg,1 rogarcling, discussing pertaining lo,

reflecting relevant to, commenting npon. having some connection to` including embodying or

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CaSe 2:17-cV-O4872-BWA¢MBN Document 1-6‘ Filed 05/11/17 Page 88 ot 164

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evidencing and should be construed in the hroudcst senate nt` the tcrtn. rftn analogous meaning

Sh:tll apply to the tenns “rclato"` "reluted." "relating"' and other dcrivzttions ol`thesc words.

i4. "`And"` and "ol"" Shall be construed conjunctively and disjunctively so cut to require the

broadest possible response to any particular intorrogattot'_t'.
l5. Worcis Slutil bc construed in the Sint_.',ular or plural iotrt't.

l6. Thc term “pct'son" means any natural person individu:tl. corporation1 linn.joint \’Cnlure.
pat'tncrshin. nt'opt'it:torship` association organization or any other businch or legal entity or

group of nnturnl pcrsons.

l7. "'l\/Ic.tndetrt" includes information embedded in nn electronic document or tiit‘ describing
inter alia. its creation1 revision history tracking and management that is generally not visible or

rctricvn'olc when nn electronic document is printed or converted to an image tile.

lS. “Eiocttonic"' means relating to technology having cleotricttl‘ digitalq magnetic1 wirclcsS,

optical_. electromagnetic or Similnr capt-thilitios.

l‘)_ "Elcctronicully stored ini`onn€ttion" means in{`onnutinn that is stored in nn electronic

medium end is retrievath in perceivable l"orm.

I.\ISTRUCTIONS

A. 'l`l'ti.\t chuest seeks nll responsive documents and information that nrc in your
possession custody or control and all documents end information that arc in thc possession1
custod.y, or control oi`yottr agents, ctnployccs, attorneys or other rentest:ntntivcs. 'i`his chuest
shell inc deemed tone continuing so that any odditionzti information and documents responsive to
this chucst which you acquire or which become known tn you up to and including the time of
trial s-ht:tli loo furnished to the requesting petty promptly after such information or documents nrc
acquired by or become known to )-'ot:. a '

13 lr”nn),l information culled t‘or by this Rcttucst is withheld on'tht: grounds ol`a claim

or objection based on the attorney-clian privilege1 the attorney work~product doctrine, or tiny

arrtzet'-t 4

   

' Ce_tse 2:17-cv-O4872-BWA-I\/|BN' Document 1-6 Filed 05/11/17 Page 89 of 164

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other privilege or hasis. state in your response as to each document or category ot`inl`ot'mattion
you refuse to produce or diselose:
l . the nature ol`thc privilege or work product doctrine you cinin't is applicable and ct
description oi` thc l"octs and the basis ol"applicn`oility ot`thc particular privilege or

objection to catch such document or category ot` ini`ormutiort;

2. il'at document is involved the date, the utttltor, its rccipient(s) and all persons Who

received copies ol`lt._ including the general subject matter ol` the document` end the

identity oi`ouch person who hats seen thc document; and

3. il`at communication is involved the names ol`the persons involved in the

communicationi the general subject matter ol`thc communication end an explanation ol`

the circumstttnecs ol`the communication

C. With respect to each document otherwise responsive to this Rcttucst which has
been lost or destroyed since its prepat'ntion or receipt identil`y the document state the item
number o[`thc l{cquest to \vhich it would otherwise be responsive and give the l`ull particulars or
circumstances ol'the loss or destruction ol'the document

l}. Ot"=__tttnixe or label all documents you produce by reference to the number ol`the
particular item ol`this chuest to which theyll are responsive

l:`_ It`u document is responsive to this Request and is within your control, but is not in
your possession or custody_. identil'_v the person who has possession or custody ol`tl'te document
li` tiny such document was hut is no lonucr, in your possession or subject to your control, state
what disposition wats made ot` it, h_v whon'h and the dates or nppro>;imntc dates on which such

disposition was t'nttde. end why.

REOUES'I'S FOR I’RODUC'I`ION OF` I)OCUMENTS
R]£OUEST I*`OR J’J-‘\ODLJC'!`]OT\' NO. 1 “
Plcuse produce un_v end all lJocttments rclttting in any wzt_v to l-`irst NBC"s decision to sell the

l.onn Documcnts to 'l`hinl<stream l,l,C.

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Case 2:17-cv-O4872-BWA-MBN Document 1-6 Filed 05/11/17 Page 90 of 164

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REOUBST FOR PRODUCTION N(J. 2
i’lcasc produce any and all Docurncnts relating in any \vay to the negotiations l`or the sale ot` the
i.our. Documcnts. including any drafts ol', or comments on drafts cd`. thc l’urcl'iasc Agrecment.

s
REOUES’I` F’OR PRODUCTlON l\'O. 3
i’lcasc produce any and oil Docuznenls relating in any Way to the eoiiateral that Fil‘$l'. NBC heldt-
cs collatcrtti security l`or the repayment ofthe 2013 Note or the Banl<ruptc_v Notc. including any
and atl Documcnts relationl in any way to the value ot` each item ot`Coilatcral at the time ot" the
execution oi`the ?.Glfl Notc and the lianl~;ruptcy t\lotci the voice ofeacli item ol` Collatcral at the
time ot`the execution of the [’urchasc Agreement, or the value ol` each item ol`Collateral at the
present
Rl+`.QUES'I` F()R PRODUCTION NO. 4
Plcase produce any and all Doeuments relating in any way to l"irst NBC`s,t-:l"i`orts to foreclose
upon or otherwise collect upon each item ol` C.‘ollateruit including those "‘Lettcrs ol` Credit and

Cer_tilieatcs ot`Dt:posit`-` rc|*ct't'cd to in the description ol"`i-ottn Documcnts" herein

 

` scoutst ron rnoi)t;crton No. s
Picase produce any and till Doeumcnts relating in any way to the current status or value ol"the
"l.etters ol` Credit and Ccrtit'icatcs cl Deposit" rcl"erred to in the description oi` "Loan
Doeunients"` hercin. 7
REOUF_ST FOR PRODUCT`[ON NO. 6 ‘_
lilease produce any and all Documents relating in any way to First NBC`£ efforts to l`orcclosc
upon or otherwise collect upon two real estate lots owned by Barry lt l%ellue. Sr., in the ch Zec
Gardens area ol" Baton Rougc. louisiana

REOUFIST FOR FRODUCTlON NO. 7

 

Pleasc produce any and oil Docuinents relating in any way to Fir‘st NBC’S efforts to foreclose
upon or otherwise collect upon any brokerage accounts at Morgan Stanlcy in the names et`Barry
l.. Bellue, tir.q and Barry l,ce Bcllue, Jr.. with a value ol` approximately 3227`$00.00, which were

purportedly pledged to secure the obi`tt].ations ol"l“hinl<.strcam lNC to i"irst NBC.

Case 2:17-cv-O4872-BWA-|\/|BN Doeument 1-6 Filed 05/11/17 Page 91 of 164

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`w" l "‘~_//

lzeouns“r ron rnonue'rton No. s

Please produce any and all Docnments relating in any Wny to l*`irst NBC’$ efforts to foreclose
upon or otherwise collect upon the personal residence ol`TSan'y l.. Bellue. Sr., in Baton Rou[.jl?1
l douissizma.

izi~:omzs'r ron Pnol)oc'riow No. 9

Picesc produce any and all D.oeurnents relating in any Wa_\/ any of` the collateral that l"irst NBC
held as collateral securit}r l`or the repayment ot` the Bclluc Notc or the Cornmon Collateral`
including any and all ilocurncnts relnting in any way to the value of eaton item OFCollzueral_ l`or
tire i%ellue Note and Com:non Collaterel at the time ol"thc Bellue Note‘s execution, the value of
each item oi` tl~te Bellu'c Colletcnil end tire Cernmon Collzueral at the time oi"tl‘lc execution ol'thc
l“urcl'lasc /\greernent,_'or- the l\.r.alue ol` each itern oI` the Bcllue Collatcral and the Cornmon
Collateral at the present.'_

REOUEST FOR I’R()DUC'I`iOl\` NO, 10

Plcasc produce any and eli llocuments relating in any way to l"irst NBC`s ci`le\'ts foreclose upon
er-.otliclwise cnllect‘unon the Bclluc Cc)llaiteral or the C.ornmon Collineretl.

RROUF.ST `FOR PRODUCTION NO. `l`l

Plezise produce any and all Doeumcn_ts relating in any Way to the current status ol` value oi` tire
Bcllue Collaitcrail or the Co:nrnon Collatternl.

REOUEST FOR I’R()DUCTION N(). 12

 

l’.lea.sc produce any and all Doeuments relating in any way to tire application ol` payments that
were used to pay principal interest or bank charch on the Thinksll'eam lil.C Note and the
outstanding balance ol`prineipal and interest clue With respect to the 'I`l'iinl<strearn LI.C Note from
Decem`oer l51 20i5‘ ~to' the present;`on a monthly basis.

REOUES'I` FOR PIQQI)LlC'F[ON NO. 13

Plense produce any and all _Doennients relating in any way to any deductions t`rom or additions to
the.}-lsorew Aeeoent. includingtl'tc purpose of those deductions and the source o{`those uddit'ions.

from Dceem'oer 15, 2015. to thc'present, on a monthly basin

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R-EOUEST E"OR~PRODL‘C'I`EOC\‘ NO. 14
l’icasc produce any and all Doeurnents relating in any way 10 First'NBC_"s risk rating. loan
classii"teation. l and/or internal valuation ol` the loans represented by the 2013 Notc. tire
Banlo'upley Note. or the Bcllue Note~ at any time prior to the time ol" lite execution of the
i'urcltase /\grecntcnt.
R}CQUE,S'I` FOR PRODUCTI()N NO. 15
ijleasc produce any and all Doeuntems'rciating in any Wa_\-' to thc payment and delinquency status
ol`tltc Belluc Note or the 'l'hinl<stream l,l,C` Notc.
l nnoues'r ron raono`crtor\' No. 16

t'_ lilcasc produce any and all Docurncnts relating in any way to }"irst NBC’$ mortgage on the 1,636
/'\cres ol"Doncgal i{oad` Wooclville` MS (“Mississippi l‘ropcrty"’) owned by Barry l,. Bclluc, Sr..
including all appraisals ol`thc i\/li.\:sissippi l’roperty or the mineral rights tlterein.
REQUEST FUZ{ PRODUCTION NO. 17 y
i’lease produce any and all Docurncnts relating in any way to the “l,ettcrs of Credit and
Certil'teates ol` l)eposit" including all communications Witlt tltc depository banks or deposit
account holders ol`.t-'ne Certil`le:ttes ol` l`)eposit and all communications Witlt llte issuing banks er
applicants ol`tlte l .etters ol' Credit.
RI£OUES’I` F`()R l’RODUC'l"ION NO. 18
Piease produce any and ali Docttrnents relating in any way to any account into wlticlt l~'irst NBC
has placed tire proceeds ol` lltc foreclosure or collection upon any of the iicllue Collateral, the
Collateral or the Corrtmon Collatcral\ including lite names ol`eaclt account holder and all account
Statcmenls.
REOUF.ST FOR PRODUCT!ON NO` §9
I’lease produce any and all Doetnnents relating in any way to any disbursements ol` any proceeds
ol`collcctions on any ot`the lielluc Collate:al. tire Collateral_. or the Corntnon Collateral.
RF.OUES"i` F[)R PRODUCTION NO. 20
Piease produce any and all l)oeumcnts relating in any way to any meetings ol` any loan

contmitt'ce, audit committee or otlter committee that rcl'er to the 2013 Note, the Bzu'rlcruptey l\lotc,

277¢4261-! ` g

 

Qase __2:17-cv-O4872-BWA-_|\/|BN Doclment 1-6 Filed 05/11/17 Page 93 of 164

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lite Bellue Note\ the 'l`l'u'nlcstreitrn i..l,C No e. or the i"urcbase Agreement. including oil minutes
thereofl k
REO UI'IS'[` FOR PRODUCTION NO. Zl
l”lcasc produce any and all correspondence between l-'irst NBC and an'ry l.. Bcllue. St'., relating
in any Wuy to: `l`ltinl\'streant lNC, 'i`ltinl<stream l`,l,C" the bankruptcy ol` 'l`ltinl<strearn lNC, tire
’lliinlcstrcam l.l-C` Notc. 'l`SB Ventures. l.L( \ the 2013 Note, or the i’>anl<ru_ntcy Note.
REOUEST FOR PRODUCTION NO. 22

lllease produce any and all correspondence between l»`irst NBC and any and all attorneys

 

representing 'l`ninl<streant lfo and!or liarry l.. lB<:lluc. tlr,
RH§)UEST F`OR PRODUCTION NO. 231
l’leasc produce any and all correspondence between liirsl ;\llZ»C` and l%arry I,. Belluc. Sr.
REOUEST l"()R I’RUDUCTI ON l\`O. 24`
Plc.'.-use produce nny and all correspondence and communications between and among First NBC
personnel related to: Bany l.. ldcil.ue, 'l`hinl-;stream lNC, 'l`hinl<strearn l,LC, and/or 'i`SB
Ventures. l.l.C_`.
RF.OUEST E»`GR l‘R()DUC'I`I()N NO. 25§
E’leasc produce any and all Docuirtenta related in any Way to interest payments received by Firs‘t
NBC related to tire ?.OlB Notc. \
RF.OUF.ST F`OR 1’RODUCTION NO. 26
l’lease produce any and all Doeuntents related in any way to any loans made by First NBC tn
'l`ltinkstrearn lNC and to i%any l.. Bcllue, Sr.

Res_oeet ` lly submitted‘,

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/ cwa push 7

anton S. Ro@th`n.tt. nT.t~?E` 11454}'1/\,

Peter .l. Rotolo {l.a. liar No.21848)

Atny l,. Melntire (La. Barl\ln. 3524l)

C`l l.-‘\i"FE l\/ieCAl.`L., l,.L.l’.

23 00 lincrg,y Ccntre` l 100 l’oydras Street

`New Orleans._ louisiana 70163-"300

Telepltone: (5()4) 535-?{}00

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Case 2'17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 94 0f'164
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PLEASF. SI'IRVE:

l~`ix'sL NHC Bank

'['hmugh its /\.g`c:nt I`or Scwicc oi`l’roccss:
Marsha S. melc

Chfci` Compiiancc: O£`.‘?cc:r‘

210 Baromzc Strecr

Ne.w Orleaus. I.A 701 12

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7 Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 95 ot 164

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CIVIL D_IS&`I€{CT COURT FOR THE PAJ:`USH O\FJOR)§§ESE - -,

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TLHNKSTREAMACQUISITION, LL_c ' i"`." c@,¢,@
vERsUs
Frnsr mac BANK

FILED:

 

 

DEPUTY CLERK.

MOTION AND ORDER '1`0 APPOINT SPECIAL PROCESS SERVER

NOW COMES ,plaintiff, Thinl<s_treani Acquisition, LLC, who desires to serve a subpoena
duces tecnrn on Bar'ry L; Bel]ue, Sr., a non-party who resides in Prairieviile, Louisiana, pursuant to
La. R.S. 6:333. In support of this motion, plaintiff shows that La. R.S. 6:333(D) permits service of
the subpoena to he “rnade by an individual who is not a party and who is at least eighteen years of
age, rather than by the sherifF.” Given the statute and the fact dial Mr. Beilue resides in Prairieville,
Louisiana, Thinl<stream Acquisition, LLC respectfully requests that the Court appoint any person at
least eighteen years of age and not a party to this suit as Special Serving_ Ofi:`tcer authorized to make
service of process in the same manner as is required of the Sheriff.

IT IS ORDERED that any person at least eighteen years of age and not a party to this suit be
and is hereby appointed Special Serving OfE.cer authorized to effectuate service on Barry L. Bel]ue,
Sr., of the subpoena duces tecum and Attaohrnent “A” thereto, the Motion and Order to Appoint
Special Proo`ess Server, and any other process or notices required to he served in this proceeding, in

the same manner as is required ofthe Sheriff. FE
New Orleans Louisiana, this _©_Q_ day of B 0 5 2017 , 2017._

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PLEASE SERVE- PE`RSONAL SERVICE ONL

BarryL. Bellne Sr
jewelry summaries _
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184-69 Plantation Conrt Drive

Prairiviiie, LA 70769
Rohert S, Rooth (La. Bar. No. 11454) T.A.
Anrh@ny P. number (La. say Ns. 16765)
Peter J. Rotolo (La. Bar I\'o. 21848)
Amy L. Molntire [La. Bal NO.J .E_EUS],)
cHAFFE MCCALL, L L. P tiED/ON M;NU;~ES
2300 Energy Cenn'e 1100 Poydras Street
New orleans Louisiasa 70163_2305€3 0 7231?
Telephone: (504) 535- 7000

Telefax: (5 04) 544-6088 -CHAHLEN': W \
E_rnail: rooth[cb;chaffe.com ad JLUAMS

Atrorneysfor Thz'nkstfeam Acqm'sitton, LLC

 

 

 

\_ Cas__e 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 96 ot 164

"`”` cERTIFrcATn or sEercn " '

l do hereby certify on this §'ij'd"ay of February, 2017, a copy of the foregoingr Was served
upon counsel of record to this proceeding by e-rnai.ling or mailing the same by Urn`ted States mail,

properly addressed, and first class postage prepaid 2d

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CIVIL DISTRICT COURT FOR THE PARISH OF EQBLEUR
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starr or LOUISIANA ` \c" "`:`
NO. 2016-9532 DIVISION “A-IS " DOCKET NO.
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the purposes of setting this case for trial and enteringa~sehedahnaeerdeesemag-He-deadlines_for_w
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R.obert S. Ro’o' flika a‘i. No. 11?4543)‘31`._&

Anth@ny P Ihulbaa ehat?a@§ -hl.@s »:lrl$rlé®

Peter J Rotol,@h@qa Baoldloth&"=l§loo

Arny L. Mclntire (La. Bar l\i'o. 35241)

CHAFFE McCALL, L.L_P.

2300 Energy {"entre 1100 Povdras Street `

New Orleans§t.£muisiana 70163-2300‘_t“.r5_=ug_`ea F‘st»r eat
'i`elephone: (l§l®'¢l~§:i'>&‘§t%®@£l:s tie $QT 1313 $dT.UD $!IK.DD
'l`elefax: {5 049?§¢4*-608 8

E-mail: rooth@chafi"e.corn
Atfomeysfor Thz'nkstream Acqrtz'sirz`on, LLC

CERTIFICATE OF SERVICE
Iherehy certify that § have on this z ]%day of February 2017, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery, cmail

transmission facsimjle, or by depositing the same in the United Sta.tes rna.ii, properly addressed,

and first-class postage prepaid @ @
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Cas_e 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 98 of 164

 

 

  
  
 

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sTATE or LomSLANA mg we l LW‘ '
NO. 2016-9532 DIVISION “A-l§ ” DOCKET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BAN"K
FILED:
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0 R D E R
Considen`ng Tl:le foregoing Motion for Status Conference;
/@"h
T IS ORDERED that a Status Con_ferenoe Will be held on the day of

, 2017 at fig Mo’cloek

' Orleans, Louisiana, this /

   

day of Februa.ry, 2017. `

 

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THE REPRESENTA'IIVES roa AL;. PART):BS By 0 coe he com

MUST BE FAMILIAR WITH AND PREPARED TO
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Wilnam D. Amn, n. (La. 1331 N@. 2267) PRGCESS- l iH“ SCHEDUUNG
DeWayne L. Williams (La. BarNo. 27635)
Aaron & Gianna, PLC
201 St. Charles Avenue
Suite 3 800
New Orleans, LA 70170
Attomeys for Defendant
Robert S. Rooth (La. Ba.r No. 11454)
Anthony P. Dunbar {La. Bar No 16765)
cHAFFE MCCALL, L.L.P. _ , /
2300 En@rgy camera 1100 Poydras street ENTL‘HED row M!NUrES
New Orleans, Louisiana 70163-2300
Attorneys for Plaimiff FEB 1 4 2§§§§
CHARLENE W_;LL\AMS
2725485-1 Qj

 

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 99 of 164

  
 

 

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UNOPPOSED MOTION TO CONTINUE HE;AR:ENG'@N‘EVIO'HON*T@”C@MPEI:-m
RESPONSES TO ' ‘ '

  

Plaintiff, Thin.kstream Aco_uisitlon, LL§:_§

 

Honorable Court for an order continuing the it§zrin§‘lont=él?hinkst;§é'ail`?="slilMtition to Conipel

 

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Responses to Discovery, for the reason that defenc_iq%nt}£%rs`aww_u apl&ha§_dellvered numerous
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additional documents this week and Thinlcsu:ea.rn §e§j,u§es additio _<;nne to review those

 

 

documents and to see Whether they are fully respon"`sivetteT=tlié`Tdiso'@Nei*§/F¢reqtlests. Defendant First
Crh»'= 1:1»: 11 'o»~::~#zz:r“ t-:o?»'.oo‘ '

NBC Banl<, has no objection to this continuance

Accordingly, plaintiH, 'l'hinkstream Acquisi'tion;~LnEC_,rcq-nests"ti=iat-the- -Cou.-t-t grant thio-~~»-»-

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motion and reset the hearing on 'I'binkstreazn’s M'o`t‘ioi`i`t o"C;oiii el‘”Responses"`to Eiiscove`iy- -1531*€`1 -*` '3`3

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Roberz s. Ro@ri;l (La. Bar. No”. 11454) T.A.
Anthony P. Du.ubar (La Bar No. 16765)
Peter .T. Rotolo (La. Bar No.21848)

Amy L. Mclmire (La. nar No. 35241)
CHAFFE McCALL, L.L.P.

23 00 Energy Centre, 1100 Poyd:as Strcet
New Orleans, Louisiana 7 0163-23 00
Telephone: {504) 585~7000

relefax: {504) 544-6033

E-mail: rooth@chat`fe.com

Artomeysjbr I?ainksrream Acquz`sirz'on, LLC

the Coui't’s first rule date on or after March 245 2017.

 

 

2821107-1

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1--6 Filed 05/11/17 Page 100 of 164

CERTIFICATE OF SERVICE
I do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefax and/or U‘S. mail postage prepaid and properly addressed

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and/or electronic transmission this g da 1 arch 2017. @

/L;YFV/ 1

CDC No. 16-9532 A-l§

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Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 101 0t\164

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No. 16-9532 DIVISION =‘A~is == DocKEr No.

THINKSTR.EAM ACQUISITION, LLC
VERSUS
FIRS'.F NBC BANK

FILED:

 

DEPUTY CLERK
RULE TO SHOW CAUSE

Consideling the motion to compel ot`Plaintift`, Thinl<strearn Acquisition, LLC,

IT IS I-IEREBY ORDERED that Defendant, First NBC Ban.k, show cause on the g l

day of w L_g'/:§ , 2017, at cl 'OO a.rn. why Plaintist motion to compel should not be

granted

New Orleans, Louisiana, this

 

 

SERVICE IS WAIVED BY:

First NBC Bank

Throug_h its attorney of record,
Williarn D. Aaron, Ir.
DeWayne L. Williarns

Anna Rainer

201 St. Charles Ayenue

Snite 3 800

NEW OI'].e»QI].S, LA 701-79 ANY MOT`ON REMOVED FROM THE DOCKET AF?ER THE

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JUDGE TlFFANY G. CHASE1 D|VES|ON A

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Case-2;17-CV-04872-BWA-I\/|BN Document 1-6 Filed 05/11/17 Page 102 of 164

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No. 2016~9:'532 ., _:,D]."VISION “A”
THH\IKSTREAM ACQUISI'.L`ION, LLC
VERSUS

FIRS'I' NBC BANK

 

 

FILED DEPUTY CLERK

MOTION TO OUASH 1442 DEPOSITION OF FIRS'.E` NBC BANK
AND REOUEST FOR EXPEDITED CONSIDERATION

NOW ]N'.!TO CGUR'I', through undersigned counsel, comes Defentiant, First NBC Benlg
(sometimes referred to herein as “I"NBC“),_ who respectfully moves this Cotnt for an Order
quashing tl_te Atticle 1442 deposition of First NBC Bnrik currently set for Mondey, March 20,
20l7, aitdfw'z‘her requests that this Cow“t consider its Mo!'z`on on cm expedited basis given that
the deposition is ser to be token orr Marc/’z 20,20.!’ 7.

Based on a Match lO, 20l7 correspondence nom Tliinlcsu‘cam, proceeding taint the 1442
deposition would cause FNBC to t'iolnte Le..R,S, 6:333_ Speciical_`ly, on Merch 10, 2017,
leinl<stream sent a letter to a customer of PNBC, Mr. Btu'ry L. Bellue= Sr., notifying Mr. Bellue
of his right pursuant to La. R.S. 6:333, to object to FNBC responding to outstanding discovery
T}ie deadline given to Mr. Bellue was Apn'.l lln 20l7. The 1442 deposition will elicit testimony
from FNBC regarding the veiy topics in the outstanding discovery tliat FNBC cannot disclose
until after the Aprii ll, 2017 deadline Witliout violating Le..R.S. 6:333.

WHEREFORE, for the reasons set forth above and in the l\/Iemorandum in Suppoit
being filed ht':re"vs.ritl:t1 First NBC now prays that this Couit grant its Motio.n to Quasli Deposition

of First NBC Banlc,.and further prays that this Court consider this Motion on en expedited basis

Respectfully submitted:

 

 

Wnirfii»i D. A_Ano>:¢stt. uses 2261)1".1_
DBWAY`NE L. WILLLAMS (LSBA #2763 51
ANNA A. RAINER (LSBA #31531}

AARON & GIAMA, PLC.

201 St. Charles Avenue, Suite 3800

New Orleans, Louisiana 70170

Telephone: (504) 569-1800

Pacsinnle: (504) 569~130l

 

 

 

 

Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 103 of 164

CER'I'IFICATE OF SERVICE

 

Ihereby certify that a copy da ove and foregoing has been served on all counsel ot

record Via U.S. Evlail, postage \.Oprep erly addressed anchor electronic mail, this 15"‘ day
ofl\¢latch, 2017,

 

e ayne I_,.`_WillM

 

 

Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 104 of 164

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CIVIL DISTRICT COUT FOR THE PARISH OF ORLF__§WA§B?:‘~}

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STATE OF LOUISIANA 7~.13` 15 m 38

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tHn~JKsTREAi\/r AcotnslrioN, LLC
VERsUs

FIRST NBC BANK

 

 

FILED DE`PUTY CLERK
ORDER
Considerlng the foregoing Motion to Quasli Deposition of Fi_rst NBC Banl< and R'equest
for Expedited Consideration;

IT IS HEREBY OR that the request for expedited consideration is

    
 

 

 
 

and the deposit of First NBC Ban.k et t on Monday, Maroh 20_. 2017, is hereby
ALTER_L\‘ 5¥i'i`l'\/"El'_,‘[ II IS ORDERED that the reouest for expedited consideration is
GMNTED, ana ear tennessee Aeqmsinen, LLC show cause on the __5_\*}/\11;1 ofM:/Wgcii [D:E Q_m
2017 as to why First NBC Banlt s Motion to Qnasli should not be granted \=D’t\.!i dJWU §/[N L’l/\_.
pto /Qi“fi»<jétct 612/trolth \l/tot_ et

New Orlear),s, Louisiana this day of MAR l 52 2017 , 2017.

M@U/t [£.§C

‘ ‘JUDG
\_/ songs-Grrra~ryd cease

'I`hinkstream Acquisition, LLC W.ill be served
via electronic means pursuant to LaC.C.P. art. 1313.

 

 

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 105 of 164

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THINKSTREAM AcQUls'rrioN, LLC l l n ll
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FIRST NBC BAJ.\TK

 

 

FILED DEPUTY CLERK

l'vIEl\/IORANDUM IN SUPPORT OF l\/IOTION TO OUASH 1442 DE`POSITION
'l`his memorandum is being submitted on behalf ofDefendant, First l\lBC B.`an_l< (hereinaier
‘ referred to; as “FNB C”)__ in support of its Motion to Quash 1442 Deposition set by 'i`hinl~;strearn
Acqnisition, LLC: (liereinafter referredto as “lhi_nlcstream”).. A copy of this memorandum.has been
served on counsel for Tlnnl<stteain in compliance-with I,avC.C.P. art. 1313..
F~_ACT_S
Thinlcstreani set the 1442 Deposition of FNBC for Monday, March 20', 20 l?. The topics
listedin the 1442 Depo sinonNotice include multiple levels ot` inquiry which could ca11 fortestin:tony
relative to the inancial records of one ot`its customers, Bari}f Bellne. La.R.S. 6:333 prevents banks
front disclosing any of the financial records of its customers except where a specific procedure is
il`ollov,'ed.l lelch agreed to the 1442 deposition and actually produced certain records because it
believed that La.R.S_ .6:333 ives inapplicable under the theory that Thinlcstreani had purchased
Bellue“sloans. :\lotably, release of documents or informw`on by FNBC in violation ofLa.R.S. 6:333
could subject FNBC'to liability to Bellne.
Fl\l'BC believed that it and Thjnlcstrearn Were on one accord with this theory, as 'l`hinl<sn'earn
continued to demand production of documents etc However, on March 1 0, 2017, 'l`h.inl<;strearn sent

conespondence to FNBC Wi’di an attachment letter to Bellne Wherein Thhtlcstreain indicates that it

 

Tlie procedure establishes that the person requesting the issuance ofthe disclosure
demand furnishes the bank tvith an affidavit certifying both ot`thc following (a) that such disclosure
demand= or a certified cop_v thereof, has also been personally served upon each customer named in the
disciosnre'deinand to whom the financial records being sought pertain or upon such customer’s counsel
of record in accordance with Subsection D of this Section; {b) that such service Was made et least fifteen
business days prior to the return date; and (c) the bank has not received written notice that a customer to
whom the financial records pertain has taken legal action to enjoin or otherwise restrain the release cf the
financial records

-1-

 

 

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 106 of 164

Was now attempting to comply with La.R.S. 6:333 and changed the return date on any production
of records to April ll, 2017. I~lowevcr, Thinl<strearn refuses to continue the 1442 deposition of
FNBC until afterthe April ll,ZO 17 deadline that Thinlcstrearn, itself5 set, even though itwill. attempt
to elicit testimony regarding certain documents and the duancial information ofBellue_

LA'W AND ARGU'M:ENT

 

This issue Was not created by FNBC- lt was actually created by Thinlcstream With its March
10, 2017 letter, wherein it tal<es a wholly different position than it had previously Speciiically, its
March .l 0, 2017 letter suggests that the Thinlcsh'earn production and testimony requests are subject
to LaR.S. 6:333.2 "l"his is extremely important because if this is true, PNBC could be subject to
liability to Bellue for violating La.R.S. 613 3 3. Furthermorc, if FNBC goes forward with the
scheduled 1442 deposition Wherein La.RS. 6 :3 33 Will likely again he violated if applicable, FNBC
will have to answer as to why it vvent forward with the deposition given the fact that 'l`hinitstrearn
put it, and Bellue, on notice that La.R.S. 6:333 might be applicable ln other words, the March li},
2017 letter put everyone on notice that 'l`hinl<strea:n believed that the statute might be applicable
Withthis knowledge liNBC knows or should know that if it goes forward With the 1442 deposition,
it Will again violate the statute

La.R.S. 6:333 reads, in pertinent part, as follows:

B. Notwithstand ing any other provision oi`law to the contrary, except R.S. 91 151 et seq. and
3854(]3)(2), RS. '13:3921 et seq., Code of Civil Procedurc Article 2411 et seq., R.S.
46:236.1.4, and R.S. 47:1676@)(2) and 1677, no bank or its affiliate shall disclose any
tina`nciai records to any person other than the customer to whom the financial records
pertain, unless such financial records are disclosed:(l) I'u responseto a disclosure demand
in accordance vvith the provisions of Subsection C ot` this Section.

(2) Pursuaut to a written request or authorization for disclosure or waiver which meets the
requirements of Subsection E of this Section.

(3) As otherwise permitted or allowed by_ this Secti_on_

C. A bank may disclose financial-records pursuant to a disclosure demand if each ot` the
following conditions are met:(l) 'l`he disclosure demand is served on the bauk‘s president
one of the bartl<’s registered agents for service of process, on if applicable, on the banl<’s
counsel oi` record unless such service on such individuals is expressly waived by the hanl<.
(2) Pa“ior to the return date, the person requesting the issuance of the disciosure demand
furnishes the bank with an affidavit certifying both of the following:(a) Ihat such
disclosure dcmand, or a certided copy th ereot`, has also been personally served upon each
customer named in the disclosure demand to whom the financial records being sought
pertain or upon such customer’s counsel of record in accordance with SubsectionD of this
Section.

Ch) Tliat such service was made at least fifteen business days priorto the return date

(3) The bank has not received written notice that a customer to Whorn the financial records
pertain has taken legal action to enjoin or otherwise restrain the release ofthe financial
records

” See Exhibit “l”.

_2_

 

   

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 107 of 164

It`tbe statute is applicable FNBC cannot disclose tinancial information ole ellue unless: { l]
'Ilunlcstrearn sends a letter to Bellue exploiting that they are seeking his infonnation;. (2) allows
Beilue at least ij days to object and (3) provides FNBC Witli an affidavit that (l) and {2) have been
met lnitielly, Thjn]rstreani took the position that it did nothave to comp ly with the statute because
ot`an exception in the statute that provides for disclosure Where a loan had heen_sold. W`h_ile FNBC
first used the statute as a defense upon review it believed that 'l`hinlcstrearn was correct and that the
statute Was inapplicable 'l`hus, it proceeded to provide documents and agreed to the 1442
deposition

l-Iowever, incxplicably, on l\/latch lO, 2017, Thinl<streain sent correspondence to FNBC and
Bellue taking the opposite position Spcciica]`iy, it said the following in irs correspondence to
Bellue:

Pursuant to l.a_R.S. 6;333, We hereby serve you with a copy of “Tliiul<stream Acquisition,
LLC’s Request for Production of Docurnent_s and Electrom`cally Storerl lnformati_ou
Ptopouncled to First NBC Banlc,” which may call for the production cf your financial
documents with FirstNBC Baul<. The ""retum date” for FirstNBC to produce these records
is April ll, 2017.

Thus, by this letter, Tlnnlcstrearn'appeai:s to acknowledge that its requests are subject to the
statute This letter certainly took FNBC by surprise because it essentially-g if corre ct, Woulcl mean
that FNBC had already vi olated the statute by providing any documents in the first place At the very
least, it put FNBC on notice that an issue has been created by T}rimhsz‘ream that -woulcl subject FNBC
to liability to Bellue it`it goes forward With the 1442 deposition on Monclay1 l\/Iarch 20, 20.17. Thus,
FNBC requested that the 1442 deposition be post~posecl until after the April l l, 2017 deadline to see
ifBellue objects to the production of any documentsz etcA FNBC will then have to defend against
its decision to release any documents in the first place, Which will he more difficult given the fact
that 'Ihinlcstrearn reversed its position with the l‘vlarch lU, 201? letter. l-lowever, FNBC’s position
Will be even more tenable if it goes forward with the 1442 deposition tyler it has been placed on
notice by 'Ihinkstream that it believes that the statute might be applicable

When informed that the l\/larch 10, 20le letter created a serious issue for FNBC such that it
created potential liability on FNB C to B`efl]ue, 'l`hjnl<stream reverted back to its original position that
the statute tvas inapplicable I-Iowever, it has already put Bellue on notice ofthe opposite position

and given hint until April ll, 2017 to respond lt has further put Bellue on notice that it has put

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 108 of 164

I~`NBC on notice that it has informed Beliue that lie has rights pursuant to La.R.S. 6:333.

WHEREFORE', for the reasons set forth herein ss weil as the fact thatthe deposition sought
to be quashed is currently set for this coming Moncia;~', March 20, 2.017, First NBC Bank prays that
this Con:rt: (1) consider this Mon'on to Qnash Deposin`on ofFitstNBC Bank on an expedited basis
and (2) issue an Order GRANTING First NBC Bank’s Motion to Qnash and quash the Artiole` 1442
deposition ofFirstNBC Bank omently set for Monday, Mai~ch 20, 2017, to bereset on or after A_oril
11, 201_7, or the issue of:-).n objection by Beliue has been resolved

Respecti`ully Submitted:

AARON & GLANNA, PLC

/

WMMRG;§:D/.(LSBA #22'6'0 T.A_
DeWAYNE L- W].I.LIAMS (LSBA #27685)
ANNA RAINER (LSBA #31531)

201 Saint Charles Avenue, Snite 38{)0

New Orieans, LA 70170`

Teiephone: {504) 569-3 800

 

Cozmselj?)r Dq'endam, Ffrsz‘ NBC Baz:!c

CERTIFICATE 017 SERVICE

 

I HEREBY CERTIFY that a copy ofthe above and foregoing pleading 115 been served

upon all counsel ofrecord Via electronic service and/or faz;, this 15‘*‘ day of November ,

 

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doss-1264

LO'RET'I:A O. E`OEK.INS
045 544-6092

 
 

sims 10,20_17

Willians 'D. Aaron, Jr.: Es_q.
A£n‘on. & ,Gianrn PLC

201 St. Closrles Ave., Stdte-BS`QO
Ncw O`rleans, LA "J'GI?'U\

RE: 'T]tz'nks!reom .zlccjzrfsf:‘f.on, LLC us. Ft`rsz N'BC B=;r.=z.-Q _
Civil Diso:ict Conrt' for the ?arisla of Or]ea.ns,. Sra_te c.:€ Lonisis_na ‘No. 16~95'32
'Our `Eile: 4524‘3

Dea.r Mr. Aaa'cn:

EneloYd please ind a. copy of correspondence to Barry L_ Bei]ne, S“r. and “T"oinksn'eam
Acqnisition, LLC’s Reo_nest for Production oI”Do contents and Eleotronicaily Stored Inforn_:ta‘don
Pr.opou.n'ded to First NBC Banl<.“ We are extending the “re‘o.nn date” of Thjnkstream
'.Acqt;isiticn, LLC"s discovery requests to Iiirst NBC to A-pril 11, 2017 due to- issues Widl
locating and serving Mr, Bel!ne.

With Idndest regards3 I am

`Sineereliy yonrs; ,,_~
C‘ ["yf_.'" \\¥ /':::

Loret_ta O. Hosl<ins

/Ioh

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Ncw O,'Ic::as: EDD`Eecrgy-Ceem- 1150 Fo_ydra: Sncel -'New Or]car.s, LJ».\..’FCIGB~ZSUU -'1'¢[:(5@=1_}5$-5-7_000 ~ I~`a:c: [53-'11 535-'.’0'?5

B:)tcn Rn'.:,g_.c: 153 'I‘wc Uni:cd Pl:_sz:z ~ S_S;SD Uu'i;:d P_]az:. BJ'¢d. » B‘=\ron Rov.gc; LA?ESO§ 1 Tcl', (22,5~}-92-¢53'-30 ' F:r<: {225} "'-‘ 304
Ziousro'n: 301 Travis Stn:cL Stlitr: 191 D' - Houslon‘ TI( 77902 ~ Tel: (713~}:‘4.5-9300 ‘ FL'<: (’I 5~) 5=16.-9806

'Ln|cc Ch:t‘.*Ies: B.-lc Liiccs[:ore Dri¢c Stiitc 1750 - Lof~'.e Ch:r`!¢s`_ I..A 70619 - Te'l.‘ (_33?) 4197-1825 ' Fm (:'\'0-1-] 585-

  
 

 

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Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 110 of 164

  

M€CB§§W

LORET'IP_ O. H©SKD~IS Ds`rec:t` Dial No: {504) 535-7254
.Direct Fax Nc: §'50-“¢-) §44-60_5'2
E-mei'i: hosIcin g.,L:ha'Efe.com

Ma.rc`n l O, 2 0 l 7
VIA HA_"\"D DELIVERY &
VIA CER'IIF[ED MAIL - R_ELTURNRECE]PT REOUES'I`ED
Barr;~' L. Beliue,. Sr.
4847 Donegai Road

Woo'd'~'iiie, MS 39 669~435 3

Re; T?zz`n%;='rream_£cgnisitt`ozz, LLC n F:'rst`j\/'BC. Ba.nk
CDC NO. 20'16-9532, Di"»'. ‘:A--l$"
Our I~`ile No. 45?_43

Dear Mr. Bellt‘.e:

Pnrsllant to La. R.-S. 6:3'33_, We hereby serve yonzwith a copy oi-` “Toinl<stresrn Acqnisirion=
LLC’s Request for Prodinction of Docurnents and E]eetronic_ally S`tored Informstion Proponnded
to Fi_rst NBC Be.nk:" W'nici:t may call for the production of your financial documents wide `Fi'rst
N.BC Banif;_ `The “retnm date” for First 1\=`BC to produce these records is §§er 11, 2017.

Wi‘-.ii best.regzrds, I remain

Sin'eerely-= `
' .”
Loretta O. Hoskins
lion
Enciosnre

cc: Barry H` Grodsky,.v»"/encl.
Donald J. Miester, Jr., ernc].

Nc'w Orle:;ns: 2300 Energy Ccn_d’¢:‘“ 1100 Fc'yd."as Srreor ‘ N='r'# Cr§e:ms, L..A. TEIEE»ZEOQ "'.1'-:1;'[504) SSE-ECOU ‘ Fa:: ESU#J.SSS-TOTS
Bm:on Rougt: 103 Twc -'_'|nf::d-PIaza-- 3550 limited `P]zm§l\=d. » Eaton Ronge, L.-`\ 70309 ' T:': .E.EJ 923.~¢300 ' F::c.' [22.5] S`L-'ESD-”-
Hunstbn: 301 Tr=t‘;i§ SU’¢=[, S£JEIC 1910 “ HCESIO\‘|, T.\C T]'DVJZ ' T€]‘. {?'23;\ 545:?300` a,\‘ {`?`1.5) 5»'-15*93305_ '
Lak¢: C§mrlcs: On'c Lske:.‘hor: Driv_": Suire 1750 ~ take Cha:{cs, ’_'.A 73629 ~ Tcl';. 537 1119-1525 ~Fa.\:: -[504) 535-7075

    
  

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Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 111 of 164

.Chaffe
|VlcCal|W.

LORETTA O. HOSKINS

Marcb16,2017

VIA E-MAIL: dwi}liams@aarongianna.com
AND U.S. MAIL

Dewayne L. Williarns, Esq.

Aaron & Gianna, PLC

201 St. Charles Avenue

Suite 3800

New Orleans, Louisiana 70170

Re: J%z`nlnm'eam Acquz'sitz'on, LLC v. Fz'rst NBC Bank

CDC No. 2016-9532, Div. “A-15”
Our Pile No. 45243

Dear Dewayne;

Direct Dial No: (504} 585-7264
Direct Fax No: (504} 544~6092
E-mail: hosl<ins@chaf'f`e.com

Enclosed is P1aintiff’s Opposition to Motion to Quash 1442 Deposition to First NBC
Banlc and Request for Expedited Consideration Which has been filed with the court today

With best regards, 1 remain

Sincerely t f/~\

__C:TC/

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Loretta O. Hoskins

LOH/j em
Enclosure

New Orieans: 2300 Energy Centre - 1100 Poydras Street - New Grleans, LA 70163~2300 - Tel: (504) 585-7000 - Fa:<: (504) 585-7075
Baton Rouge: 103 Two United Plsza - 8550 Um`ted PIa.za Blvcl. » Baton Rouge, LA 70309 - Tel: (225`) 922»4300 - Fax: (225) 922-4304
Houston: 801 ‘fravis Street, Suite 1910 - Houston, 'I`X 77002 ' Tel: (713) 546-9300 ~ Fax: (“/‘13) 546-9306
Lalce Charles: One Lakeshore Drive Suite 1150 ' Lal<e Charles, LA 70629 ' Tel: (337) 419-1825 ' Fa)c: (504) 585"1‘075

www.chaffe.com

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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 2016-9532 DIVISION “A-l$” DOCKET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED:

 

 

DEPUTY CLERK

PLAINTIFF’S OPPOSITION TO MOTION TO OUASH 1442 DE]?OSITION TO
FIRST NBC BANK AND REQUEST FOR EXPEDITED CONSIDERATION

PlaintiH, Thinkstrearn Acquisition, LLC (“TAL"), respectfully requests that this l-ionorable
Court deny defendant First NBC Ban.l<’s Motion to Quash its corporate deposition First NBC’s
motion is a dilatory tactic to obstruct discovery in this case in Which Firstl\lBC failed to honor its
contractual obligations and breached fiduciary duties to TAL. This is the second time TAL has
noticed First NBC’s deposition, and now First NBC claims that it cannot be deposed because it
would have to disclose financial information of its bank customcr, Barry Bcllue. However, First
NBC already has produced in discovery a substantial number of documents relating to Barry
Bellue. Furthermore, only one of the twelve topics in the 1442 deposition notice speciiically
involves Barry Bellue. For these and other reasons, Fitst NBC’s position is unfounded TAL is
entitled to proceed With discovery in this case, and First NBC must be ordered to appear for its
deposition on l\/larch 20, 2017 as scheduled

FACTUAL BACKGROUND

TAL purchased from First NBC a loan that First NBC had made to rl'hinlcstrealn, lnc., a
business that provided software and support services to law enforcement agencies Barry Bcllue,
Sr., who was the CEO of Thinkstrearn, lnc., personally guaranteed the loan that TAL bought from
the banl<. First NBC represented to TAL that the loan Was also secured by many other items of
coilateral, including numerous letters of credit and certificates of deposit

First NBC also made loans to Bellue personally, but did not sell those loans to 'l'Al,.

First NBC agreed to act as TAL’S agent to collect the collateral to pay down the loan it sold
to TAL. But First NBC failed to do this and failed to provide any accounting of the collections or
the application of payments to the loan 'l"AL bought As a result, TAL filed this lawsuit

First NBC claims it cannot give a deposition because it Would have to disclose information

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related to Barry Bellue, which it claims is prohibited by La. R.S. 6:333 [even though exceptions
in that statute allow FirstNBC to release this information). The bank first raised this argument on
January 12, 2017, in opposition to TAL’s motion to compel discovery responses1 Despite that
Objection, First N'BC proceeded to produce numerous documents and information related to Barry
Bellue.

Thereafter, on Fcbruai'y 3, 2017, out of an abundance of caution in order to eliminate First
NBC’S objection and to ensure that First NBC had not withheld any documents, TAL issued a
subpoena with the Requests for Prodnction to First N`BC2 to Barry Beliue, Sr. at his horne in
Prairieville, Louisiana.3 TAL provided notice of this subpoena to Pirst_i\ll:`$€.4 'l`iie subpoena was
served on Bellue"s son at Bellue’s Prairieville address on March 3, 2017. Bellue’s son claimed
to the process server that Bellue now lives in Mississippi.

On March 2, 2017, TAL issued its Re-Notice ofDeposition for First NBC’s deposition to
take place on March 20, 2017,5 This date was agreed to by First NBC. FirstNBC had been given
notice of the February subpoena to Bcllue when it consented to the deposition

Because Belluc’s son claimed that Bellue now lives in l\/lississippi, TAL sent a letter on
March 10, 2017 to Bellue in Woodville, l\/lississippi (an hour north of Baton Rcuge) and copied
Bellue’s counsel of record in a separate lawsuit6 TAL also engaged a process server to personally
serve a copy of the letter and the Requests for Production on Bellue. TAL provided notice to First
N“.BC.7 The process server advised that he knows Bellue and that Bellue has a residence in the
Baton Rouge area and travels back and forth between the two locationsl

On March 14, 2017, First NBC objected to submitting to a deposition due to the l\/larch
10, 2017 letter.

1. The Notice ofDeposition Covers Numerous Topics 'l`hat Do Not lnvolve Barry Bellue.

First NBC’s motion suggests that that this deposition is entirely about Barry Bellue, yet it
1 Exhlbit l to First NBC‘s Motion to Quash 1442 Depositlon.

1 This was the “disclosure demand," which the statute defines asc
a civil or criminal judicial, administrative, legislative, military courts-martial, juvenile, grand jury,
arbitration, or medical review panel subpoena, summons, or order or notice of deposition,
interrogatories, request for production or inspection of documents, request for admissions, or other
discovery request lawfully directed or propounded to a bank or any affiliate [La. R.S. 6:333(A)(6).]
3 Exhil)it l (Subpoena to Barry Bellue, Sr. attaching 'l`AL's requests for production to First N`.BC). Bellue`s verified
Petition for Damages in a separate lawsuit filed on Septeniber 20, 2016 represents that he “is a citizen of Louisiana,
domiciled and residing at 13459 Plantation Court Drive, Prairieville, LA 70759, in Ascensicn Parish,” See Fetition
for Damagcs, BLB Aviat‘io)r South Cm‘oir'na, LLC and Barry L. Bell:re, Sr. v. Johrr E. Seago, et ca'., 19“‘ JDC No.
651553, Section 26. Exhibit 2 (relevant excerpts ot'Verit`led Petition for Damages).
4 Exhibit 3 (`£~`ebruary 3, 2017 letter and Notice of Records Deposition). ,
5 Exhlhlt 4 (Re-Notice ofDeposition Pursuantto Arcicle 1442 ofthe Louisiana Code ofCivil Procedure). l~`irst NBC’s
deposition was originally set for March 9, 2017 but was continued at First NBC’s request

6 Exhibit l to First NBC’s l\/lotion to Quash 1442 Deposition. See also Exhibit 2.
7 Exhibit l to First NBC’s Moticn to Quash 1442 Deposition.

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did not attached a copy of` the Re-Notice of Deposition to its motion. Only one of the twelve topics
noticed for the March 20, 2017 deposition specifically relates to Bellue. The deposition covers
numerous other areas and topics that relate to TAL’s clainis.

Docuinents already produced by FirstNBC indicate that much of the collateral for the loan
that Pirst NBC sold to TAL either did not exist or else was liquidated and the proceeds used to
benefit Bellue (who guaranteed the loan) or to pay down other loans at First NBC. Also, First
NBC is rapidly exhausting TAL’s SSOO,DOO escrow reserve account even though the loan should
now have been substantially paid down through collateral liquidationl This suit and First NBC’s
document production and discovery responses present these issues and others that TAL needs to
explore at First NBC’s deposition The Court should not allow FirstNBC to avoid answering any
questions under oath at its deposition

2. First NBC Already Has Produced Documents Related to Barry Bellue.

First NBC initially raised La. R.S. 6:333 in opposition to TALis motion to compel in an
attempt to avoid producing documents Yet, the bank thereafter produced numerous records
related to Bellue. TAL opted to serve Bellue with a copy of the Requests for Production out of an
abundance of caution in Order to eliminate any possible objection the bank might raise and to
ensure that First NBC had not withheld any documents

TAL’S March 10 letter does not provide the bank with any reason for refusing to answer
questions about Bellue because First NBC has no valid basis to object to producing Bellue»related
documents or answering questions about them. in fact, La. R.S. 6:333 contains specific exceptions
which allowed First NBC to produce the Bellue records The bank actually agreed that it could
produce the records, and it did so, The statutory exceptions apply, infer alia, because they relate
to the saie of a loan to TAL which Bellue personally guaranteed and also relate to collecting or
enforcing rights with respect to the bank’s role as a Hduciary to 'I`AL. Section 6:333(F) provides
in pertinent part:

F. The following disclosures by a bank or any affiliate are hereby
specifically authorized and, except as otherwise provided in this Subsection,
nothing in this Section shall prohibit, restrict, or otherwise apply to:

(l) 'l`he disclosure by a bank or anyr affiliate of` any financial record ttB_ny
person as an incident necessarv to; obtaining or perfecting a guaranty, mortgage
lien, security interest or other encumbrance; proving a claim in bankruptcy,
Otherwise collecting on, or enforcing its rights with respect to a debt owing either
to the bank itself or to it in its role as a i"iduciarv; or procuring, making a clairn on,
or otherwise enforcing or exercising its rights with respect to any insurance

pertaining or related to a debt owing either to the bank itself or to it in its role as a

fiduciary, including single interest insurance
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(4) The disclosure by a bank or any affiliate of financial records to any
person to whom the bank has sold or participatedl or may sell or may participate
in all or any part of one or more customer loans or other indebtedness or deposits
to which such financial records pertain or to any person to whom the bank has
granted, or may grant, one or more assignments liens, security interests, or other
encumbrances in or affecting one or more customer loans or other indebtedness to
which such financial records pertain ]:La. R.S. 6:333(F)[l) and (l~`)(4) (ernphasis
added}.]

As noted above, among the collateral that the bank sold to TAL was Bellue’s personal
guaranty ofthe loan TAL bought Moreover, due to the fact that First NBC already has produced
Bellue documents and the fact that the statute specifically allows First NBC to produce these
records, the Court should reject any argument that TAL cannot question First NBC about Bellue
or the banl<’s records relating to Bellue.

CONCLUSION

First NBC cannot deny 'l"AL the opportunity to conduct discovery in diis case. TAL is
entitled to complete information about its clairns. Without First NBC’s deposition, 'l`AL cannot
adequately prosecute its claims First NBC should not be allowed to dodge discovery This Couit
should deny First NBC’s motion to quash and allow the deposition to go forward on Marcli 20,
2017 as scheduled

Respectful ly submitted: .`

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~C\<_ f- § \\(
€_"_-`»`*‘" \ ` '
Robert S. Rooth (l,a. Bar. No. 11454] T.A.
Anthony P. Dunbar (La. Bar No. 16765)
Peter l. Rotolo (l'.a. Bar No. 21848)
Loretta O. l-Iosl<ins (La. Bar No. 3 055 S)
Amy L. Mclntii'e (La. BarNo. 35241)
Cl-LAFFE McCALL, L.L.P.
2300 Energy Centi'e, 1100 Poydras Street
New Orleans, Louisiana 70163-2300
Telephoue: (504) 585~7000-
Telefax: (504) 544-6088
E-inail: i‘ooth@.chaffe.corn

Attomeysfoi‘ Thi'nkstrecr)ii Acq'iiisi`ricii, LLC

 

CERTIFICATE OF SERVICE

l do hereby certify on this 16th day of March, 20l7, a copy of the foregoing was served
upon all counsel of record to this proceeding, by e-mailing and mailing the same by United States
mail, properly addressed, and first class postage prepaid

 

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed'05/11/17 Page 116 of 164

E¢lf!$

ClVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA

sUBPoeNA
Nc. 2016~9532 orvis1oN "A-t§" pocket No.
Thinkstream Acquisltion, LLC
VS

Firet usc sank

TO; Barry l.. Betlue` Sr.‘ 15459 Plantatlorl Co urt Dr., Prain'eville, LA 70763

CLERK, CIV'IL DISTRICT COURT - Piease issue a subpoena to tl'le above party as directed
below.

 

SUBPOENA REQtnz.s'r
[ :| ] YOU ARE COMI\{ANDED to appear in the Civl`l Disu'ict Col.lrt, Parish of Orleans in Div'miorl
" ", 421 Lcyola Ave., New Orleans, LA 70]12, on the day of 20____"___ ar
c'clocic ___.m., to testify the truth according to your knowledge in a controversy pending
herein between the parties above named; and hereof you are not to fail under the penalty of the l.aw, By order
of the Ccurt.

 

 

DEPOSlTION SU'BPOENA REQUEST
l [:[ 1 You m coMMAz~lcm) m appear m the place aaa and lime seminal below to mary aaa
taking of a deposition in the above case.

 

 

 

rules or nn=osrnon cars mo mrs

REQUEST FOR mr UF S[J'Bpom DUCES TECT.M
[ } YoU ARE committees to produce and permit dispenses and copying arms following aneu-
ments or objects for the trial, X deposition cr hearing (state type)

at the placev date and time specified below (list documents or objecrs) pw'suant to tim
provisions ct`Article 1354 et seq. cfthe LA Code of Civil Procedure. and La. R.S. 5:333.

NOTICE: ARTICLE 1354 APPEA.RS IN FU'LL ON BACK OF SERVICE COPY

f~\ny and documents listed on Attactlment "A" ("Tbinl<stream Acquisl'tl'on, LLC-'s Request
for Production of Documerlte and E|ecb‘onlca||y Sioreci lnformatl`ol'l Propounded to First
Nsc eanl<")

 

PL.ACE DA'I'E AN`D TI}\¢£E

ChEHB MCCE.H, L.L.P.. 1100 Pcydras SL, Suite 2300, New Orieans, LA 70153 N|Eirch 13, 2017 at QZUO E.lTl.

 

 

BA.LE N. A'I`IC[`NS, CLERK
C`£VTL DIS'I'RIC'I‘ COURT

Issued at the request of; and,
Fees and cost guaranteed by tmdersigned

At“roRNEY ' ' j ,YWDML-‘

Aaomeys signatlli'e

 

 

ATTORNE"I"S

NA_ME s»_ BA_R_ NUMBEF_ Robert S. Rooth (#11454)
ADDR.ESS 1100 Poydras Sl., S=.lite 2300
&

TEEB°HONE NUMBE¥_ New Orleans, LA TU‘EEB

 

(504) 535-7000

 

File original and two copies with Clerk
fourth copy for Attorneys File

OR.lG INAL R.EQU`E$T

 

Case 2:17-cv-O4872-BWA-|\/|BN Document1-6 Filed 05/11/17 Page 117 of 164

ClVIL DISTRICT COURT non THE PARlSH on ORLEANS
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THENKSTREAM ACQUIS!TION, LLC
VERSUS
FFRST NBC BANK

FILED:

 

 

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`l'O: l"lrst NBC lZanl<

'l`hrough its r\gcm l`or Scl'vice ol"Prol:csS:

Marsha S. Crowlc

Chicl` Cornpliancc O l`l`lccr

210 Bal‘onllc Slreot

Ncw Orlcarl$. l.A 791 12

'l`hinl<strcam Acquisilion. l.l,C [hcreinal`tcr "`l`hinksu~caln l.liC") propounds the
l`ollcwing requests l`ol' documents and lilcctrorlically Slorcd information lo he answered by First
NBC Iianl< (hcroinal`tcr "l~`irst NBC"}. Fil'st NBC is to answer these document requests
sepal'ately. tully_ in writing and under oath` in accordance With thc louisiana Codc ot` Civil
Proccdure end in accordance wit-h the following definitions and instructions, which are
incorporated into each of thc document requests as though set forth cntircly in cach. These
document requests are made continuing and supplemental answers arc required promptly You
arc requested to produce all lilcctronicall_v Slorcd lnt"nnnall'on responsive to this Roqucst in its
native l`ormat with all associated l\/lctadala intacl.

Unless otherwise specified in a particular numbered item ol` this R.oqucst1 the temporal
scope ollhis chucst is the period from lamlary l. ?.Ul5 10 dow

DEFINTTIONS

As used hcl'cin;

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ATTACHMENT “A”

Case 2_:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 118 of 164

i. ”'l?irst Ni:`tC" means tend refers to l"irst NEBC` Banlc along with its ol`liccrsw directors.
tnernt)crs. employecs, representatives and agents
2. "Pureiiasc :\greet'nent" means and rel`ers to that l,-OEtn Doeurnent i)urehatse /\.grcement dated
as el' l`)eectnl)cr t$. 20151 by nod between l~`irst NBC. ns Scller, and 'l`hinkstre:un LLC, ns
Purc!utser.
3. ”‘l`hinkett'eant I`NC" means amd rc[`ers to Thinlcstream lncorporatcct` a Delawztre
corporation
~l. "l,Oan l'Jot:ulnen'tS"' t'nean£ -ftnd t'el`er.s‘ to the "l.t>‘.m i)ocuntent.s" identilied in tch Fttrchase
Agrecment. to witt
{l ) Prornissory Notc in the amount oi`$¢`549,332.35 dated Mzireh 22,
§t;]l_?:_)clxecuted by 'l`hinlcstrcam JNC to the order oFFirst NBC (the “20 l 3
b »

[2) Comn~lerciul Securit_\' ,'\gret:rnent dated Murch 22\ 20\3` executed
oy't'hinl<stream tNC in favor ot'_lTirstNl%C‘,

tBJ Uniforrn Cornmerciztl Codc filings executed by `l`hinl<stre;tm lNC
itt l`ttvor ol` l*`irst NBC;

tdi ii,ctters ol`Crt:dit and Certii'tcutes oi`Deposit provided to Fitst NBC
as colloternl i`or the loan to Thinl<strczun lNC` ("l,ettcrs oi`Credit and
Certil'ieotes ol` Deposit"):

[5) /\ny and all mortgages on real propertgl granted as security I`or
indebtedness conveyed herein.

t6) Cornmcrciol Gunrenty dated january 30, 2013, executed lay liarry
l.. tieltuc` Sr._ in favor ol` l"irst NBC with respect to all indebtedness ol`
'l`hinitstrcnm lNC ("Bcllue Guorant}"");

t?) 'I`.'oe Loan .Agreetnent by end beti\tfeen `l'hinkstrearn INC and i-'Et'st
NHC with respect to l)chtor in Posscssion t»`innneint_t. executed pursuant to
the Order o|`thc United States Bnnkruptey Court ol' the Middle District ol`
l,ouisiztnet in ln re 'T"ninl\'stream lneorporeted. Case Number lS-i OS§B`
Clittpter l li and that Pron~tissoty Notc in the amount ol`$'/‘SO`OD0.0U dated
Septet_nber 2l1 ZUl 5 executed by 'l`hinkstretnn lNC` in connection
therewith ("Benitrtlpte_v Notc"].

4. "Collntet'al" means any lend ali colluternl heid by liirst NBC at any time to secure the
' payment of the 2013 Netc and the Beuikruptcy Note rel`crrecl to in the description ol`“l_oan

Doctnnt:nt$" herein.

5. "Corn:non Coliuternl" means noel rct‘ers to any end ott colluterztl held try l~`irst NliC at any

time to secure the payment o §`1he Belltte Note end the lieituc Guarnnty.

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61 "Bel§uc Notc" means and refers 10 the indebtedness ol" Barry L. t§ciluq Sr.` 10 l"irsl NBC as
evidenced by that promissory note dated Jannary 27‘ 2015_ in the original amount oi'

$2_238\`632.27.

7. “Bclluc Guarnnty`“ means and rcl`ers to that Comrnercinl Gunrztnty dated .Taouary 30, 2013`
executed by fian“y l.. Belluc, Sr.` in favor ol` l"irsl NBC with respect to all indebtedness of

'i`hinl<strcam lNC,

ii\_ L'l%clluc Collntcral" mccann and refers to any and all COllaternl held b'_\-' l*`irSt NBC at any time

to secure the payment ofth Bellne Note.

9. "Comniunic:-:tion" means any transmittal ol`inl`ormation oi`any kind, whether in the form oi`

a document, letter` e-matil, note, messagcr or other ionn.

lO. "'l`hini<strcnm l.l)C Notc" means and rciers to a |nrornisaior;)f note executed by 'l`hinl<strcnm

l.[,C" payable to T~`irst NBC in the lamount ol`$4,928`693.00, dated as o!`l)eccmber 15. 2915`

l l . "l€scrow /\ccoont" means and refers lo that account at l?inzt NISC established at pursuant to
a Dclnt 5e1-vice Rcserve F,scrow Agrccmcnt (“l:lscrow Agrcement") between thc partics, also

dated ns ol`Decembcr li 20l5.

i2. "‘Docuinonts“ means and refers to documents or Elcctronieally Stored Inl`ormation oi`any
type or description, or any means oi`storcgc o[`inl`onnation. including without limitaitio n, Wriling
in any i"onn. any physical expression ol`ini`orntation, and/or any means ol` storage of ini"onnzition,
and L'Doc:urrlanS-" includes, Without lirrritntion1 any loan document, correspondenee,
communication memorandum agreement, lottcr` hand or typewritten notc. c-mcii or electronic
mail. text me.ssag,e, invoicc. rcceipt, computer printout._ eornputer tnpc, computer disket'tc,
audiotnpc, audio recording microiilin. vidcotnpc` tape recording photograph intcr»cornpany and
intro-company communication or any other item o F n similar narnrc. "Docomcnts" specifically

includes drafts and/or copies oi`any oi`thc foregoing itcms.

13` "Relatin Lo" shall mean concerninc. containin , regarding discussing pertaining to,
g _.

i~cliecting, relevant to, commenting upon. having some connection to_ including embodying or

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evidencing ztnti should he construed in thc hroitdcst sense ol`thc tcrni. An analogous meaning

shoil apply to the terms "reiate"` "rt'lotcdj` "rclating"' and other dcrivations ol`ihcse words.

14. “i\ncl"` and “ot"" shall he construed conjunctively and dls_iunctivcly so as to require t'nc

broadest possible response to any particultu‘ iiitcrrogntor)'.
l5. Words shall loc construed in thc singular or plural |`ol'm.

l6. Tl'~.c term “pcrson" means any natural nerson. individurtl. corporation, firin`_ioint rcnturer
partnership ornprietorsltlp_ association organization or any other business or legal entity or

group oi'" natural persons.

ll "'Melzid'rztn" includes information embedded in am electronic document or iilt‘ describing
inter tilla. its crczuion4 revision history tracking and management that is gc:nero.ll_\_l not visible or

retriev:t`olc when on electronic docan t:nt is printed or converted to art image lile.

l i§, “Elcctroriic" nieto-ts relating to technology having clectricol, digitai` rnugnctic. wireless`

optical, cloctroin:-t‘;tn<_'tic" or similar copoiiilitie.s.

19. "Electronicnll)-' stored ini'onnrttion" means in l`ormaition that is stored in nn electronic

medium and is rctrieva`o`le in peiiccivzihlc i`orrn.

INSTRUCTIONS

A. `I`his llcqucat seeks nll responsch documents and inl`ot'nration thut ore in your
possession1 custody or control and all documents and information that arc in the possession
eustody, or Contrt)l ol`your ngents, elnployt:es_ attomcys or other t'corescnu:ttivc$. 'l'his chuest
shall he deemed to he continuing so that any additional information and documents responsive to
this chuest which you acquire or which become known to you up to and including the time of
trial shall he l`urnishcd to thc requesting party promptly after such in §'onnatiori or documents arc
acquired by or hcenrric known to you.

B lt‘any information collect t`or by this itt-quest is withheld on the grounds oi`a ciaini

or objection based on thc attorney-client privilcgc._ the attorney work-product doctrinc, orany

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other privilege or basis state in your resoonsc‘ as to each document or category ol`irttormation
you ret'usc to produce or disclose:

l.thc nature ol` the privilege or work product doctrine you claim is applicable and a

description ot`tlte l’aots and the basis ot` applicability oi`thc particular privilege or

objection to each such document or category ot`inforroation;

2. il'a document is involved the date, the author, its recipient(s] and all persons who

received copies ot`it` including the general subject matter ol" the document. and the

idf.`t'tlil)' tvl`each person tvl'to has seen thc document; and

3. il'a communication is involved the names ot`the persons involved in the

communication the general subject matter ol'thc communication and an explanation of

the circumstances ol`the comtuunlealiot't.

C. W ith respect to each document otherwise responsive to this ilequcst which has
been lost or destroyed since its preparation or receipt identity the tloeurncnt` state the item
number ol`the Requcst to which it would otherwise be responsive and give the t`ull particulars or
circumstances ot`the loss or destruction oi`the documentl

D. CJrgani'/.e or label all documents you produce by reference to the number ol` the
particular item ol`this Reqttcst to Which they are responsive

E. It`a document is responsive to this Rcttuest and is within your control7 but is not in
your possession or custody_. identify the person who has possession or custody ol` the document
ll` any such document was hut is no longer, in your possession or subject to your eontrol, state
Whut disposition was made ol`it. by whom. and the dates or approximate dates on which such

disposition was made, end Why.

REQUESTS FOR PRODUCTION OF DOCUMENTS
REOUEST i"()R PRODUCTION NO. l
l’lcaso produce any and all l)oettntents relating in any way to l~'irst NBC_`"$ decision to sell the

l,oan Doeurncnts to Thinkstrcam LLC.

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REOUEST I<`OR PRODUCTION |\l(). 2
Please produce any and nll Doeuinerits relating in any way toy too negotiations l`or the sale ol` the

l.oe`r'. l)oeunients‘ including any drafts oi`, or commean on drafts ol`, tlie liurchese Agrccmcnt.

RF`.QUES"I` FOR I’ROI)UCTION l\'O. 3
l’lease produce any end all Docurncnts relating in any way to tlic collateral that First NBC held
as collateral security l`or tire repayment ot`tlie 2013 Nore or the Bzmkrupte_v l'\;'ote, including any
unti ull Doettments relating in any way to the value ol`eacl't item oi`Coilaltt-:ral at the time oi`tl~te
execution ol`tlie 2013 Note end the i%enkruptoy .\lote, tire value ei`eael't item el`Collateral at the
time ot` the execution of the l’urchrtse A_t;reemcnt, or tire value ol` such item ol`Colletere.l at the
present
RF.OUEST ITOR PRODUCTION NO, 4
Piease produce amy and ell Doeuments relating in any way to l"i_rsl NBC`S lell`orts to foreclose
upon er otherwise collect upon each item ol` Cellctterul. including these “betre:'s of Credit end
Certil"icates ol`Deposit" referred to iu the description ol`"l,oen Doeurnents" licreiu.

‘ ueour.s;r roe PRoi)UorroN No. 5
llleosel produce any and ali I)ocuments relating in ney way to the current status or value ol’the
"lietters ol` Credit and Certilieutes o!` Deposit" referred t'o in the description ol` "Loan
Documeuts" hereinl
_REOUEST FOR PRODUCTION NO. 6 ‘
l’l<:ese produce any and all Documcnts relating in any way to First NBC`$ ell'orts to Foreelose
upon or otherwise .eo.llect upon two reei estate lots owned by Burry lh i%ellue` Sr., in tl~ic Zec ?'.ee
Gardcns alert ol" Beton Rouge. l.ouisizuia.
REQUF.ST FOR PRODUCTION NO. 7
Pleasc produce '.-tn_v and till `Doeuments relating in any way to First NBC’s efforts to foreclose
upon or otherwise collth upon any brokerage accounts at Morgnn Stenley in the names ol"Barr;,-'
l.. Belluc, Sr., and Ber.ry l.ee Bellue, Jr._ with at value ol` approximately $2:7_000.00. Whieh were

purportedly pledged to secure the obligutions ol`"l`liini<strezu‘n INC to l’il'st NBC.

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REOUEST FOR PROl)UC'l-"ION NO. 8

Plc:ase produce any and all Documcnts rer'ating in any way to iiirst NBC`$ cl`l"orts to foreclose
upon or otherwise collect upon the personal residence ol' l">arry l.. licllue` Sr., in Buton Rougc.
louisiana

REO`UES'I` FOR PRO]JUC'I`ION NO. 9

lilcasc produce any and all Docurnents relating in any way any ol` thc collateral that l~`irst NBC
held as collateral security i`or thc repayment ol" tlie Bcllue Nott: or tlic Cornnion Collateral.
including any and all l)ocunients relating in any Woy to the value oi" cueli item oi` Collatertll l"or
meHmchomandComnmn€oumwmninedmeofmeBdmeNom%exmumm,wevdueo?
each item ot’tlic llellue Collateral and the Conunon Collztteral at the time oFtltc execution ol`the
ljurehaso Agreerncnt.__ .or the _,uolue ol' each item ol` tl=.c Bellue Collaterai and the Comrnon
Coilater:-tl at t`nc present

REOUI'}ST F()R PRO`DUCT']OI\' NO. lU

Plcase produce any and all Docuznents relating in any way to l~`irst NBC`s clTorts foreclose upon
cir-otherwise collect-upon the Be'l`lu<:. Col|a‘teral or the C.omnton Colleteral.

IEEOUEST F`OR PRO!)UCTION NO. `.ll

Plezise produce any and all Doeunients relating in any wayte the current status oi`yalue oi`tlte
Bclluc C.ollateral or the Comnton Collateral.

REO'UEST FOR `PRODUCTIOZ\‘ NO. 12

l_i.leasc produce any and all Docurnents relating in any way to t‘-_tc application ol` payments that
were used to pay pi'ineipal, interest or bank charges on the Thinltstream l.l.C Note and the
outstanding polanco ol"prineipot end interest due with respect to the 'l`hinl<streani l.i.C Nete from
Deccmbcr 15` ?.O-l 5. :Lo‘ the present on a monthly basis

REOUF.S'F FOR PRQDUC'i`ION l\’(). 13 '

l’lcusc produce any and all l)ocurrtcnts relating in any Wey to any deductions i`rom or additions to
th-c`t‘;sero)y Accottnc includingthc.pttrpose oi`those deductions and thc source oi`those additions

rom Dcceirieer l5, 20l 5` to the prcscnt, on a monthly basis

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REQUFIST l"l(.`)‘[{ I’ROI)L'CTZON l\‘O*. 14

l’lcase produce any and all F_Jocuntents relating in any way to Firsl NBC`_"s i'isl< rating ioan
classii`ication. and/or internal valuation ol` the loans represented by tlte 2013 Note. lite
Bankntptcy Note. or lite Bcl!uc Note‘ at any time prior to the time ol' the execution ol` the
l‘urel~iasc f\urecntent.

RI~".OUES'I` FOR l’RODUC'l`lON t"l(). 15

lilease produce any and all Documenrs relating in any way to the payment and delinquency status
oi`tl~ie Bellnc Note or the 'l`liinl<stream t,I,C` Note_

RF,OUES’I` F()l{ E’R()DUCTI()i\' l\l(). 16

l°lcasc produce any and all Docutncnts relating in any Wuy to l"irst NBC’$ mortgage entire 1,636
l\eres of l`Jonc_gal l{oad. Woodvil|c. l\/tS ("'l\/iississippi l‘ropcny") owned by Ban'y l‘. Beltue, Sr..
including all appraisals oltlie l\/lis_\iissippi l’ropcrty or the mineral rights therein

Rl'IQUES'l` P`()R PRODUCTlON t\"O. 17

lilease produce any and all Docun'ients relating in any way to the "i.etters of Credit and
Certil'teates ol` l)epesit" including all communications with the depositary banks or deposit
account holders ol`.the Cei'tilieates el` t`}eposit and all communications with lite issuing banks or
applicants ol`tltt' l,ctters ol`Credit. l

REOUEST FOR PRODUC'I`¥()N NO. 18

l’lease produce any and all l)octtments relating in any thy to any account into \.\i'l‘iielt l"irSt NHC
ltas placed tltc proceeds ol` the foreclosure or collection upon any ol` the Bcliue Collateral, the
COllateral or thelCoinnion Cnllateral` including tlte names ol` each account holder and all account
Statcrnents.

REOHICST FOR PR()DUC'I`ION NO. 19

lllcase produce any/and ali Docuntents relating in any way to any disbursements ol` any proceeds
ol`eollcctions on any t)i`tlte tSellue Collateml_ rite Collateral, er the Connnon Coliateral.
REOUEST F()R PRODUC`TION NO. 20

Picuse produce any and all ijoeuments relating in any way to any meetings ol` any loan

eornmitt'ce, audit committee or otitcrcontmilteo that rcl`er to the 2013 Note_. the Bzinl\'ruptey Notc,

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the B<:lluc Nucc:\ the 'lluinkstr'cum L,l.C .?\lnl<:. or the l’urchasc Ag,l'ccmcm` including all minutes
lhcrcol`.

REOUEST FOI{ PRODUC'I`IOI\' NO. 21

ll’lczlsc produc@ zm_v and all correspl‘md-cncu‘ between l":‘rst NIZC-and Barl'}~‘ l.. Bcllue. Sr,, relating
in any way lo: `i"h`rnl\'slream I?\’C. "l`hinl<strcam l.l.C" the bankruptcy cl"l`hl'nl;sln:am lNC, the

'l`hfnkslrr;&lm LLC Notc` 'l`SB Vcnlur'cs. l,l_,C` thc 20l3 NcJIc, or llzr: Eanl<ruplcy Nolc.

RF;QUEST FOR PR{')DUCTION NO. 22

 

l’lcase produce any and all correspondence hcl\a-'ccn l-`n':;l NBC and any and all attorneys
l'cprcscnling 'l'hlnl<slrcam lNC,` ancl,’c)r lizm'y l.. Hcll!_lc, Sr.
REQUEST FOR PRODUCTION NO. 23
l’leasc produce any and all correspondence bclwccn Firsl .'\llZC and Harry l., Bclluc. Sr.
REl'_)UEST FOR ]’R{)I)UCTION l'N'O. 24
Plc:as@ produce any and all correspondence and communications between and among l"irsl NBC`
personnel r@lmcd 10: Ban'y L. Bclluc, `l`h'ml\'su'ean'l TNC, Thinl<strcam ldLC, andfor TSB
Vcnm;'cs. l,l.C.
RF,QUEST F()R }"R(JDUCTK)N N€J, 25
Plcase produce any and all Documcnls rclal:d in any way 20 inlcl'csl puymcms received by Firsl
.\JESC related 10 lhc 2013 Ncnc.
`RF.OUF§ST F()R I’RODUC'I`ION NO. 25
l‘leasc produce any and 'dll D£dcllmcnls related in any way 10 amy loans made by Fir$.t NBC 10
'l`hinl<sin-:am INC and 10 liarry l.‘ Bclluc_. Sr.

Rcspccl ` ll;lr submiltcd:

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when S. Roolh`n.;-L E§£F.FE 1 1454)'1/\.

l"clcr .T, Romlo (l.a, liar l\lo.'ll 848)

Amy l,. M::ln:lrc: (La. Ba.r No. 35241)

C"l IAI"F`E. l\ACC/\I.l_., l..L.l‘.

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Nq\`v Orlcans, I.cmlsiana ?0163-2300

'l`clcp|mnc: {504} 585-7000 d

'l`clcl`ax: (504) 544-6088
ii-mail: mlull~l.'.':llcl\zll`i`c.cnm

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Case 2'17-cv-O4872-BWA-|\/|BN Document 1-6 Fl|ed 05/11/17 Page 126 of 16

l’LEASE Sl'lRVl".`=

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l\/larsha S. Crcwlc

Chfc!' Compliancc: Ol`l`c-:c:'

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g/SF?

PE`I'I'I'ION FOR DAMAGES
NOW INTO COURT, through undersigned coullsci, come plaintiffs I%LE\ .¢\vinu'on South
Caroiina, LLC n.nd Barry L. Bcl|ue, Sr. who hereby Fllc: this Petition for Darnngo.s against
defendants Jolm E. Scago and Se.zgo de Cal'michacl [A Profcssion:ll an Corporntion).
' Pa'rrl'es, Jnrc'rn':'l:tl’ar¢, and chre
' l. Plnintit'fELB Aviatlorl Sout|l Ca.rolina, LLC in a limited liability company in good
standing organized under the laws ofthc Sultl: of South C:lmlineA BLB Avl'ntion Soul_ll Carol`lna,
`Ll_.C's registered agentis W"t}linm R. ”l`aylor, 3612 Lnndrnark Dl'ivr:, Sth'lc A, Clolurnbla, Sol.lth
Carolinzl 292(14, Earry L. Bclluc, Sr. is the managing member chLB Aviall`on South Ca.rolinn.,
LLC.
2. Barry l.. Belll:e, Sr. (“Bclll.:c") is a competcntn:aturol person n:’the age ofml:_iorily.

Belluo is ll citizen of Louisillrm, domiciled and residing at 18459 Plantation Court Drlvc, Praric'ville,

' LA. 70'¢'“69, in Asl:,cn:ion P:.\‘lsh.

3. Namcd defendant ncran is .lol'ln E. Scago ["Scogo"), a competent natural person ol"
the age oflnajnrlty. Seago’s domicile end residence is located at in East Baton Rooge Pan`sh. Scago
is an attorney admitted lo the louisiana bar, in good standing with thc I.ol.lisi:.\nzt Slate Bar
Associatinn. 4

4. Nn.n'lcd defendant herein is Sl:ngo 3a C:l.rmichacl (A Profcss`lo:m! l..aw Corporalion),
a professional legal corporation domiciled 315126 Onc Cnlais Ave.., l#ZC, Bl'=lton Rougo, LA 70809.
Seago & Cnrlnichael's rcglstered agent is Jol'ln E. Scago, 3326 Onc, Calois A\'e. flIZC, Eaton Rouge,
LA 70903. At o.ll relevant tlmcs, on information and bellcf, Scngo er.s nslzarel'lolclcr and off`wor or
director of Sc.ago & Ca.rmiehael, and Scngo & Com1ir.hncl is responsible for his actions

5. \f`cnue is propcr_in East Baton Rouge Pol'ish, defendants' parish ofdonlicile,
pursuant to Arl.{cle 42 ofthc Louisiana Codc of C`lv'll Procedul'c. Verloe is also proper under Anlclc
?4 because East Enton Rougc Purish i.s the pnrish where thc wrongful conduct at issue occurred, nnc£

where damages were sustalncl:l. REC|D C`P_

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m wl on.\-.r~equltoble and general rcl`:cfto which they may lie enlitled.
Respectfully submitted

TAGGAR'|" MORTON, L.I..,C.

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' ,{'
BAP_o l~. GRODSKY (l‘l lJSE)
bgrod.r£j.l@raggarlmorlon.com
DONALD .l. MIESTER JR. (H 20294)
rim lesfel'@fclggarrmorrnn.com
l IOD Poydr:l.s Street, Su`ll.e ZIUU
New Orleans, louisiana 70163-2100
Telephone: [504) 599-8500

VER[FICATION

 

Before mc, the undersigned notary public in and for this parish and slate, personally came

and appeared HARRY L. HELLUE, SR., Who, upon being duly swom, did depose and slate that he

has read the above and foregoing Petition for Darnages in its entirety; that he is personally familiar

with the facts stated and alleged lherein; and that he veril"les that the facts ofthe Fctilion l`ot

Damngcs are all true and correct to the best o.‘his knowledge, information, and beliel'.

 
 
  

Daled: September /5, ZUEG.

   

 

   

Swor guild subscribed before me
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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 129 of 164

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ROEERT S. ROOTH Direct Dial Nu: (504) 555-7226
P»~RTNERW _ mean Fax No: (504) 544-sess
NEW OI“““"‘J"E OFHCE E-mail: roodl@chaffe.com

FebruaryB, 2017

William D. Aaron, Jr., Esq.
Aaron & Giarma, PLC

201 St. Charles Ave., Suite 3800
New Orleans, LA 76170

RE.' 'sznfcyrream Acquisr'tion, LLC vs. F:'r.s'f NBC Bar:k
Civil Disirict Cou:t for the Parish of Orleans, Sta‘ce of Louisizma No. 16-9532
OUI File: 45243

Dear Mr. Aaron:

Enolosed please find a copy of a Notice of Records Depositiou and a Motion and Order to
Appoint Special Process Server. We will be filing into the record as Well as a copy 'of the
subpoena duces tecum we will be serving on Ban'y L. Bellue, Sr. We are rue-issuing 'l'hinlcsheam
Acquisition, LLC’s discovery requests to First NBC in conjunction With the subpoena to Mr.
Bellue.

Wi‘rh kindzst regards, I am

Sinoerely yours,

%%W_

Robert S. Rooth

RSR/j em
Enclos'ure

New Orleans: 2300 Encrgy Centre ' 1100 Poyclrns Street ' New Or|cans, LA 70153-2300 ' Tel: (504) 585-7000 ~ Fax: (504) 585-7075
Bntun Rc»ugc: 103 Twu United P|aza' 8550 United PlazaBlvd. - Batun Ruuge, LA ?0309~ Tc}: (225) 922-4300 -Fax: (225) 921-4304
Hnuston: 501 Travis Stm=t, Suitr. 1910 - Houstnn, TX 77002 - Tel: (?13) 546-9500 - st: (713) 546~9306
Lnke Churlcs: Onc Lakcshore Drivc Suite 1'750 ‘ T_.E.Kc Charies, LA 70629 ' Tcl: (337) 419-1825 ' FHX: (504-] 53$-‘!0'75

www.chaft`c.:um
2854361-1

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 130 of 164

CIV.[L DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOU_ISIANA
NO. 2016-9532 . DI'VISION “A-l$” DOCKET NO.
THINKSTREAM ACQUISJ.TION, LLC
VERSUS
FIRST NBC BANK

FILED :

 

 

DEPUTY CLERK
NOTICE OF RECORDS DEPOSITION

TO: Defendant, First NBC Banlc

Tiirough`lts Counsel ofRecord

Willia_rn D. Anon, }r.

Aa_rou & Cria.una= PLC

201 St. Charlcs Ave., Suite 3800

New Orleans, LA 70170

PLBASE TAKE NOTICE, that pursuant to the Louisiana Code of Civi] Procedure,
plaintiff, Thinl~;strcam Acquisition, LLC, through undersigned counscl, Wijl take the deposition
of Barry L. Bellue, Sr., for purposes of production of records only, on the 13th day of March,
2017, beginning at 9:00 a.m. and thereafter from day to day as the taking of the deposition may
be aajoum@d, at me misses of chase Mccau, L.L.P., 2300 nnergy centra 1100 wyde street
Ncw Orleans, Lou.isiana 70163, at which time and place you are hereby notined to appear and
take part in such manner as you shall see fit and proper

Piaintiffhas caused a subpoena duces tecum to be issued for documents in the possession
or control ofBarry L. Bellue, Sr. in accordance with La. R.S. 6:333 and i3:3733 tc produce the
documents listed on the attached E>di.ibit A - “Thinl<strearn Acquisition, LLC’s Requcst for
Producticn of Documents and Electronically Stored lufonnation Propouudcd to First NBC

f
27 //
New Orleans, Louisiana, this t Vday of Fcbruary, 2017

Banlc.”

2554151~1

 

 

Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 131 of 164

Respect‘fully submitted

Reben s. items (Laf ear No. 11454) T.A.
Anthony P. Dunbar (La_ BarNo. 16765]
Peter J'. Rotolo (La. BarNo.2184S)

Amy L. Mclnu're CLa. Bar No. 35241)
CHA_`FFE MCCALL, L.L.P.

2300 Energy Centre, 1100 Poydras Street
New Orleans, Louisiana 70163-23 00
Telephone: {504] 585~7000

Telefax: (504) 544-6038

E-rnail: rooth@cha_ffe.com

Atromeysfor T?tinks‘tream/icquisfrz'on, LLC

 

CERTIFICATE OF SERV“.[CE

l do hereby certify on this §;Lday of February, 2017, a copy of the foregoing was
served upon counsel of record tc this proceeding, by e-mm'ling or mailing the same by United
States mail, properly addressed, and first class postage prepaid

 

2854161-1

 

- Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 132 of 164

CIVU_. DISTR_ICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 2016-9532 DIVISION “A-lS ” DOCKET NO.
THINKSTREAM AC QUISlTION, LLC
VERSUS
FJURST NBC BA_NK

F[LED:

 

 

DEP`UTY CLER_K

RE~NOTICE OF DEPOSITION PURSUA_NT TO ARTICLE 1442
OF TH`E LOUIS]'_ANA CO]JE OF CIVIL PRO CEDURE

 

TO: Firstl\lBC Banlc

'l`hrough its Counsel of Reeerd:

Willian'i D_ Aaron, Ir.

DeWayne l.. Williams

Aaron & Gianna, PLC

201 St. Charles revenue

Suite 3 800

New Orleans, LA 70170

PLEASE TAKE NOTICE that undersigned counsel for Dcfeudant Thinl<stream
Acquisition, LLC, will talce the corporate deposition of First NBC Eanlc (hereinatter “First
NBC”) in accordance with article 1442 of the Louisiana Code of Civi] Procedure, through one or
more cfticers, directors, or managing agents, or other persons who consent to testify on its behalf
concerning the matters listed with particularity herein Th.is deposition of First NBC shall be
taken for all purposes permitted under the Lou.isia.na Code of Civil Prccedure on March 20,
2017, beginning at 9:00 a.rn. and continuing thereafter until complete, at the office of Aaron &
Gianna, PLC, Q.Ol St. Charles Avenue, Suite 3800, NeW Orleans, Louisiana, 70170, before a duly
qualified court reporter or other person authorized bylaw to administer oaths, at which time and
place you are notiiied to appear and take part as You deem it and proper.

First NBC is called upon to designate and identify by name, in advance, one or more
ofticers, directors, agents, or other persons who consent to testify en its behalf with respect to the

matters listed below. First NBC is further called upon to malice the person(s) so designated

available for deposition at the stated time and place and to specify for each person so designated

 

Case 2:17-cv-04872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 133 of 164

the matters about which that person will testify. ln connection with this Notice ofDeposition, the
following definitions shall apply:
DEFIN`.[TIONS
As used herein:
l\ “First NBC” means and refers to First NBC Banlc along with its ofiicers, directors,
memb ers, employees, representatives and agents
2. “Ptu'chase Agreement” means and refers to that Lcan Document Purchase Agreement dated
as of December 15, 2015, by and between First NBC, as Seller, and Tb.inlcstrearn LLC, as
Purchaser, which has been previously produced by First NBC (marlced for identification as

“FNBC Prod 2 0073 69 through 007407”).

3. “”f'hinlcsueam ENC” means and refers to Thinl<streain lncorporated, a Delaware

corporation

4, “‘Loan I)ocuments” means and refers to the “Loan Documents” identincd in the l~"urchase
l Agreement, to wit:

(l) Promissory Note in the amount of $4,549,332.35 dated March 22,
2013, executed by Thiul<stteam lNC to the order ofFii'st NBC (the “2013
Note”);

(2) Commercial Security Ag'reement dated March 22, 2013, executed
by Thinlcstream l'NC in favor of First N"BC; ,

(3) Unifoi'in Coinrnercial Code illngs executed by Tb.inlcstream INC
in favor of First NB C;

{4) Letters of Credit and Certiricates of Deposit provided to Flrst NBC
as collateral for the loan to Thinl<strcam INC (“Letters of Credit and
Certincates ofDeposit”); ,

(5) Any and all mortgages unreal property granted as security for
indebtedness conveyed herein.

(6] Co`mmercia.l Guaranty dated lanuary 30, 2013, executed by Barry
L. Bellue, Sr., in favor of First N.BC with respect to all indebtedness of
Thinl<stream INC {“Bellue Guaranty”);

(7) The Loan Agreernent by and between Thinl<stream lNC and First
NBC with respect to Debtor in Possession Financing, executed pursuant to
the Order of the United States Banlcruptcy Cou.rt cf the Middle District or"
Louisia.na in ln re '|.'hinlcstream lncomorated, Case Number 15-10553,
Chapter ll, and that Prornissory l\lote in the amount of 3750,000.00 dated
Septernber Zl, 2015 executed by Thlnkstrearn INC in connection
therewith (“Banlcmptcy Note").

5. “Collateral" means any and all collateral held by FirstNBC at any time to secure the

payment of the Th_inlcstrearn LLC Note.

€ase-2:-17-cv-04872-BWA-|\/|BN Document1-6 Filed 05/11/17 Page 134 of 164

6. “Thinl<stream l_NC Collateral” means any and all collateral held by FirstNBC at any time
to secure the payment of the 2013 Note and the Banlo'uptcy Note referred to in the description of

“l'.can Documents” herein

7. “Common Collateral” means and refers to any and all collateral held by First .NBC at any

time to secure the payment of the Bellue Note and the Bellue Guaranty.

B. “Belluc Note" means and refers to the indebtedness ofBairy L. Bellue, Sr., to FirstNBC as
evidenced by that promissory note dated January 27, 20]5, in the original amount of

$2,238,632_27_

9, “Bellue Guaranty” means and refers to that Commercial Guaranty dated Ja.uuary 30, 2013,
executed by Barry L. Bellue, Sr‘, in favor of FirstNBC with respect to all indebtedness of

Thinltstream l_NC.

l0. “Bellue Collateral” means and refers to any and all collateral held by First NBC at any time
to secure the payment of the Bellue Note. ll. “Communication” means any transmittal of
information of any lc_ind, whether in the form of a document letter, e~mail, note, messagel or `

other form.

ll. “’lhhil<strea.m LLC Note” means and refers to a promissory note executed by 'l`hinlcstrearn

LLC, payable to First NBC in the amount of $4,928,603.00, dated as ofDeceinber 15, 2015.

ll “And“ and “or” shall be construed conjunctively and disjunctively so as to require die

broadest possible response to any particular interrogatory
l3. Words shall be construed in the singular or plural form.

14. The tenn “person”- means any natural person, individual, corporation, flrm, joint venture,
partnership proprietorship association, organizaticn, or any other business or legal entity or

group of natural persons.

lS. The singular shall include the plural and vice versa, and the conjunctive shall include the

disjunctive and vice versa in order to give these requests the broadest scope_ All words and

 

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phrases shall be construed as masculine, feminine, or neuter gender according to the context

“All" means “any" and yice versa
16. “ldentify" or 1`Identifying" or “identiflcation” With respect to persons, means:

a. With respect to a natural person, the person’s full name, present employer, title,
job description, business and home address(es) and telephone number(s} and his/her/their

relationship With First NBC Banl<; and

b. with respect to a person other than a natural person, including any business entity,
the entity's name, type of legal entity, address (all business addressesj, date and place of

formation, and the entity's chief executive o&`lcer.

l7. "lden'dfy" or "ldentifying" or “identification” or “desoribe” or “describing” with respect to

documents means:

a. the full name of the person Who prepared the document and his/her/their last

known address(cs);

b. the full name of the person Who signed the document and the person under Whose

name it Was issued, and his/her/their last known address[es);

c. the full name of each person to whom the document Was addressed or distributed

and his/her/their last known address(es); and
d. the title or subject and the date of the document

18. “You” and “Your”, Whether or not capitalized mean First NBC.

The matters at issue in the deposition of Fi.rst NBC Will be:

a. ldentincation of the 'l`hinl<$tream INC Collateral at the time Fil'st N'BC executed the
Purchase Agreement

b. With respect to “Exliibit A" to the Purchase Agreement Which has been marked for
identification as “FN`BC Prod 2 907331,” a copy of Which is attached hereto as “Exln`bit

A”, identification of the “Letters of Credit and Ceitilicates cf Dcposit” referred to therein

   

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 136 of 164

and the value thereof as of the date of First NBC’s execution of the Purchase Agreement
and at the present date.

c. With respect to “Exbibit A” to me Purchase Agreement, attached hereto as “Exhibit A:”
identification of the “mortgages on real property1 referred to therein and the value thereof
as of the clare of First NBC’s execution cf the Purchase Agreement and at the present
date.

d. The identification of the “Connnon Collateral” referred to on pages 2 and 3 of the
Purcbase Agrcernent, Which pages have been marked for identi§oation as “FNB C` Prod 2
007370 and 007371.”

e_ The identiication of the Collateral and the value thereof as of the date of First NEC’s
execution of the Purchase Agreement and at the present date.

f. Any steps First N'BC has taken to sell, liquidate, or foreclose upon the Collateral, the
Thinlcsu'eam lNC Collateral, the “Letters of Credit and Certincates ofDeposit” described
on Exhi‘oit A to the Purohase Agreement, the “mortgages on real property” described on
Exhibit A to the Purchase Agreement, and the Ccnunon Collateral referenced above

g. The “Criticized Asset Action Plan and lrnpairrnent A_nalysis” dated August 3l, 2016
(marl<:ed for identification as “FNBC Prod 2 009987”), a copy of Which is attached hereto
as “Exhibit C”, and in particular each item of "‘various LCs, CDs, a brokerage account,
and real estate" described in the “Collateral and Evaluation” section thereof

h. With respect to the "'Boa.rding Data Sheet” for the 2013 Note (rnarl<ed for identification
as “FNEC Prod 2 000173 through 000178"), a copy of Whioh is attached hereto as
"Exhibit B”, the identification of the Certificates of Deposit listed on pages 2 through 5
thereof, Whether they are in the possession of First NBC, Whether they have been
liquidated, and how the proceeds have been applied

i. The identification of each of the “Zl Letters of Credit” described on page 5 of the
“Boarding Data Sheet” attached hereto as “Exhibit B,” Whether they have been called or
liquidatcd, and how the proceeds have been applied

j. Witl'l respect to the four “Vacant Lots” in Zee Zee Gardens described on page 5 of the
“Boarding Data Sheet” attached hereto as “Exhibit B”, the status of these lots, thther

any of those '\facant Lots has been sold, liquidated or foreclosed upon by First l\iB C, the

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 137 of 164

date of the sale, liquidation or foreclosure, what the proceeds were, and how the proceeds
Were applied

lc. 'I'he identjf.cation of each and every item of the Bellue Collateral, thther any of the
Bellue Co]_lateral has been sold, liquidated or foreclosed upon by First N`BC, the date of
the sale, liquidation or foreclosure, What the proceeds Were, and how the proceeds Were
applied.

l. An accounting for and current status of the “Eserow Account” established pursuant to the

Purchase Agreement‘ C/
New Orleans, Louisiana, this l day of March, 2017.
Re tfully submitted:

W

Ro`cert S, R oth (La. Bar, No. 11454) .A_
many P.‘Dunbn csa ear Ne. 16765)
Peter .T. Rotolo (La. Bar No.21848)

Amy L. Mclntire (La. Bar Nc. 35241)
CH.AFFE McCALL, L.L,P.

23 00 Energy Centre, llOO Poydras Street
New Orleaus, louisiana 70163-2300
Telephone: (50-’-1-) 535~7000

Telefax.' (504) 544-6088

E-rnail'. rooth@chaffe.eom
At!orneysfor Thim'csu‘eam Acgaisition, LLC

MTMB
l hereby certify that l have on this gay ofl\/J'.aroh 2017, served a copy of the
foregoing pleading on counsel for all parties to this proceeding by hand delivery, entail
transmission facsimile, or by depositing the same in the United Statcs mail, properly addressed,

and irst-class postage prepaid

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 138 of 164

CIVIL DISTRICT C()URT EOR 'I`HE PARISH GF ORLEANS
STATE OF LOUISIANA
NO. 2016-9532 DI`VISION “"A" SECTION 15
THINKSTREAh/I ACQUISTION, LLC
VERSUS

I*`IRST NBC BANK

PRE-TRHAI.. SCH;EDULING OR_`DER {DISCOVERY CUT~OFF DATES`J

lT lS ORDERED by this court that all parties and all attorneys comply With the following

l. A_ll parties have been served and answered as of the date of the pre-trial conference
U/NO
2. No other cases are to be consolidated §§

3. ?bis is a BENCH trial The trial of this matter will last g days If the case cannot
reasonably be completed in this time, the court may discontinue the trial or may refuse to
try the case. Attornevs must be present and check in with the law clerk at 8:3'0 a_rn.

4. All Supplemental and Amended Petitions shall be filed no later than 90 days before
trial

5. Plai.ntiff(s) shall employ all experts and disclose in writing the names and addresses of all
witnesses including experts and impeachment Witnesses as well as exhibit lists on or
before JUNE 9_ 2017. Failure to disclose such witnesses will preclude their testimony
except for good cause shown

6. Defendant(s) shall employ all experts and disclose in writing the names and addresses of
all witnesses including experts and impeachment witnesses as well as exhibit lists on or
before .TU`LY 17. 2017. Failure to disclose such witnesses will preclude their testimony
except for good cause shown

7. All expert witnesses to be used in this case should be deposed so that the depositions may
be used in the event a witness is unable to appear, or for use in accordance with La.
C.C.P‘ Art 1450,

S. Plaindtf(s) and Defendant(s) shall complete all discovery by AUGUS'I` 11. 2017.

9. ALL MOTIONS AND EXCEP'HONS MUST BE FILED AND HEARD 60 `DAYS
PRIOR 'l.`O THE TREAL ON TI£E l\/IER.`{TS.

10. Triai on the merit will be scheduled once ALL discovery is complete It is the duty of
counsel to request that the matter be set for trial after completion of discovery by
filing and serving a formal Motion 'l.`o Set. For Trial and corresponding order for the
court to set a conference for the purpose of selecting a trial date The conference to
set the trial date, shall be attended, in person, by all counsel of record or his/her fattorney)
representative

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 139 of 164

lll lf either party would like to have a settlement conference Wittt tile ludge, they must file a
l\flotion requesting such conference A settlement conference will only be scheduled if a
trial date has already been set. Thereafter, all parties are required to submit Mernoranda
at least 48 hours prior to the settlement conference Whi.ch. shall contain the following

a,
ll
C,

d.

A statement of undisputed facts and a formal stipulation of same
A statement of disputed law applicable to the case.

A list of all exhibits to be used at trial indicating which are
objected to and the specific reasons for the objection
Appt'opriate quantum authorities

BECAUSE OF THE INCREASE IN THE NUMBER, COMPLEXI'L`Y AND LENGTH
OF TRIA§_S, ESPECIALLY .TURY TRIA.`LS_. T}DE `FOLLOW]NG RULES, AS W`ELL
AS THE ABOVE, ARE NEC.ESSARY. AI,L DOCUl\/I_ENTS REQU]RED ARE TO BE
FILE`D ll\l' DUPLICATE, ONE COPY TO THE, CLERK OF COURT AND SECOND
COP`Y DELIVERED TO T.HE IUDGE’S CHAMBERS THROUGH TH:E. l\/.[ll\lUl`E
CLERK OR LAW CLERK_

Signed this 21"7c day ot`B/IA_RCH 2017

 

 

IUDGE TIF'FA_NY GAUTIER CHASE

Accepted (please print): Phoue#

AnthonyDunbar #16765 Attomey for Plaint:iffs dunn

ar@chafi`e.coml 504-585-'7()29

   

DeWavne Williarns #27685 Attorney for Defendant (dwilliams @'aaronaianna.eoml

504-569~1850

 

Gase 2:17-cv-O4872-BWA-|\/|BN Docume'nt 1-6 Filed 05/11/17 Page 140 of 164

Civil District Courtforfhe Parish of Orieans
STATE QF LOLJLS!ANA

No. 2016 --09532 ' ` Secfjon: 15 » A

TH!NKSTREPM ACOU|STION. LLC
VSFSUS
F!RST NBC BANK

Date Casa l-`iled: 9!22.'2015

NOT|CE OF S|GNlNG OF JUDG|V|ENT

TO'.

Robe:t 5 Rcoth Esq 1145-4
2300 Energy Ce:'-.tre
1100 Poydras S’:.rcaet

New Crl§eans LE\. 70153-2303_
Ama A P.ainer Esq 31531
201 St_ Charles Avenue, Suite 3500
'Naw Crleans LP. 70170

in accordance with Ariicle 1913 C.C.P., yourare hereby notiied that Judgment
in the above entitled and numbered cause Was signed on Agri| 11. 2017
New Odeans, Lnu]siana.

Agril 11. 2017

 

M|NUTE CLERK

.\-Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 141 of 164

"I»

CIVIL DISTRICT COUR'I` FOR THE PARISH OF ORLEANS

STATE (_)F LOUISIANA

NO. 2016-9532 DIVISION “A~l§” DOCIUT NO.

FILED:

THINKS’I'REAM ACQUISITION, LLC
VERSUS

FIRST NBC BANK

 

 

DEPUTY CLE.RK

.]'UDGB,IENT

'I`his matter came on for hearing on the 4th day oprr`ll, 2017 on the Moh'on to Quas}l 1442

Deposin'ozz ofFirsz* NBC Bank and Reg.z¢esrfor ,Expedz'red Cozm'demn`on filed by Dcfcndant First

N'BC Ba.ck_

PRESENT:

Robcrt S. Rcoth (La Bax. #11454)
Cou.ns'cl for Plaintiff, Thinkstrcam Acqui.sition, LLC

A.m:la A. Raincr (La_ Bar #31531)
Ccmnscl for Defcndant, First NBC. Bank

Considering the pleadings, memoranda and exhibits submitted by the parties, thc record,

the arguments of counscl, and the applicable law;

IT I_S HEREBY ORDERED that the Motion to Quash filed by Defcndant PiIs't NBC Ba.c.k

bc and is hereby DENIED IN PART as to 'l`opics _A through .T and Topic L in Thinksueam

Acquisi‘r_ion, LLC’s Noti_cc of Dcposition of First N`B_C Ba_ul-;

I'I` IS FURTHER ORI)ERED that the Motion to Quash ilcd by Defcméant E"irst NBC

Bank be and is hereby GRAN'I'ED I`N PART as to _Topic I<I. in Thz'nkstrcam Acquisition, LLC’s

Noticc ochposition cf First NBC Bank, and that for purposes of compliance with La. R.S. 6.:333-

in connection mm Topic K, service cm Ban'y L. Bclluc, Sr. Was perfected on Ma:ch 21, 2017;

APR ll 2017

Ncw Orleans: Louisiana Ihis day of , 20 E’/.

2903443-1

 

 

gwin mm ME@NY calcthqu

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 142 of 164

CIVIL R'ULE 9.5 CERT]FICATE

Undersigned counsel for Plaintiff, Thiol{stream Aoquisition, LLC= certifies to this Court,

pursuant to louisiana Distriot Com‘t Rule 9.5, that the foregoing Indgnicnt reganiing the Aprjl 4,

20177 hearing on the on the Morton m taash 1442 Deposz`z‘ion osz`m‘ NBC Bonfc and Requestfor

Expedfred Considera!iom fited by Det`endanl First NBC Bank Was provided to the banl<:’s coonsei,

Ao.na A. Rai'ner, by entail on April 4, 2017. On that Same date, Ms. Raj_ner provided comments to

the proposed Judgment and advised by emai`l that her client does not object to the form of the

proposed fudgment as revised-and as submitted herewith

   

Respec

"‘Z£¢%“‘ZF%

Robert S. Rooth (La. Bar. #11454)
Anthony P. Dunhar (La. Bar #16765)
Peter J. Rotolo (La_ Ber #21848)
Loretta O. Hoskins {La. Bar #30558)
Amy L_ Mctuare (La. ear #3-5241)
CHAFFE MCCALL, L.L.P.

2300 Energy Cezltl'e, 1100 Poydras Street
New Orlea.ns, Louisia.na 70163-23 00
Telephone: (504) 585-7000

Telefax: (504} 544~6033

E~mail: rooth@chaffe.eom

_tttorneysfor' Ihin}t§rream Acqtt:`sz'zt'on, LLC

151 suhmitted:

 

PLEASE ISSUE NOTICE_ OF JUDGMENT TO:

First NBC Bank, through its counsel of record:

ANNA A. RAINER (LSBA #31531)
AARON &. GIANNA, PLC

201 St. Charles Avenue, Suite 3800
New Orleans, Louisiana 70170

and 1.'0

'I`hinkstream Acquisition, LLC, through its counsel of record

Rohert S, Rooth (La. Bar. #11454].
Anthony P. Dlmhar (La, Bar #16765)
Peter J_ Rotolo (]'_.a. Ba.r #21848)
CHAFFE. MCCALL, L.L.P.

2300 Energy Centre, 1100 Poydras Street
New' Or]ea_as, louisiana 70163-2300

2903443~1

[\.J

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 143 of 164

CIVIL DISTRICT CO'URT FOR THE PARISI-I OF ORLEA_NS
STATE OF LOU`[SIANA
NO. 16-9532 DIVISION “A-lS’i ' DOCKET NO.
TI'IINi[{STREAl\/I ACQ_UISITION, LLC
VERSUS
FIRST NBC BAN`K

FILED :

 

DEPUTY CLERK

SUPPLEBIENTAL MEMORANDUM IN SUPPORT OF MOTION TO COMPEL

Plaintiff Thinl<stream Acquisition LLC (“Thinl<strearn") initially iled a Motion to Cornpel
Responses to Discovery on Decemher 9, 2016, because Defendant FirstNBC Banl<, had failed for
more than two months to respond to Requests for Production of Documents. The first setting for
hearing the Motion to Cornpel was lanuary 7, 2017.

A few days before that hearing, First NBC delivered digital copies of several thousand
pages of documents Aocordingly, 'i`hinlcstream filed an Unopposed Motion to Continue to afford
time for a document review. 'l`he Court set a new date of March 3, 2017.

Based upon its review of the documents produced, 'Thinlcstream served interrogatories
upon First NBC on February 9, 2017, and additionally drew Pirst NBC’s attention to the fact that
certain of the requested documents had not been produced. Again, on the eve of the heari.ug, First
NlBC produced additional documents and Tlhinl<stream again filed an Unopposed Motion to
Continue the l-learing so that it could review the new productionl The Court again set a heming
date, this time for April 21, 2017.

Though it had supplemented its document production, First N'BC did not respond at.all to 7
'l`hinl<su'eani’s hiterrogatories which were served more than two months ago. 'l`he plaintiff is
suffering economic hardship and damages as a result of its inability to move this suit forward to
trial.

Accordingly, Plai.ntiff moves the Court for an Order compelling Defendant to fully respond
to the hiteirogatories, Without ohj ection. Plaintift` farther prays that in the event Defendant nies

responses before the hearing date for this motiou, and in the event that those responses are

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 144 of 164

incompiete or insufficient the Couit allow Plai.ntiff to further supplement its Motion to Compel

and hear this motion on the date originally set by the Court.

Reso ectfully submitted

11

Rohert S. Rooth (La. Bar. No. 11454) T.A.
Anthony P. Dunhar (La. Bar No. 16765)
Peter .1. Rotolo (La. Ba.r No.21843)
Loretta O. l-losl<ins (La. Bar No. 21848)
CHA.FFE MCCALL, L.]'_,.?.

23 00 Energy Centre, 1100 Poydras Street
New Orleans, Louisiana 70163~23 00
Telephone'. (504} 585-7000

"l`elefax: (504) 544-6088

E-mail: rooth@chaffe.com
Arz‘orneysfor Thinksn'eam Acqur'sr`z*ion, LLC

1 CERTIFICATE OF SERVICE

 

l do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by ema_il, telefa)r and/or U.S. mail postage prepaid and properly addressed .

and/or electronic transmission this

2821107-1
CDC 16-9532 A-lS

Wdayof ' 2017.
W esa 01 1@

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 145 of 164 _

CIVIL DISTRICT COURT FOR THE PAi{ISH OF ORLEANS
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-l$ ” DOCKET NO.
THINKSTREAI\I ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED :

 

DEPUTY CLERK

RULE 10.1 CERTIFICATE OF CONFERENCE
Connsel for movant, Thin.l<stream Acquisition, LLC, and counsel for defendant, First N"BC
Banl<, have discussed the untimeliness of the responses to lnten~ogatories infonnally, but have been
nnable, due to defendant’s counsei’s travel schednle, to conduct a telephone conference at any
point between April 13 and April 17, 2017. Plaintiff’s counsel would welcome a substantive
discussion of every item presented to the Court in its motion and to seek to resolve the matters

plesented. Certiiied this /7/& ________day oprril, 2017.

@w 1@£

Roberi s adea {La say No 11454} T. A
Anthony P. Dunbar (La. Bar No.16765)
Peter .T. Rotolo {La. Be.t' No.Zl 848)
Loretta O. Hosl<ins (La. Bar No. 21848)
CHAFFE MGCALL, L.L.P.

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E-mail: rooth@chaffe.com

Artomeysfor Thz'nksrraam_dcquz`siiion, LLC '

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 146 of 164

Civil District Court ll*or the Parish of Or|earrs
STATE OF LOUlS|ANA

No. 2016 - 09532 SECTiDn: 15 ~ A

'TH|NKSTREAN| ACQU|ST|ON LLC
vemus
F|RST NBC BANK

 

Date Case l'-'i|ed: 9!22!2016

NOT|CE OF S|GN|NG OF JUDG|V|ENT

TO:

Anthony P Dunbar Esq 16765
Ste 1100

1100 Poydras St

New Orleans LA 70163

Dewayne L Williams Esq 27685
201 St Charles Ave

Ste 3800

New Orleans LA 70170

|n accordance wlUr Article 1913 C.C.F'., you are hereby notified that Judgment
in the above entitled and numbered cause Was signed on Nlay 2 2017
|\iew Or|eans, Louisiana.

N|ay 3 z 2017

   

` - ' Case 2:17-cv-O4872-BWA-|\/|BN Document1-6 Filed 05/11/17 Page 147 of 164

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOU'.{SIANA
NO. 2016-9532 DIVISION “11~15” -DOCICET NO.
THINKSTREAM ACQU'.[SITION, LLC
VERSUS
F]:RST NBC BANK

FILED :

 

 

DEPUTY CLERK

@@T,SWPJUDGMENT

This matter came on for hearing on the 21st day of April, 2017 on the Motz'on to Compel
Responses to Discovery filed by Plaintift` 'I'hinl<strea.m Acquisition, LLC.

PRESENT; Aarhoay P. Duabar (La. aaa #16765)`
Counsel for Plajntiff, Thinkstream Acquisit.ion, LLC

DeWayne Williatns (La. Bar #27685)
_Counsel for Defendant, First NBC Bank

Considering the pleadings memoranda and stipulations of the parties, the arguments of
counsel, and the applicable laW; l

IT IS I-IEREBY ORDERED that the Motion to Cornpel Responses to Discovery filed by
Plainti]°f Thinkstream Acquisition, LLC, be and is hereby GRANTED.

IT IS\ FURTHIER ORDERED that Def`endant Pirst NBC Banlc is required to respond to
the Plaintiff’s First lmerrogatories Propounded to Pirst NBC Banl< on February 9, 2017, on or
before May 1, 2017. n

[MAY 0 2 2017
New Orieans, Louisiana this day of , 2017.

HQJEORAEI';EE TIHQNY G. `cHASE

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' Case 2:`17-cv-O4872-BWA-|\/|BN Document1-6 Filed 05/11/17 Page 148 of 164

CIV[L .RULE 9.5 CERT[FICATE

Undersigned counsel for Plaintifl", Thinl<stream Acquisition, LLC, certiies to this Coui‘t, .

pursuant to Louisiana District Court Rule 9.5, that the foregoing Iudgmcnt regarding the April 21,

2017 hearing on the on the Motion to Compel Rasponses to Dfscovery filed by Plai.ntiff

Thjnkstrea.tu Acquisition, LLC Was provided to counsel for FirstNBC Bank, DeWayne Williams,

by emaj.l on April 21, 2017. On that same date, Mr. Williatns advised by emaii that his client does

not object to the form of the proposed ludgment as submitted herewith

assert s. noia (La. Bar. #11454)
Anthony P. Dunbar (La. Bai' #16765)
Peter J. Rotolo (La Bat #21348)

Loretta O. Hoslo'ns (La. Bar #3 055 8)
Amy L. Mclntire (La. Bar #3 5241)
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Telefax: (5 04) 544-608 8

E-mail: rooth@chaffe.com

Attorneysfor sz‘nlcstream Acqutsz'tion, LLC

PLEAss issue Norica or moment To: l

FirstNBC Banl<:1 through its counsel ofreoord:
DEWAYNE WILLIAMS (LSBA #27685)
AARON & GIANNA, PLC

201 St. Chailes Avenue, Suite 3800

New Orleans, Louisiana 70170 1

and to

Thinkstreatn Acquisition, LLC, through its counsel of record
Robert S. Rooth (La. Bar. #11454).

Anthon_y P. Dunbar (La. Bar #16765)

Peter J. Rotolo (La. Bar #21848)

CHA.FFE McCALL, L.L.P.

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New Orleans, Louisiana 70163-2300

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Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 149 of 164

CIV`.[L DISTR.'[CT COU'RT FOR 'I`HE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 16-9532 DIVISION “A-IS” DOCK_`ET NO.
TEINKSTREAM ACQUISITION, LLC
VERSUS
FIRST N`BC BA_NK

FILED:

 

DEPUTY CLERK

MOTION TO ENFORCE TI-IE COU'RT’S JU`.DGMENTS TO COMPEL RESPONSES TO
BISCOVERY

Plaintift`, Thinl<strearn Acquisition, LLC (“Thinl<stream”), respectfully moves this
Honorable Court for an order compelling defendant First NBC Bault, to comply With the Court’s
.ludgments dated Apn'l 11, 2017, and May 2, 2017. 111 those ludgments, as more particularly
describedin the attached Memorandum in Support1 the Court ordered the defendant First NBC
Banl<, to submit to a corporate deposition pursuant to Article 1442 of the Louisiana Code of Civil
Procedure and to responds on or before May 3, 2017, to Thinltstreams’s First lnterrogatories
propounded on Februaiy 9, 2017. First NBC Bank has failed to comply with either ludgment and,
accordingly, Thinl<stream moves this Cou.tt for an order requiring First NBC Banlc, or the current
holder of the Thinlcstream note, to show cause, if any it has, on a date and time to be set by the
Court Why it should not be compelled to respond as ordered or to be sanctioned pursuant to Ai‘ticle
1471 of the Louisiana Code of Civil Procedure_

A supporting memorandum is attached
spec \ y submi d:

ebzr;,. nobis (ta':sar°.“i\Mz-ts¢t) riA.
Anthony P. D:unbar (La. Bar No. 16765)
Peter l. Rotolo (La. BatNo.21348)
Loretta O. Hpsl<ius (La. Bar No. 30558)

CHA.FFE MC§:CALL, L.L.P.

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release (504) 544-sosa

E-mail: rooth@chaffe.com

Attorneysfor Ihinkstrenm Acguis:'tion, LLC

 

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 150 of 164

CERTIFICATE OF SERVICE
I do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefax and/or U.S. mail postage prepaid and properly addressed

and/or electronic transmission this § /¢l day of Ma.y, 2017.

@a;a 1 ,AQI

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Case 2:17-cv-O4872-BWA-|\/|BN Document1-6 Filed 05/11/17 Page 151 of 164

CIV]L DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA v
NO. 16~9532 DIVISION “A-l$ ” DOCICET NO.
TH]NKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

F]J'_.ED:

 

DEPUTY CLERK

RULE TO SHOW CAUSE

Considering the Motion to Enforce the Court‘s Judgments to Compel Responses to
Discovery idled by Thinl<strearn Acquisition, LLC,
IT IS HIEREBY ORDERED that Defendant, First N'BC Banl< or the current holder of the
Thinl<sueam Acquisitlon, LLC note, shovvr cause on thew_ day of , 2017, at
a.m. Why Plaintiff’s Motiori to Enforce the Court’s ludgrnents to Cornpel Responses to
Discovery should not be ganted.

New Orleans, Louisiana, this day of , 2017.

 

JUDGE

PLEASE SERVE:

First NBC Banl<

Through its attorney of record,
William D. Aaron, Jr.
DeWayne L. Williams

An.na Rainer

201 St_ Charles Avenue

Suite 3 800

New Orleans, LA 70170

2921255-1
CDC 16-`9532 A*l$

 

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 152 of 164

n CIVIL DISTRICT COURT FOR TH]£ PARISH OF ORLEANS
- STATE OF LOUISIANA
NO. 16-9532 DIV`ISION “A-l$” 7 DOCK`.ET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS
FIRST NBC BANK

FILED :

 

DEPUTY CLERK

MEMORANDUM IN SUPPORT OF MOTION TO ENF ORCEl THE COURT’S
JUDGMENTS TO COl\/IPEL RES?ONSES TO DISCOVERY
Beginning in 2016, plaintiff, ’.[`hinl<stream Acquisition, LLC (“Thinl§st:ream”) has been
trying to obtain responses from Fi_rst NBC Banlc (“First N`BC”) to requests for production of
documents and interrogatories and to force FnstNBC to submit to a corporate deposition regarding
the matters in dispute in this litigationl Despite informal extensions of time to respond and two
motions to continue Thi_nl<stream’s motion to compel, two separate hearings have been required
before the Court to compel responses from FirstNBC. Both have resulted in judgments compelling
the requested discovery resp onses, but First NBC has failed to comply with either judgment

THE APRIL ll 2017 JUDGl\/EENT

 

1n early February 2017, Thinltst:ream noticed the 1442 coiporate deposition of First NBC.
This deposition was continued at the request of First NBC and re~noticed for March 20, 2017.
Shortly before that deposition, on March 14, 2017, First NBC moved to quash the deposition
because it was to cover some topics relating to the banlC’s loans to Barry Bellue.

The matter came on for hearing on Apn'_l 4, 2017, and the Court denied the defendants
motion to quash With respect to all topics related to the 'l`hinlcstream loan, but granted it with
respect to the Bellue topics but only until Mr, Bellue’s deadline for objecting to discovery
regarding his loans had expired A copy of that judgment is attached as Exhibit A. That time for
Bellue to object began to run on March 21, 2017, as determined by the Court, and expired on April

21 , 2017 pursuant to the relevant statute Thi.ulcstream then again re-noticed the depositionlfor May

 

 

Case 2:17-cv-O4872-BWA-|\/|BN Document1-6 Filed O5/11/17` Page 153 of 164

3, 2017 (a time convenient to First NBC’s counsel and its wimess). A copy of the notice of
deposition is attached hereto as Exbibit B.

Accordi.ng to news reports, hirst NBC was placed in receivership on April 28, 2017, by the
Federal Deposit Insurance Corporat:ion (“FDIC”), which transferred certain assets of First NBC to
Hancocl< Whitney Banlc. Other assets ofFirst NBC presumably remain with the FDIC as receiver

On May 2, 2017, First N.BC’s counsel notified undersigned counsel that the May 3
deposition would not go forward Neither the FDIC nor the bank has requested a stay of these
proceedings Thinl<stream does not lmow whether the loan at issue has been retained by the FDIC
or transferred to another bank. No request to substitute counsel or to enroll has been Eled into the
record.

Thinl<st:ream is entitled to the relief already granted _by the Court - to take the deposition
of a representative of the lender on the topics outlined in Thinl<strearn’s deposition notice pursuant
to A.tticle 1442 of the Code of Civil Procedure. Accordingly, plaintiff urges the Court to enforce
its April 11, 2017 judgment and require one or more representatives of the lender to appear and
testify on the topics set forth in the deposition notice.

THE MAY 2. 2017 JUDGl\/ENT

Thinl<stream irst filed its Motion to Cornpel Discovery on Decernber 9, 2016. After
agreeing to two unopposed motions to continue the hearing, but having received no answers to its
First luterrogatories, lhinl<stream brought the matter on for hearing before the Court on April 21,
2017. Shortly before that hearing, First N'BC agreed to a consent judgment that required it to
respond to plaintiffs interrogatories on or before May l, 2017 . 'l'he Court granted the motion from
the bench on April 21, and signed the judgment on May 2, 2017. A copy of this judgment is
attached hereto as Exhibit C.

Again, First NBC failed to comply with the Court’s order, citing the FDIC’s reported
takeover of the bank on the Friday before interrogatory responses were due. Again, no stay of these
proceedings has been requested by or granted to the FDIC or the bank. Tlunl<strearn does not l<now
whether the loan at issue has been retained by the FDIC or transferred elsewhere No request to
substitute counsel or to smell new counsel has been filed into the record. Thinl<stream is entitled

to the relief already granted by the Cour't, to obtain responses to its First lnterrogatories so that this

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Case 2:17-cv-O4872-BWA-|\/|B|\| Document 1-6 Filed 05/11/17 Page 154 ot- 164

proceeding may move forward pursuant to the Pre-Trial Scheduling Order already in place.

Accordingly, plaintiff urges the Court to enforce its .Tudgrnents by ordering immediate and

complete discovery responses nom the lender

Respecttiilly submitted

@j@ /@V

norm s. noon (ta. ser NO. '11454) T.A.

. Anthony P. Dunbar (La. Bar No. 16765)

Peter .`i. R_otolo (La. Bar No.21848)

Loretta O. Hosl<ins (La. Bar No. 3055 8)

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Telephone`: [504) 585-7000

Telefax: (504) 544~6083

E-niail: rooth@chaffe.com

Az'tomeysfor Ihinksofeom Acquz`sition, LLC

 

CERTIFICATE OF SERVICE

 

I do hereby certify that a copy of the above and foregoing pleading has been served upon

all counsel of record by email, telefax and/or U.S. mail postage prepaid and properly addressed

and/or electronic transmissionthis § % day ofM y 2017.
/_._
j W

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CIV]L DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 20 1 6'-9532 DIVISION “A-l§” DO CKET NO.
THINKSTREAM ACQUISITION, LLC
VERSUS

FIRST NBC BANK

Fn;'sn=

 

 

DEPUTY_ CLnRK

'J'UDGMENT
’I'his matter came on for hearing on the 4tb. day of April, 2017 onthe M'ozz'c_)n to Quash 1442
Deposirz'on osz'rsr NBC Bank and Reguesz‘jbr Expedited Corzsz`derazt'cn filed by Defendant First
usc sane 1 7

PRESENT: Robert S. Rooth (La. Bar. #11454)
Counsel for Plaint:ift`, 'Ihinltstreana Acquisition, LLC

Anna A. Rainer {La. Bar #31531)
Counsel for Defendant, First NBC Banlt

_ Considering the pleadings, memoranda7 and exhibits submitted by the parties, the record,
the arguments of counsel, and the applicable law;

IT IS HEREBY ORDERED that the Mon'on to Quash Eled by Defendant First NB C Banlc
be and is hereby DENIED IN PART as to 'l`opics A through I and 'i"opie L in Ihinlcstrearn
Acquisition, LLC:s Notiee of Deposition of First NBC Banlc. _

l IT`IS FURTHER ORDERED that the Moti'on to Quash filed by Defendant Pirst NBC
Banl< be and is hereby GRANTED ]IN PART as to Topic K in Thinlcstrearn Acquisition, LLC’s
Notice ofDeposition ofFirst NBC Ba.uk, and that for purposes of compliance with La. R.S. 6:333

in connection 'with Topic K, service on Ban'y L. Bellue, Sr. was perfected on March 21, 2017;

New Orleans, Louisiana this { day of / `QN , 2017.

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Case 2:17-cv-O4872-BWA-|\/|BN Document1-6 Filed 05/11/17 n Fage'155 ot 164

 

class 2:17-cv-O4872-BWA-MBN Document 1-6 Filed 05/11/17 Page 156 ot 164

CIV]L R`ULE 9.5 CERTIFICATE

Undersigned counsel for Plaintiff, Thinlrstream Acqu_isition, LLC, confines to this Court,
' pursuant to Louisiana District C_ourt Rule 9.5, that the foregoing ludgment` regarding the April 4,
2017 hearing on the on the Mott'on to Quash 1442 Deposfrion ofFirsr NBC Bank and Requestfo?
anaeditad Const'dercn'oa died by Defendant I"irst NBC Ba.ulc was provided to the banl~:’s counsel,
An_na Ac Rainer, by entail on April 4, 2017. On that:sarne date, Ms. Rainer provided comments to
the proposed Judgnrent and advised by email that her client does not object to the form of the

proposed Judgment as revised and as submitted herewith

Respectfully submitted;

%1%% "£/Q;WWL ' '

Robert, S. Rooth (La. Bar. #11454)
Anthony P. Dunbar {La_ Bar #16765)
Peter I. Ro_tolo (La.. Bar #21848)
Loretta O. Hosl<.'i.us {La_ Bar #3 055 S)
Azny L. Mclntire (`La. Bar #35241)
CHAFFE McCALL, L.L.P.
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' 'l-`elephone: (504) 5 SSF’?OOO
Telefax: (5 04) 544-508 8

E-rnaii: rooth@chaffe.com
.£ittomeysjbr Thfnk.m'eo'm Acquisz'tion, LLC

 

PLsAsn issue Norrce or toner/rent ro:

`li*`irstNBC Banl<, through its counsel of record:
AN`NA A. RAINER (LSBA #31531)

AARON & GIANNA, PLC

201 St. Charles Avenue, Suite 3800

New Orleans, Louisiana 70170

and to

Thinl<stream Acc;nisition1 LLC, through its counsel of record
Robert S. Rooth`(l_.a. Bar. #11454).
Anthony P. Dunbar (La. Bar #16765}
Peter I. Rotolo (La.. Bar #21848)
- cHAran M<>CALL,' L.L.P_
2300 Bnergy` Centre, 1100 Poydras Street
New Orleans, Louisiana 70_163-2300

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No. 2016~9532 nrvrsroN ==A_is ” Docr<:sr No.
erKSTRnAM AcoorsrrroN, LLC
vnRsus
FIRST Nec BANK

FILED :

 

 

DEPUTY CLERK

NOTICE OF DEPOSITION'PURSUANT TO ARTICLE 1442
OF THE LOUISIANA CODE OF CIVIL PROCEDURE

TO: First NBC Bank

Througb. its Counsel of Record:

William D. Aaron, Jr.

DeWayne L. Wiliiams `

Anna A. R.ainer

Aaron & Giarina, PLC

201 St. Charles Avenue

Suite 3 800

New Orleans, LA 70170

PLEASE TAICE NOTICE that undersigned counsel for Defendant 'i`hinlcsttearn
Acquisition, LLC, will talce the corporate deposition of First NBC Banlc (hereinafter “First
N.BC“) in accordance with article 1442 of the Louisiana Code of Civil Procednre, through one or
more officers, directors, 'or managing agents, or other persons who consent to testify on its behalf
concerning the matters listed with particularity herein. This deposition of First NBC shall be
taken for all purposes permitted under the Louisiana Code of Civil Procedure on May 3, 2017,
beginning at 9:00 a.m. and continuing thereafter until complete, at the office of Aaron de Gianna,
PLC, 201 St. Charles Avenue, Snite 3800, New Orleans,- Louisiana, 70170, before a duly
qualined court reporter or other person authorized by law to administer oaths, at which time and
place you are notified to appear and taice part as you deem tit and proper.

First NBC is called upon to designate and identify by name, in advance, one or more
on‘icers, directors, agents, or other persons who consent to testify on its behalf with respect to the

matters listed below. First NBC is further called upon to make the person(s) so designated

available for deposition at the stated time and place and to specify for each person so designated

 

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the matters about which that person will testify In connection with this Notice ofDeposition, the

following definitions shall apply:
DEFINITIONS
As used herein:

1. “First NBC” means and refers to First NBC Banlc along with its officers, directors,
members, employees, representatives and agents

2. “Purchase Agreement” means and refers to that Loan Docu.rnent Purchase Agreement dated
as of December 15, 2015, by and between Pirst NBC, as Seller, and Thinl<stream LLC, as
Purchaser, which has been previously produced by First NBC (rnarlced for identification as
“FNBC Prod 2 0073 69 through 007407”). 7

3. “Thinl<stream ]INC” -means and refers to Thinl<stream incorporated a Delaware

corporation
4. “Loan Docurnents” means and refers to the “Loan Docurnents” identified in the Purehase

Agteernent, to wit:

(l) 7 Promissory Note in the amount of 34,549,332.35 dated March 22,
2013, executed by Thinkstream ]NC to the order ofFirst NBC (the “2013
Note”);

(2) Commercial Sectu'ity Agreement dated March 22, 2013, executed
by Thi.nl<stream INC in favor of First NBC;

(3) Uniform Commercial Code filings executed by Thinkstream ]NC
in favor ofFirstNBC;

(4) Letters of Credit and Certiticates of Deposit'provided to First NBC
as collateral for the loan to 'l`hinkstream ]NC (“Letters of Credit and
Certii_icates of Deposit”);

(5) Any and all mortgages on real property granted as security for
indebtedness conveyed herein.

(6) Cornmei"cial Guaranty dated lanuary 30, 2013, executed by Barry
L. Bellue, Sr., in favor of First NBC with respect to all indebtedness of
Thinlcsn'earn lNC (“Be]lue Guaranty”);

(7) The Loan Agreement by and between Thinl<stream ]NC and First
NBC with respect to Debtor in Possession Pinancing, executed pursuant to
the Order of the United States Banl<ruptcy Court of the Middle District of
Louisiana in ln re Thinl<stream incorporated Case Number 15-10553,
Chapter ll, and that Promissory Note in the amount of $750,000.00 dated
Septemher 21, 2015 executed by Thinlcsirearn INC in connection
therewith (“Banlcruptcy Note”).

5 . “Collateral” means any and all collateral held by First NBC at any time to secure the

payment of the Thinl<stream LLC Note.

Case 2:17-cv-O4872-BWA-|\/|BN Document 1-6 Filed 05/11/17 Page 159 of 164

6. “Thinlcstrearn ]INC Collateral" means any and all collateral held by First NBC at any time
to secure the payment of the 2013 Note and the Banlcruptcy Note referred to in the description of

“l_,oan Documents” herein

7. “Common Collater ” means and refers to any and all collateral held by FirstNBC at any

time to secure the payment of the Bellue Note and the Bellue Guaranty.

8. “Bellue Note” means and refers to the indebtedness of Barry L. Bellue, Sr., to FirstNBC as
evidenced by that promissory note dated lanua.ry 27, 2015, in the original amount of

$2,238,632.27.

9. “Bellue Guaranty” means and refers to that Commercial Guaranty dated Janua.ry 30, 2013,
executed by Barry L. Bellue, Sr., in favor ofFirst NBC with respect to all indebtedness of

Thinlcstream l_NC.

10, “Be]lue Collatera ” means and refers `to any and all collateral held by Pirst NBC at any time
to secure the payment of the Bellue Note.ll. “Communication” means any transmittal of
information of any kind, whether in the form of a document, letter, e~mail, note, message, or

other form.

ll. “Thinkstrearn LLC Note” means and refers to a promissory note executed by Thinlcstrearn

LLC, payable to First NBC in the amount of $4,928,603,00, dated as of December_ l5, 2015.

12. “And” and “or” shall be construed conjunctively and disjunctively so as to require the

broadest possible response to any particular interrogatoryl
13. Words shall be construed in the singular or plural form

14. The tenn “person” means any natural person1 individual= corporation, finn, joint venture,
partnership, proprietorship, association, organization, or any other business or legal entity or

group of natural persons

15. 'I`he singular shall include the plural and vice versa, and the conjunctive shall include the

disjunctive and vice versa in order to give these requests the broadest scope. All words and

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phrases shall be construed as masculine, feminine, or neuter gender according to the contextl

“All” means “any” and vice versa.
16. "ldentify'l or "Identifying" or “identitication” with respect to persons, means:

a. with respect to a manual person, the person's full name, present employer, title,
job description business and home address (es) and telephone number(s) and his/her/their

relationship with Pirst NBC Banl<; and

b. with respect to a person other than a natural person, including any business entity,
the entity‘s name, type of legal entity, address (all business addresses), date and place of

formation, and the entity’s chief executive officer.

17. "Identify" or "Identifying" or “identiiication" or “describe” or “describing” with respect to

documents means:

a. the full name ofthe person who prepared the document and his/’her/their last
known address{es);
b. the full name of the person who signed the document and the person under whose

name it was issued_. and his/her/their last known address(es);

c. the full name of each person to whom the document was addressed or distributed

and his/her/their last known address{es); and
d. the title or subject and the date of the document

18. “You” and “Your”, whether or not capitalized, mean First NBC.

7 The matters at issue in the deposition of First NBC will be:
a. Identification of the Thinkstream ]I\IC Collateral at the time First NBC executed the
Purchase Agreernent
b. With respect to “Exhibit A” to the Purchase Agreement_which has been marked for
identification as “FNBC Prod 2 007381," a copy of which is attached hereto as “Exhibit `

A", identitjcation of the “Letters of Credit and Certificates of Deposit” referred to therein

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and the value thereof as of the date of First NBC’s execution of the Purchase Agreement
and at the present date.

c. With respect to “Exhibit A” to the Purchase Agreement, attached hereto as “Exhibit A,"
identification of the “mortgages on real property11 referred to therein and the value thereof
as of the date of First l\l'BC‘s execution of the Purchase Agreement and at the present
date. 7

d. fhc identii:lcation of the “Common Collateral” refened to on pages 2 and 3 of the
Purchase Agreement, which pages have been marked for identincation as “FNl?>C Prod 2
007370 and 007371.”

e. The identification of the Collateral and the value thereof as of the date of First NBC’s
execution of the Purchase Agreement and at the present date.

f. Any steps First NBC has taken to sell, liquidate or foreclose upon the Collateral, the
'l`hinlcstream lNC Collateral, the “Letters of Credit and Certincates of Deposit” described
on Ex_hibit A to the Purchase Agreement, the “mortgages on real property” described on
Exhibit A to the Purchase Agreement, and the Cornmon Collateral referenced above.

g. '].'he “Criticized Asset Action Plan and lmpairment Analysis” dated August 31, 2016
(marlced for identihcation as “FNBC Prod 2 009987” , a copy of which is attached hereto
as “Exhibit C”, and in particular each item of “various LCs, CDs, a brokerage account,
and real estate” described in the “Collateral and Evaluation” section thereof

h. `With respect to the “Boarding Data Sheet” for the 20l3 Note (marlced for identi§cation
las.“h`NBC Prod 2 900173 tln'ough 000178”), a copy of which is attached hereto as
“Exhibit B”, the identification of the Certiiicates of Deposit listed on pages 2 through 5
thereof, whether they are _in the possession of First NBC, whether they have been
liquidated, and how the proceeds have been applied.

i. The identification of each of the “21 Letters of Credit” described on page 5 of the
“Boarding Data Sheet” attached hereto as “Exhibit B=” whether they have been called or
liquidated and how the proceeds have been applied

j. With respect to the four “Vacant Lots” in Zee Zee Gardens described on page 5 of the
“Boarding Data Sheet” attached hereto as “Exhibit B”, the status of these lots, whether

any of those Vacant Lots has been sold, liquidated or foreclosed upon by First NBC, the

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date of the sale, liquidation or foreclosure what the proceeds were, and how the proceeds
were applied

k. 'l`he identification of each and every item of the Bellue Collateral, whether any of the
Bellue Collateral has been sold, liquidated or foreclosed upon by First NBC, the date of
the sale, liquidation or foreclosure, what the proceeds were, and how the proceeds were
applied

l. An accounting for and current status of the “Escrow Account” established pursuant to the

Purchase Agreernent.

rn. Any negotiations or discussions related to the Purchase Agreernent and enforcement of its

teisns.
%4
New Orleans, Louisiana, this C) day oprr_il, 2017.

Respectfully subinitted:

@ M_Q/

Robert S. Roo (La. Bar.No. 11454) 'l.`.A.
Andiony P. Dunbar (La Bar No. 16765)
Peter I.'Rotolo (La. Bar No.21848)
Loretta O. Hoslcins (La. Bar l\lo. 30558)
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Telefax: (504) 544-6033

E-ruail: rooth@cha£fe.corn
Au“orneys]%)r Thz'nks'tream Acgrzisition, LLC

 

CERTIFICATE OF SERV"ICE
l hereby certify that I have on this M£iy of April 2017, served a copy of the
foregoing pleading on counsel for ail parties to this proceeding by hand delivery, email
transmission facsimile, or by depositing the same in the United States mail, properly addressed,

aj /Q z 05

and first-class postage prepaid

 

Ca§e.22_17-CV-O4872-BWA-|\/|BN DOCUant 1-6 Filed 05/11/17 Pag€ 163 Of 164

CIVIL DISTRICT COURT FOR THE PAR.`[SH OF ORLEANS
STATE OF LOUISIANA
NO. 2016-9532 DIVISION “ra-l§” -DOCKET NO. .
TH]NKSTREAM ACQUISITION, LLC
VERSUS

FIRST NBC BAI\‘K

F]LED :

 

 

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ama/JUDGMENT
'__”___#__:_““”"”""""
Th.is matter came on for hearing on the let.day of Apiil, 2017 on the Morz`o'rz to Compei’

Responses to Dz'scovsry filed by Plaintiff Thinlcstrem Acquisition,`LLC.

Pru~;ssur; massey P. owen rra aaa #16765)‘
Counsel for PlainiiE, Thinl<strearn Acquisition, LLC

DeWa.yne Will.iarus (La. Bar #27685)
Counsel for Defendant, First l\l`.BC Banlt

Coosidei'ing the pieadings, memoranda, and stipulations of the pal‘ties, the arguments of
counsel, and the applicable law; l

IT IS BER.EBY ORDERED that the Motion to Compel Responses to Discovery filed by
Plaintif_t` Thinltstrearn Acquisition: LLC, be and is hereby GRANTED.

IT IS FURTHER OR_`DERED that Defendant First NBC Baulc is required to respond to

the Plaintlft’s Pirst ]nterrogatories Propounded to Fi_tst NBC Banlc on February 9, 2017, on or

b f ' M ]_,2017.
me ay an aaron

New Orleans, Lou.isiana. this day of 2017.

 

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Ho\®nalbha_ rrsr@NY G. `Cnasn

 

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Case`2‘:17-CV-O4872-BWA-I\/|BN Document1-6 Filed 05/11/17 Page 164 of 164

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Undersigned counsel for Plaintlff, Thinl<suearn Acquisition, LLC, certifies to this Court, 7

pursuant to Louisia.ua District Coi.rrt Rule 9.5, that the foregoing ludgment regarding the April 21,

2017 hearing on the on the Mon'on to Compal Rcsponses to Dz‘scovery idled by Plaintiff

Thinlcstreani Acquisition, LLC was provided to copnsel for First NBC Banlc,'DeWayne Wi]]iarns,

by email on April 21, 2017. On that same date, Mr. .Wi_lliarns advised by email that his client does

not object to the form of the proposed Judgrnent as submitted hereudth.

Res ecttully subniitted:

self y "’7

Robert S. Ro th (La Bar. #11454)
Anthony P. unbar {La. Bar #16765}
rear J. aaron (La. ear #21‘343)

Loretta O. Hoslcins (La. Bal‘ #3055 3)
Arny _L. Mchitire (La. Bar #35241)
CHAFFE McCALL, L.L.P.

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New Orleans, _Louisiaua 70163-23 00
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'l`eiefax: (504) 544-6088

E-rnail: roodi(c§chaHe.com
A!tomeysfor ThialcrfredmAcguisii‘ion, LLC

PLEASE ISSUE NOTICE OF IUDGN£E}NT TO: .

First NBC Banlc, through its counsel oi`record:
DEWAYN'E WIL,LI.AMS (LSBA #27685}
AARON dc GIANNA, PLC

201 St. Charles Avenue, Suite 3800

New Orleans, Louisiana 70170 y

and to

”[binlcsu:eain Acquisition, LLC, through its counsel of record
Robert S. Rooth {La. Bar. #11454).

Anthon_y P. Dunbar (La. Bar #16765)

Peter J. Rotolo (La§ Bar #21848)

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